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                    EXHIBIT A
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    ART VAN FURNITURE, LLC, et al.,1                                 ) Case No. 20-10553 (___)
                                                                     )
                                       Debtors.                      ) (Joint Administration Requested)
                                                                     )

                                  DECLARATION OF
                     DAVID LADD, EXECUTIVE VICE PRESIDENT AND
                 CHIEF FINANCIAL OFFICER OF ART VAN FURNITURE, LLC,
             IN SUPPORT OF CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS


             I, David Ladd, hereby declare under penalty of perjury:

             1.     I am the Executive Vice President and Chief Financial Officer of Art Van Furniture,

LLC (“Art Van”), one of the above-captioned debtors and debtors in possession (collectively, the

“Debtors” or the “Company”).

             2.     I have served in this role since October 10, 2016. In my current position, I oversee

financial planning, accounting and the management of financial risk for the Company and its

brands. Prior to serving in this capacity, I had over twenty years of financial experience in the

retail sector, during which time I served in various roles, including as an auditor for Kmart and as

Vice President of Finance for various divisions of Sears. Most recently, I served as the Vice

President of Finance for 1,500 Sears and Kmart stores.




1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509);
      AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC
      (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising,
      LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location
      of the Debtors’ service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.




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        3.      I am familiar with the Debtors’ day-to-day operations, business and financial

affairs, and books and records. I submit this declaration (this “Declaration”) to assist the United

States Bankruptcy Court for the District of Delaware (the “Court”) and parties in interest in

understanding the circumstances compelling the commencement of these chapter 11 cases and in

support of the Debtors’ chapter 11 petitions and the relief requested pursuant to the motions and

applications filed on the first day of these cases (collectively, the “First Day Motions”).

        4.      Except as otherwise indicated, all statements in this Declaration are based upon my

personal knowledge, my discussions with the other members of the Company’s management team

and the Company’s advisors, my review of relevant documents and information concerning the

Debtors’ operations, financial affairs, restructuring initiatives, or my opinions based upon my

experience and knowledge. I am over the age of eighteen and authorized to submit this Declaration

on behalf of the Debtors. If called upon to testify, I could and would testify competently to the

facts set forth herein.

                                      Preliminary Statement

        5.      Art Van is a brick-and-mortar furniture and mattress retailer headquartered in

Warren, Michigan. The Company operates 169 locations, including 92 furniture and mattress

showrooms and 77 freestanding mattress and specialty locations. The Company does business

under brand names, including Art Van Furniture, Pure Sleep, Scott Shuptrine Interiors, Levin

Furniture, Levin Mattress, and Wolf Furniture. The Company was founded in 1959 and was owned

by its founder, Art Van Elslander, until it was sold to funds affiliated with Thomas H. Lee Partners,

L.P. (“THL”) in March 2017. As part of this transaction, THL acquired the operating assets of the

Company and certain real estate investment trusts, who closed the transaction alongside THL,

acquired the owned real estate portfolio of the Company, and entered into long-term leases with

Art Van. The proceeds from the sale-leaseback transaction were used to fund the purchase price


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paid to the selling shareholders. Pennsylvania-based Levin Furniture and Wolf Furniture were

acquired by Art Van in November 2017 through similar transaction structures. As of the Petition

Date, the Company operates stores throughout Michigan, Indiana, Ohio, Illinois, Pennsylvania,

Maryland, Missouri, and Virginia.

       6.      In the wake of extreme market conditions and faced with limited liquidity, the

Company has commenced these chapter 11 cases to effectuate a going-concern sale of

approximately 44 stores and two distribution centers operating under the Wolf and Levin banners

and to wind down its remaining store locations and other operations through a going-out-of-

business sales process. Given continuously declining profitability and operational challenges over

the past three years, and despite the best efforts of the Company and its advisors to secure the

capital necessary to preserve the entire business as a going concern, the Company is simply unable

to meet its financial obligations. The Company has worked in concert with its secured lenders to

develop a budget for the use of cash collateral to facilitate an expedited sale and orderly wind down

process that will maximize value and recoveries for stakeholders in these cases.

       7.      Art Van’s declines in sales, profits, and cash flow were driven by a combination of

several factors. First, the Company has faced significant macro-related revenue headwinds, as

well as local microeconomic headwinds, that have led to sustained negative “same-store sales,” a

key measure of retail health, during every quarter since June 2016. These macro-related headwinds

include broad-based declining retail foot traffic, market share losses of brick and mortar furniture

outlets to online sellers such as Wayfair and Amazon.com, and increased fragmentation and

intense competition in mattresses leading to decreased profitability. On a local level, Art Van has

faced increased retail competition, as key competitors such as Ashley HomeStore, Bob’s Discount




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Furniture, and Mattress Firm opened at least 30 stores in Michigan and Illinois over the last three

years

        8.     Second, while Art Van revenues have declined approximately 27% cumulatively

on a same-store basis since fiscal year 2016 through January 2020, expenses have increased

significantly due to, among other things, over $8 million in tariff costs in fiscal year 2019 (which

continued and escalated in fiscal year 2020) and an increase in marketing expenses intended to

stem same-store sales declines.

        9.     Third, the business suffered numerous operational challenges in the course of the

Company’s effort to grow and navigate a challenging retail environment. In continuing to support

the existing management team and growth initiatives that had driven the Company’s success over

the prior decade, the Company invested significant capital, but many of the initiatives failed to

meet expectations and were insufficient in offsetting countervailing headwinds. These operational

challenges included, among other things:

       Expansion. The Company began an expansion into Chicago in fiscal year 2013 that
        continued through fiscal year 2018, which ultimately led to market oversaturation as new
        stores cannibalized revenues from preexisting locations. Despite spending significant
        capital and gaining material revenue share in this market, the Company was not able to
        achieve sustained profitability in Chicago.

       Leadership Turnover. The Company lost eight of its top nine executive leaders in fiscal
        years 2017 and 2018 through unplanned and, in many cases, voluntary departures.

       Required Changes to Marketing Strategies. In June 2017, the Company ceased certain
        of its historically successful marketing practices after becoming aware they violated the
        Telephone Consumer Protection Act (“TCPA”), and in early 2018, the Company settled a
        class-action lawsuit on account of an alleged violation of the TCPA.

       St. Louis Franchise Acquisition. In fiscal year 2018, the Company entered into an
        operating agreement with its largest franchisee, based in St. Louis, Missouri, due to
        financial distress being experienced by the franchisee. The Company acquired the
        operations of the franchisee in fiscal year 2019 to help stabilize performance and avoid
        further deterioration, but Art Van was unable to stabilize the revenues of the St. Louis
        stores or generate a profit in the market after such acquisition.



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      Levin/Wolf Integration. In fiscal year 2019, the Company’s management attempted to
       integrate the operations of Wolf Furniture into Levin Furniture. The integration involved
       a significant overhaul of many fundamental aspects of the Wolf business, including human
       capital management, furniture assortments, distribution/delivery, and technology systems.
       These actions were taken in an effort to improve the business and align its operations with
       those of Levin, but they created significant strain on the Wolf business, which led to same-
       store sales declines of approximately 22% in Wolf in the second half of fiscal year 2019,
       as well as meaningful turnover of tenured sales staff.

      Changes to Inventory Mix and Showroom Layout. In the same year, the Company
       turned over approximately 60% of its furniture assortment and reorganized many of its
       flagship showroom floors by “lifestyle” instead of by category of product, which negatively
       impacted sales and led to increased markdowns from product that was not easily saleable.

As a result of these challenges, the Company’s Adjusted EBITDA decreased significantly in each

fiscal year since 2016 and dropped to negative for the twelve months ended December 31, 2019.

       10.      Faced with rapidly declining profitability, the Company made key leadership

changes in summer 2019 that it deemed necessary to stem the downward trajectory and recover

sales and profits. In August 2019, the Company’s board of directors (the “Board”) terminated the

Company’s then-current Chief Executive Officer, its Chief Merchant, its Head of Stores, and

several other executives. It promoted a Company veteran to the role of Chief Merchant in August

2019, and, in September 2019, the Board hired a mattress industry turnaround executive as Chief

Executive Officer. The Board also named Gary Van Elslander, the former President of Art Van,

as Chairman of the Board, in an effort to improve morale and re-establish a connection between

the Company’s employees and customers with the namesake of the business. During this period,

the Company also launched a new marketing campaign intended to differentiate the business

against a competitive landscape, and it improved its e-commerce operating systems, including its

website.

       11.      In the summer and fall of 2019, the Company took further actions to create

additional liquidity and extend the runway for management to execute on a sales-led operational

turnaround:


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       In November, 2019, the Company amended its asset-backed loan (“ABL”) facility with
        Wells Fargo Bank, National Association (“Wells Fargo”) to increase the size of the facility
        from $60 million to $82.5 million.

       In summer 2019, the Company engaged Evercore Group L.L.C. (“Evercore”) as investment
        banker and undertook a review of strategic alternatives, including efforts to identify
        potential buyers for all or portions of the business.

       In December 2019, the Company secured an amendment to its term loan credit facility,
        which allowed the Company to suspend cash interest payments and mandatory
        amortization under the term loan.2

       In the fall and winter of 2019, the Company also was implementing a cost reduction and
        profit improvement plan, which was predicated on (a) reducing marketing expenses as a
        percentage of sales; (b) increasing gross margin through improved coordination of the
        merchandising, marketing, and in-store sales teams; and
        (c) decreasing occupancy costs.

        12.      Throughout this time, the Company also was focused on optimizing its lease

portfolio and reducing rent expense:

       With the assistance of its financial advisor, Alvarez & Marsal North America, LLC
        (“A&M”) the Company created a store footprint optimization analysis that supported store
        closure plan.

       The Company hired real estate restructuring advisers Jones Lang LaSalle (“JLL”) and
        Newmark Knight Frank to lead discussions with key landlords to reduce rent expense given
        the Company’s decline in sales and to close 49 underperforming locations (including 31
        mattress locations), consistent with and supported by the above-referenced store closure
        plan.

       The Company hired an accounting advisory firm in November, 2019, to create standardized
        and reliable schedules of store-level financials needed for JLL and Newmark Knight Frank
        to be able to engage in productive negotiations with the Company’s lessors. This effort
        was completed in January, 2020, and the real estate brokers began discussions with key
        lessors shortly thereafter.




2   Despite these liquidity enhancements, the Company also faced offsetting liquidity challenges. Certain companies,
    including The CIT Group (“CIT”), which provided accounts receivable factoring services to the Company’s
    suppliers, refused to factor receivables owed by the Company unless the Company issued CIT and other factoring
    companies letters of credit under its ABL facility. These letters of credit reduced availability under the
    Company’s ABL facility by $10 million, further exacerbating the Company’s liquidity constraints.



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       13.     In late January, 2020, the Company unexpectedly faced further liquidity constraints

due to a reduction in the Company’s “borrowing base,” which is required collateral support for

borrowing under the ABL facility. At the same time, certain financial partners of the Company

began to demand additional collateral and tightened access to credit as a result of the Company’s

weak financial results. These financial partners included credit card processing companies,

including Bank of America Merchant Services and PNC Merchant Services—who are critical to

the Company’s ability to accept credit cards in stores and on-line for customer purchases—as well

as providers of consumer credit. In total, this group demanded approximately $33 million in

collateral through holdbacks to fund reserves and letters of credit.

       14.     As a result of the impending liquidity crisis created by the shrinking borrowing

base, poor operating cash flow, and the collateral demands, the Company was unable to issue

“clean” audited financial statements (i.e., without a potential “going concern” qualification), which

led to a default under the Company’s ABL facility, as well as various other contractual

arrangements, including certain leases. Wells Fargo agreed to forbear from exercising remedies

on account of such default until February 28, 2020, to give the Company time to explore

opportunities to raise additional capital and restructure its debt obligations. As part of this short

forbearance, Wells Fargo required the Company to comply with cash dominion, and also required

the Company to begin immediate preparations for a “going-out-of-business” liquidation in the

event ongoing efforts to raise capital did not materialize before the forbearance period expired.

       15.     Against this backdrop, with the assistance of Evercore and A&M, the Company

held discussions with at least 31 potential buyers and investors, including its term loan lender, FS

KKR Capital Corp. and affiliates (“KKR”), about potential transactions to recapitalize or sell all




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or parts of the business.3 Following a short evaluation period, KKR declined to make a new money

investment in Art Van pursuant to any recapitalization transaction. The most likely and promising

alternative that emerged was an out-of-court recapitalization transaction involving a consortium

of investors that included a new-money investment from THL, the Van Elslander family, and three

important suppliers to the Art Van business (the “Consortium”). The transaction contemplated the

Consortium investing significant new capital into the Company and refinancing the existing ABL

facility.4 The Consortium also sought and received support for the transaction from the Company’s

five largest lessors (the “Master Lessors”), in which the Master Lessors agreed to reduce rent

obligations on the company and allow Art Van to close certain underperforming locations. The

Consortium submitted a letter of intent to the Company outlining the details of its proposal on

February 20, 2020, followed by a further letter of intent on February 26, 2020, discussing the

Consortium’s progress in arranging the transaction. Unfortunately, the Consortium ultimately

failed to secure the necessary capital commitments due to a variety of circumstances, including,

but not limited to, the significant equity market impact of the coronavirus during the week of

February 24, 2020, and the resulting deleterious effect on Consortium investors’ willingness to

contribute capital. Over the weekend of March 1, 2020, the Company, its Board, and the

Company’s advisors worked with JLL and the Master Lessors to attempt to replace the deficit in

the Consortium investment with a new money investment from the Master Lessors in the form of

a lease incentive investment, but on Monday, March 2, 2020, certain Master Lessors declined to

participate in the proposed transaction as revised.



3   Immediately prior to the Petition Date, KKR assigned the claims and obligations under the term loan to HGB
    AVF Lending, LLC, which is an affiliate of Hilco Merchant Resources, LLC.
4   KKR also agreed to participate in the Consortium Bid by exchanging its term loan into a percentage of the pro
    forma equity and new debt pari passu with the Consortium investment.



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        16.      After the Company’s forbearance with Wells Fargo expired on February 28, 2020,

the Company went into default under its credit facilities and focused its attention on launching a

going-out-of-business process to preserve value. Based on the expected timing for commencing

the liquidation process, any delay in a launch of the going-out-of-business sales could have caused

the process to continue into May and, therefore, necessitate the payment of May rent at locations

still active in the liquidation at that time. The Company also had not received substantial shipments

of new product since early February given it was no longer making payments to vendors, and, as

such, sales were decreasing and weekly cash burn was increasing.

        17.      With no actionable alternatives, and given the urgency with which Wells Fargo was

pressing the Company and its advisors to proceed, the Company began executing on plans for an

orderly wind-down of the Company’s operations and a liquidation of its inventory (the “Wind

Down”). The Company and its advisors negotiated extensively with the Company’s secured

lenders to ensure that customer deposits, credits, and/or refunds, as well as payment of certain

administrative costs, were contemplated by the agreed budget for the Wind Down process. In

particular, as a result of these negotiations, the Company has implemented a process for addressing

customer deposits whereby customers can elect to: (a) receive the merchandise they purchased if

such merchandise is present in the Art Van warehouses; (b) receive a credit in an amount equal to

their deposits that can be used to purchase alternative merchandise at discounted prices during the

Wind-Down, if the originally purchased merchandise is not available; or (c) cancel their order and

submit a request to refund their deposit, which request would be processed as soon as practicable

depending on the volume of refund requests, required processing times, and the timing and

availability of cash proceeds generated by the Wind Down.5


5   The relief requested with respect to the customer deposits, credits and/or refunds is set forth in the Debtors’
    Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Maintain and Administer Certain


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        18.      To facilitate the Wind Down, the Company and its advisors solicited bids from

potential liquidators to conduct store closing sales, and received bids from various parties,

including a proposal from certain parties to acquire certain of the Company’s intellectual property

and other assets. After discussions with several firms that specialize in store closings and inventory

dispositions, and with input from its secured lenders, the Company entered into a consulting

agreement with a contractual joint venture (as amended and restated, the “Consultant Agreement”)

of Hilco Merchant Resources, LLC and Gordon Brothers Retail Partners, LLC (together,

“Consultant”) to conduct the store closing sales. The Consultant Agreement is an expense-based

arrangement in which the Consultant will provide reimbursement of all supervisor costs,

reasonable and documented travel expenses, and general legal fees subject to the caps set forth in

the Consultant Agreement. The Debtors expect to move swiftly through these chapter 11 cases to

minimize costs, with an expected timeline for completing the store closing sales of approximately

six to eight weeks. To maximize recoveries and minimize administrative expenses, the Company

announced and initiated a soft launch of the store closing sales on March 5, 2020, 6 and seeks to

expedite the remaining store closure sales in order to complete them within six to eight weeks.

        19.      In parallel with preparations for the Wind-Down, the Company continued to engage

with interested parties regarding alternative transactions, which ultimately resulted in a proposal

to preserve the Levin business segment and a portion of the Wolf business segment as a going-


    Customer Programs and Honor Certain Prepetition Obligations Related Thereto and (II) Granting Related
    Relief, filed contemporaneously herewith, and remains subject to approval by the Bankruptcy Court.
6   Upon commencement of the store closing sales, Bank of America, N.A., Banc of America Merchant Services,
    LLC (“BAMS”), one of the company’s credit card processors, immediately issued notice of its intent to hold 100
    percent of all sale proceeds as a reserve. The filing of petitions on March 8, 2020, initiated an automatic stay
    against any action to control property of these estates and the Debtors reserve all rights and causes of action
    against BAMS, including with respect to potential preference claims. In addition, on March 6, 2020, Broadstone
    AVF Illinois, LLC, and Broadstone AVF Michigan, LLC (collectively, “Broadstone”), two of the Company’s
    Master Lessors, initiated a lawsuit against the Company in Illinois federal court, alleging, among other things,
    various defaults under their respective leases related to the commencement the store closing sales.



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concern. In the days leading up to the Petition Date, the Company, with the assistance of its

advisors, extensively negotiated and reached an agreement-in-principle with Robert Levin, the

former owner of Levin Furniture, regarding a going-concern sale of certain of the assets of Sam

Levin, Inc. and LF Trucking, Inc. (the “Levin-Wolf Sale”). The key terms of the Levin-Wolf Sale

are set forth in a letter of intent, dated as of March 4, 2020, a copy of which is attached hereto as

Exhibit B (the “Levin-Wolf LOI”). As set forth in the Levin-Wolf LOI, the Levin-Wolf Sale will:

              provide for cash and non-cash consideration, including the
               assumption of liabilities related to customer deposits, employee
               obligations, specified cure costs, and potential claims under section
               503(b)(9) of the Bankruptcy Code;

              preserve nearly 1,000 jobs; and

              provide for the continued operation of approximately 44 retail store
               locations under the Wolf and Levin store banners and two related
               distribution centers.

       20.     The Company expects to move forward with definitive documentation for, and

approval of, the Levin-Wolf Sale on an expedited basis. The Company believes effectuating the

Levin-Wolf Sale on an expedited basis is critical to avoiding employee attrition and other potential

value leakage related to the simultaneous Wind Down of the Company’s other operations. The

Levin-Wolf Sale is supported by the Company’s secured lenders.

       21.     To familiarize the Court with the Debtors, their business, the circumstances leading

to these chapter 11 cases, and the relief the Debtors are seeking in the First Day Motions (defined

below and filed contemporaneously herewith) this Declaration is organized as follows:

              Part I provides a general overview of the Debtors’ corporate history
               and business operations;

              Part II provides an overview of the Debtors’ prepetition capital
               structure;




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              Part III provides a discussion of the circumstances leading to these
               chapter 11 cases and the Debtors efforts to pursue alternate
               restructuring options; and

              Part IV sets forth the evidentiary basis in support of the relief
               requested in each of the First Day Motions.

I.     The Company’s Corporate History and Business Operations.

               Corporate History

       22.     Mr. Art Van Elslander founded Art Van Furniture in 1959 with the first location on

Gratiot Avenue and 10 Mile Road in East Detroit, Michigan. From 1959 through the 1970s, Mr.

Van Elslander focused on building the foundation for his furniture store footprint. During this

time he opened additional stores and acquired the current corporate headquarters and distribution

center in Warren, Michigan. From 1980 to 2000, Art Van Furniture focused on its expansion in

the state of Michigan and introduced the first Art Van credit card, the clearance center concept,

and ArtVan.com. By 1997, following growth in the early to mid-1990s, the Company had

increased in size to a total of twenty-six stores with over 2,600 employees. Further, in the

following decade the Company would open seven more stores for a total of 33 stores in 2009. In

this most recent decade, the Company experienced its most intense growth phase under former

CEO Kim Yost, who led the business from 2009 until his departure in 2018. In 2010, the Company

began to execute on its freestanding PureSleep mattress store thesis. From 2011–2015, the

Company acquired 27 Mattress World stores, began franchising, and entered the Chicago market.

Upon Art Van Elslander’s sale of the Company in 2017, the enterprise had 113 stores, more than

triple the amount of stores than it did in 2009. Around this time, the Company was ranked as

number nineteen on Furniture Today’s “Top 100 list.”

       23.     In 2016, founder and sole owner Art Van Elslander decided to explore exit

opportunities and engaged in a transaction to sell the Company and its owned real estate to THL



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for $612.5 million, which transaction closed in March 2017 (the “2017 Transaction”). At the

closing of the 2017 Transaction, THL acquired the operating assets of the business and certain real

estate investment trusts acquired the owned real estate portfolio. The proceeds from the sale-

leaseback transaction were used to fund the purchase price paid to the selling shareholders. Later

in 2017, the Company acquired two Pennsylvania-based furniture companies: Levin, with

operations in greater Pittsburgh and Cleveland, and Wolf, with operations in eastern Pennsylvania,

Maryland, and Virginia. The Company continued its growth strategy through further geographic

expansion and new store openings, and it also invested in e-commerce capabilities to bolster the

brand and improve consumer experiences. As of the Petition Date, the Company has 92 total

furniture showrooms and 77 freestanding mattress and specialty locations.

               The Company’s Products.

       24.     Since its founding, Art Van Furniture has focused on retailing high-quality, made-

to-last furniture that is available to customers across all price points. Art Van Furniture delivers

an array of merchandise and uses a “Good-Better-Best” approach to pricing, which allows the

Company to play up and down the value spectrum. The Debtors’ store locations feature a

seasonally refreshed assortment that has both exclusive and national brands, traditional and

fashion-forward merchandise, and an optimal mix to maximize sales per square foot performance.

To support the customer experience, Art Van Furniture has a financing program to offer customers

flexibility in purchasing larger and more expensive items. Key comparable companies in the

industry include Ashley Furniture, Raymour & Flanigan, Haverty’s, Mattress Firm, and Rooms

To Go. Other relevant companies in the industry include Bob’s Discount Furniture, IKEA, Ethan

Allen, Restoration Hardware, and Gardner White.




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               The Company’s Brands.

       25.     The Company operates stores under five primary retail nameplates: Art Van®, Art

Van PureSleep®, Scott Shuptrine Interiors, Levin, and Wolf. The respective stores operate as

follows:



                             Art Van features high-quality, made-to-last furniture featuring deals
                             on furniture for every room in your home.



                             Pure Sleep features top brand mattress and other sleep and bedding
                             related goods and products at accessible prices.



                             Scott Shuptrine is primarily a store-within-a-store format offering
                             exclusive and custom designed home furniture and furnishings



                             Levin Furniture, including the Levin Mattress nameplate, features
                             a wide selection of modern and stylish living room, dining room,
                             and bedroom furniture, including mattresses, with operations in the
                             greater Pittsburgh and Cleveland area.

                             Wolf Furniture features a wide selection of eclectic furniture from
                             around the country, including Amish made furniture, with
                             operations in Pennsylvania, Maryland and Virginia.

The Art Van and Art Van PureSleep nameplates have their own standalone stores and operate

under the website artvan.com.     Both Levin Furniture (including Levin Mattress) and Wolf

Furniture nameplates operate their own standalone stores and operate under the websites

levinfurniture.com and wolffurniture.com, respectively.

               The Company’s Business Operations.

       26.     The Company markets and sells its merchandise through a variety of different

channels, including stand-alone stores, franchised locations, and their e-commerce platforms.



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                       Brick-and-Mortar Presence.

       27.     Stand-Alone Stores.      The Company maintains a

substantial domestic presence. Currently, the Company operates

169 stores across 9 states. Of these, 92 are showroom and 77 are

freestanding sleep and specialty stores. Certain furniture showroom

locations have attached Clearance Center & Outlet stores to sell

discounted products and merchandise.

       28.     Franchise Stores. The Company also has arrangements with franchisees (each, a

“Franchise Store”). There currently are 20 Franchise Stores across the United States. The

Franchise Stores are subject to franchise agreements with the Company, pursuant to which the

Company supplies franchisees with product and receives a royalty on sales.

                       E-Commerce Platform.

       29.     In addition to its physical footprint, the Company maintains a user-friendly and

well-curated e-commerce platform with the goal of facilitating a complete, omnichannel customer

experience to help educate them before they arrive at a showroom. Customers can seek out the

latest home furnishing trends, explore different options for an array of different furniture styles,

and purchase furniture online. In 2019, e-commerce accounted for approximately 2% of sales.




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                       Distribution Centers

       30.     The Company primarily operates from two principal distribution centers, one of

which is co-located with Art Van’s headquarters in Warren, MI. The second distribution center is

located in Smithon, PA.

II.    The Company’s Prepetition Corporate and Capital Structure.

       31.     A summary chart depicting the Debtors’ corporate structure is attached to this

Declaration as Exhibit A. As of the Petition Date, the Debtors’ capital structure consists of

outstanding funded-debt obligations under the Prepetition ABL Credit Facility and the Prepetition

Term Loan (each as defined herein) in the aggregate principal amount of approximately

$208.5 million. The following table summarizes the Debtors’ outstanding funded-debt obligations

as of the Petition Date:

                                                           Principal Outstanding
                  Funded Debt             Maturity
                                                           as of the Petition Date
                Prepetition ABL
                                        March 1, 2022           $33.5 million
                 Credit Facility

                Prepetition Term
                                        March 1, 2024           $175 million
                     Loan
                           Total Funded Debt                   $208.5 million

               The Prepetition ABL Credit Facility.

       32.     The Debtors are party to that certain amended and restated senior secured revolving

credit facility, dated as of March 1, 2017 (as amended from time to time the “Prepetition ABL

Credit Agreement”), by and among AVF Holdings II, LLC, AVF Parent, LLC, as borrower agent,

certain of its subsidiaries, as subsidiary borrowers, certain of its subsidiaries, as guarantors, and

Wells Fargo, as administrative agent collateral agent, and issuing bank, and the Lenders party

thereto. The Prepetition ABL Credit Agreement provides for total revolving credit commitments

of $82.5 million with a maturity date of March 1, 2022 (the “Prepetition ABL Credit Facility”).



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Approximately $33.5 million is currently outstanding in principal under the Prepetition ABL

Credit Facility.

       33.     The obligations under the Prepetition ABL Credit Facility are secured by a security

interest in substantially all of the Debtors’ assets. However, solely with respect to liens on certain

of the Debtor’s fixed assets, the liens securing the Prepetition ABL Credit Facility on such assets

are subordinated, to the extent set forth in that certain intercreditor agreement, dated March 1, 2017

(as amended from time to time, the “Intercreditor Agreement”), to the payment in full of the

obligations in respect of the Prepetition Term Loan. The Prepetition ABL Credit Agreement

contains various affirmative and negative covenants, representations, and warranties, including a

covenant that the Debtors maintain a certain amount of excess availability. Due to the Debtors’

deteriorating financial performance, Wells Fargo increased certain reserves in the months leading

up to the Petition Date.

               The Prepetition Term Loan.

       34.     The Debtors are party to that certain term loan credit agreement (the “Prepetition

Term Loan Agreement”), by and among AVF Holdings II, LLC, AVF Parent, LLC, as borrower,

certain of its subsidiaries, as guarantors, Virtus Group, LP (“Virtus”), as administrative agent and

collateral agent, and the lenders party thereto. The Prepetition Term Loan matures on March 1,

2024 (the “Prepetition Term Loan”). Approximately $175 million is currently outstanding in

principal on the Prepetition Term Loan.

       35.     Obligations under the Prepetition Term Loan are secured by a security interest in

substantially all of each Debtor’s assets. However, solely with respect to liens on the Debtor’s

trade receivables, inventory, cash intangibles and other assets collectively referred to as ABL

Priority Collateral in the Intercreditor Agreement, the liens securing the Prepetition Term Loan on




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such assets are subordinated, to the extent set forth in the Intercreditor Agreement, to the payment

in full of the obligations in respect of the Prepetition ABL Credit Facility.

       36.      The Prepetition Term Loan Agreement was subsequently amended, including on

February 5, 2020 (the “Term Loan Amendment”). Among other things, pursuant to the Term Loan

Amendment, Virtus and certain of the Prepetition Term Loan lenders agreed to extend the deadline

to deliver the 2019 annual financial statements to February 28, 2020.

III.   Additional Information Regarding the Debtors’ Efforts to Pursue Alternate
       Restructuring Options.

       37.     Recognizing the need to explore strategic alternatives, the Debtors worked closely

with THL and their advisors to evaluate available solutions to the Debtors’ deteriorating

circumstances, including efforts to continue the business as a going concern by means of one or

more out of court transactions.

                       Prepetition Marketing Process.

       38.     The Debtors, with the assistance of their advisors, Evercore and A&M, engaged in

discussions with various parties considered to be potential investors in the business. Evercore and

A&M compiled diligence information and responded to a high volume of diligence requests from

multiple interested parties.

       39.     Prior to the Petition Date, Evercore and members of the Board contacted at least 31

potentially interested strategic, financial, corporate and individual parties, including at least 19

parties interested in the whole company and at least 12 parties interested in Levin and/or Wolf.

Many of these parties entered into confidentiality agreements with the Debtors and received

various confidential information documents, and thus began the diligence process. As discussed

above, the Debtors made substantial progress towards consummation of the Consortium Proposal,

but due to market conditions and the uncertain financial viability of the business, the Debtors were



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unable to secure investments needed for an actionable going-concern reorganization of the entire

business.

                        The Expedited Levin-Wolf Sale.

       40.      Prior to the Petition Date, Robert Levin, the former owner of the Levin entities,

submitted a written proposal, and the Debtors worked to finalize the Wolf-Levin LOI, pursuant to

which Robert Levin will purchase substantially all of the assets of Debtors Sam Levin, Inc. and

LF Trucking, Inc., excluding inventory located at the eight Maryland and Virginia Wolf locations

(the “Assets”), as part of an expedited sale process under section 363 of the Bankruptcy Code. The

purchase price consists of a combination of cash consideration and assumed liabilities, including:

a cash payment equal to 82.25% of the agreed value of Wolf and Levin’s actual cost of goods and

freight, the amount of allowed section 503(b)(9) claims related to the Assets, the amount of any

cure costs for executory contracts or unexpired leases assumed as part of the Levin-Wolf Sale, and

an incremental payment of $3,650,000. The Levin-Wolf Sale also contemplates the assumption

of customer deposits and employee obligations related to the Wolf and Levin business.

       41.      After hard-fought negotiations, the Debtors and Robert Levin reached an agreement

on material terms and are currently moving toward definitive documentation. The Debtors are

commencing an expedited sale process to close the Levin-Wolf Sale to prevent continued

diminution of value and mitigate the risk of employee and customer attrition as the Debtors

contemporaneously pursue the Wind-Down with respect to the Art Van store portfolio. The Levin-

Wolf Sale contemplates the following timeline:

            the Debtors shall file a motion to approve a private sale of the Assets to Robert Levin
             no later than five (5) days following the Petition Date;

            the buyer and Debtors shall enter into an asset purchase agreement for the sale of the
             Assets no later than ten (10) days following the Petition Date; and




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            the Court shall enter an order approving the asset purchase agreement no later than
             twenty-one (21) days following the Petition Date.

       42.      The Debtors expect the Levin-Wolf Sale to maximize recoveries for the Debtors’

creditors as well as to preserve jobs and the Levin and Wolf brands.

                       Store Closings.

       43.      Due to the challenges discussed above, and at the direction of Wells Fargo, the

assets not included in the Levin-Wolf Sale will be subject to going-out-of-business sales conducted

in accordance with the Consultant Agreement. To avoid incurring any unnecessary administrative

expenses with respect to certain facilities where the Debtors are no longer operating and retain no

assets of value, the Debtors expect to take a number of steps to reduce their expenses moving

forward, including filing contract and lease rejection motions, pursuant to which the Debtors will

seek to reject store leases and contracts that the Debtors and their advisors have determined are no

longer be necessary to the Debtors’ business operations.

IV.    Relief Sought in First Day Motions.

       44.      Contemporaneously herewith, the Debtors filed the First Day Motions seeking

relief that the Debtors believe is necessary to enable them to efficiently administer their estates

with minimal disruption and loss of value during these chapter 11 cases. The Debtors request that

the relief requested in each of the first day motions be granted as critical elements in ensuring the

maximization of value of the Debtors’ estates. A list of the First Day Motions is attached hereto

as Exhibit C.

       45.      These First Day Motions seek authority to, among other things, obtain the use of

cash collateral on an interim basis, honor employee-related wages and benefit obligations, and

ensure the continuation of the Debtors’ cash management systems and other business operations

without interruption. I believe that the relief requested in the First Day Motions is necessary to



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give the Debtors an opportunity to work towards successful chapter 11 cases that will benefit all

of the Debtors’ stakeholders.

       46.     Several of these motions request authority to pay certain prepetition claims.

I understand that Rule 6003 of the Federal Rules of Bankruptcy Procedure provides, in relevant

part, that the Court shall not consider motions to pay prepetition claims during the first 21 days

following the filing of a chapter 11 petition, “except to the extent that relief is necessary to avoid

immediate and irreparable harm.” In light of this requirement, the Debtors have narrowly tailored

their requests for immediate authority to pay certain prepetition claims to those circumstances

where the failure to pay such claims would cause immediate and irreparable harm to the Debtors

and their estates. Other relief will be deferred for consideration at a later hearing.

       47.     I am familiar with the contents and substance of each First Day Motion (including

the exhibits thereto), and the statements and facts set forth in each of the First Day Motions are

true and correct to the best of my knowledge. I believe that the relief sought in each First Day

Motion: (a) is necessary to enable the Debtors to operate in chapter 11 with minimal disruption or

loss of value; and (b) best serves the interests of the Debtors’ stakeholders.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct.

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Dated: March 8, 2020            /s/ David Ladd
Wilmington, Delaware            Name: David Ladd
                                Title: Executive Vice President and Chief Financial
                                       Officer
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                         Exhibit A

               Corporate and Capital Structure
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                      AVF Holding
                     Company, Inc.



                     AVF Holdings
                        I, LLC



                     AVF Holdings
                        II, LLC



                      AVF Parent,
                         LLC




 Levin Parent,                                 Art Van                                   Comfort
      LLC                                   Furniture, LLC                              Mattress, LLC




Sam Levin, Inc.
                          AVF               AV Pure Sleep                                 Art Van
                      Franchising,           Franchising,            AVCE, LLC          Furniture of
                          LLC                    LLC                                    Canada, LLC
LF Trucking, Inc.

                                                                Art Van International
                                                                 Consulting Services
                                                                (Shenzhen) Company
                                                                      Limited
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                         Exhibit B

                      Levin-Wolf LOI
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                                   Exhibit C

                              First Day Motions

     Debtors’ Motion for Entry of an Order (I) Directing Joint Administration of
      Chapter 11 Cases, and (II) Granting Related Relief;

     Debtors’ Application for Entry of an Order Appointing Kurtzman Carson
      Consultants LLC as Claims and Noticing Agent Nunc Pro Tunc to the Petition
      Date;

     Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
      to (A) Continue to Operate Their Cash Management System, (B) Honor Certain
      Prepetition Obligations Related Thereto, and (C) Maintain Existing Business
      Forms and (II) Granting Related Relief;

     Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
      to Maintain and Administer Certain Customer Programs and Honor Certain
      Prepetition Obligations Related Thereto and (II) Granting Related Relief;

     Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing Use of
      Cash Collateral and Affording Adequate Protection; (II) Modifying the Automatic
      Stay; (III) Scheduling a Final Hearing; and (IV) Granting Related Relief;

     Debtors’ Motion Seeking Entry of an Order (A) Authorizing the Debtors to File a
      (I) Consolidated List of Creditors in Lieu of Submitting a Separate Mailing Matrix
      for Each Debtor, (II) File a Consolidated List of the Debtors’ Thirty Largest
      Unsecured Creditors, and (III) Redact Certain Personally Identifiable Information
      for Individual Creditors and Interest Holders and (B) Granting Related Relief;

     Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Payment
      of Certain Prepetition Taxes and Fees and (II) Granting Related Relief;

     Debtors’ Motion for Entry of Interim and Final Orders (I) Determining Adequate
      Assurance of Payment for Future Utility Services, (II) Prohibiting Utility Providers
      from Altering, Refusing, or Discontinuing Utility Services, (III) Establishing
      Procedures for Determining Adequate Assurance of Payment, (IV) Requiring
      Utility Providers to Return Deposits for Utility Services No Longer in Use, and
      (V) Granting Related Relief;

     Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
      to (A) Pay Prepetition Employee Wages, Salaries, Other Compensation, and
      Reimbursable Employee Expenses and (B) Continue Employee Benefits Programs
      and (II) Granting Related Relief;
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     Debtors’ Motion for Entry of Interim and Final Orders (I) Approving Notification
      and Hearing Procedures for Certain Transfers of and Declarations of
      Worthlessness With Respect to Common Stock and (II) Granting Related Relief;

     Debtors’ Motion for Entry of Interim and Final Orders (I) Approving Procedures
      for Store Closing Sales, (II) Authorizing Customary Bonuses to Employees of
      Closing Stores, (III) Authorizing Assumption of the Consulting Agreement, and
      (IV) Granting Related Relief; and

     Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Debtors to
      Pay Certain Prepetition Specified Lienholder Claims and (II) Granting Related
      Relief.
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1                       UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF DELAWARE
2
                                     .        Chapter 11
3    IN RE:                          .
                                     .        Case No. 20-10553 (CSS)
4
     ART VAN FURNITURE, LLC, et al., .
5                                    .        Courtroom No. 6
                                     .        824 North Market Street
6                                    .        Wilmington, Delaware 19801
                                     .
7                       Debtors.     .        March 10, 2020
     . . . . . . . . . . . . . . . . .        10:00 A.M.
8
                     TRANSCRIPT OF FIRST DAY HEARING
9              BEFORE THE HONORABLE CHRISTOPHER S. SONTCHI
                      UNITED STATES BANKRUPTCY JUDGE
10
     APPEARANCES:
11

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1    APPEARANCES (Continued):

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1    APPEARANCES (Continued):

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1    FIRST DAY MOTIONS:

2    Joint Administration Motion. Debtors’ Motion for Entry of an Order
     (I) Directing Joint Administration of Chapter 11 Cases, and (II)
3    Granting Related Relief [Docket No. 2]

4    Ruling:   Order Entered

5    Creditor Matrix Motion. Debtors’ Motion Seeking Entry of an Order
     (I) Authorizing the Debtors to File a (A) Consolidated List of
6    Creditors in Lieu of Submitting a Separate Mailing Matrix for Each
     Debtor and (B) Consolidated List of the Debtors’ Thirty Largest
7    Unsecured Creditors, (II) Waiving the Requirement to File a List of
     Equity Security Holders, (III) Authorizing the Debtors to Redact
8    Certain Personal Identification Information, and (IV) Granting
     Related Relief [Docket No. 6]
9
     Ruling:   Order Entered
10
     Kurtzman Carson Consultants LLC 156(c) Retention Application.
11   Debtors’ Application for Entry of an Order Appointing Kurtzman
     Carson Consultants LLC as Claims and Noticing Agent Nunc Pro Tunc to
12   the Petition Date [Docket No. 3]

     Ruling:   Order Entered
13
     Cash Management Motion. Debtors’ Motion for Entry of Interim and
14
     Final Orders (I) Authorizing the Debtors to (A) Continue to Operate
     Their Cash Management System, (B) Honor Certain Prepetition
15
     Obligations Related Thereto, and (C) Maintain Existing Business
     Forms and (II) Granting Related Relief [Docket No. 4]
16
     Ruling:   Order Entered
17
     Customer Programs Motion. Debtors’ Motion for Entry of Interim and
18   Final Orders (I) Authorizing the Debtors to Maintain and Administer
     Certain Customer Programs and Honor Certain Prepetition Obligations
19   Related Thereto and (II) Granting Related Relief [Docket No. 27]
20   Ruling:   Order Entered
21   Cash Collateral Motion. Debtors’ Motion Seeking Entry of Interim and
     Final Orders (I) Authorizing Use of Cash Collateral and Affording
22   Adequate Protection; (II) Modifying the Automatic Stay; (III)
     Scheduling a Final Hearing; and (IV) Granting Related Relief
23   [Docket No. 5]

24   Ruling:   Order Entered

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1    Taxes Motion. Debtors’ Motion for Entry of Interim and Final Orders
     (I) Authorizing the Payment of Certain Prepetition Taxes and Fees
2    and (II) Granting Related Relief [Docket No. 7]

3    Ruling:   Order Entered

4    Utilities Motion. Debtors’ Motion for Entry of Interim and Final
     Orders (I) Determining Adequate Assurance of Payment for Future
5    Utility Services, (II) Prohibiting Utility Providers from Altering,
     Refusing, or Discontinuing Utility Services, (III) Establishing
6    Procedures for Determining Adequate Assurance of Payment, (IV)
     Requiring Utility Providers to Return Deposits for Utility Services
7    No Longer in Use, and (V) Granting Related Relief [Docket No. 8]

8    Ruling:   Order Entered

9    Wages Motion. Debtors’ Motion for Entry of Interim and Final Orders
     (I) Authorizing the Debtors to (A) Pay Prepetition Employee Wages,
10   Salaries, Other Compensation, and Reimbursable Employee Expenses and
     (B) Continue Employee Benefits Programs and (II) Granting Related
11   Relief [Docket No. 9]

     Ruling:   Order Entered
12
     NOL Motion. Debtors’ Motion for Entry of Interim and Final Orders
13
     (I) Approving Notification and Hearing Procedures for Certain
     Transfers of and Declarations of Worthlessness With Respect to
14
     Common Stock and (II) Granting Related Relief [Docket No. 10]
15   Ruling:   Order Entered
16   Lienholder Claims Motion. Debtors’ Motion for Entry of Interim and
     Final Orders (I) Authorizing Debtors to Pay Certain Prepetition
17   Specified Lienholder Claims and (II) Granting Related Relief [Docket
     No. 11]
18
     Ruling:   Order Entered
19

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     EXHIBITS:                                 ID     Rec'd
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     Declaration of David Ladd                           52
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1          (Proceedings commence at 10:27 a.m.)

2                THE CLERK:    All rise.

3                THE COURT:    Please be seated.

4                Good morning, Mr. Werkheiser.

5                MR. WERKHEISER:      Good morning, Your Honor.       For

6    the record Gregory Werkheiser, Benesch Friedlander Coplan &

7    Aronoff LLP, proposed counsel for the debtors.

8                Thank you, Your Honor, for accommodating us so we

9    could have this expedited first day hearing in these cases.

10               If I may, Your Honor, just before we get underway,

11   I’d like to make some quick introductions to the court.

12               THE COURT:    Of course.

13               MR. WERKHEISER:      So, seated behind me, Your Honor,

14   is the debtors’ chief financial officer and executive vice

15   president, Mr. David Ladd.

16               THE COURT:    Sir.

17               MR. WERKHEISER:      He’s joined us from Detroit,

18   Illinois.   Also with us today, Your Honor, is Mr. Dennis

19   Stogsdill from Alvarez & Marsal North America.

20               THE COURT:    Welcome.

21               MR. WERKHEISER:      He leads the engagement with

22   Alvarez for this case.

23               THE COURT:    Very good.

24               MR. WERKHEISER:      Joining me, Your Honor, at

25   counsel’s table, I think, are some familiar faces.             You know
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1    Mr. Capuzzi, Mr. John Gentile, Kate Harmon, Jennifer Hoover;

2    all from the Benesch Firm.      Then our special counsel, Marua

3    Russell, who I know is familiar to this court as well.

4                 THE COURT:   Welcome.

5                 MR. WERKHEISER:    Just before we proceed, in the

6    press of getting everything done, we did not have an

7    opportunity to file a pro hac motion for Ms. Russell.          If the

8    court wanted to entertain an oral motion we will file for

9    something in writing.

10                THE COURT:   All right.    I assume she’s admitted

11   somewhere.

12                MR. WERKHEISER:    I will represent that Ms.

13   Russell, to my understanding, is admitted and in good

14   standing in New York and other jurisdictions.         And we would

15   have no reservations at all in signing her pro hac motion.

16                THE COURT:   Very good.    Happy to admit you pro hac

17   vice pending entry of an order.

18                MR. WERKHEISER:    Thank you, Your Honor.

19                Your Honor, if its acceptable to the court what we

20   would propose to do is give Your Honor a brief overview, and

21   I’m going to emphasize because I know Your Honor is pressed

22   for time this morning and we’ve already taken some to try to

23   work out issues.    A brief overview of the case and the

24   company, and then what we would like to do is try to work

25   through what I think are the least controversial of the first
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1    days; joint administration, the creditor matrix motion, KCC,

2    cash management, customer programs, taxes, utilities, wages

3    and lienholders.    I think then we would like to take up the

4    cash collateral, and I think the only open issues we’re aware

5    of there at this point involves some comments from our U.S.

6    Trustees Office that in the time we had available we resolved

7    a lot of them, but we do have a couple outstanding still.

8                Then there are, of course, a couple of matters

9    that we did not have an opportunity to get on the docket

10   until last evening.      One is a supplement small DIP facility

11   that relates to just one of the debtors.        The second one is

12   the GOB sale motion.      We understand what the court said in

13   terms of scheduling of those matters.        We would like to just

14   discuss them with the court before the end of today’s hearing

15   and see if we can’t accomplish a little bit with those

16   motions and agree with people on a path forward.

17               THE COURT:    Okay.

18               MR. WERKHEISER:       So, Your Honor, again, to

19   expedite things I’m going to assume Your Honor has had a

20   chance to read our first day declaration.

21               THE COURT:    I did, yes.

22               MR. WERKHEISER:       So, this is on the spectrum of

23   Chapter 11 cases a more difficult case.        This is a company

24   that, you know, finds itself in significant distress and for

25   which the circumstances have dictated for the majority of the
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1    business there is no other option but liquidation.             And so in

2    that sense it is regrettable that we have to be here today

3    because it means some jobs will be lost, and creditors, you

4    know, may not achieve recoveries that they were hoping for,

5    but I can assure you that the company and its advisors are

6    here today to do the best that they can to not only maximize

7    value, but to do this in a way that is most respectful of all

8    the stakeholders who are affected by this process and that,

9    you know, minimizes any harm to anyone as part of this

10   process.

11               The good news, Your Honor, is that despite all of

12   the head winds that this company faced leading to getting

13   here today, and being in the bankruptcy court, and the

14   inability to save the core, Art Van Furniture, business from

15   liquidation.   We are in the happy position of having a buyer

16   for the Wolf and Levin furniture lines.        These are two

17   Pennsylvania based furniture retailers that were acquired in

18   2017 from the Levin Family.      And they had performed somewhat

19   better than other parts of the business; although, they have

20   had their own challenges.

21               Fortunately, as part of the process that got us

22   here today, the company and its advisors were able to engage

23   successfully with them and ultimately to come to an

24   understanding on a proposed assert purchase acquisition of

25   the assets of the Sam Levin, Inc. entity, which is one of our
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1    debtors, and LF Trucking, Inc., which is a second of our

2    debtors.    Those are the debtors that hold the assets related

3    to those two retail furniture lines.        We are going to be

4    seeking, although not shortening notice, but to proceed with

5    a very expedited sale process for that by, if at all

6    possible, a private sale process because of the, otherwise,

7    dire liquidity situation of the overall company.

8                Part of the relief that we had sought through the

9    filings yesterday was to get, when Your Honor can entertain

10   it, what would be a small inventory DIP for that piece of the

11   business which would encumber only those assets and none

12   others, then would ultimately be credited against the

13   purchase price to be paid for those assets when that sale

14   closes.    The concept there is to simply give the company

15   liquidity for a runway to purchase inventory and preserve

16   going concern value over the expedited sales process as

17   contemplated; just for context, Your Honor.

18               So, stepping back for a moment, Your Honor, I --

19   we are relatively recently involved as a firm in the case,

20   but in the short time that we have been on the case I’ve come

21   to understand that this company is, in a way, sort of an

22   iconic institution for a lot of people in the mid-west.          A

23   lot of people in Michigan especially, you know, have some

24   piece of Art Van Furniture in their house.         So, I think, you

25   know, even lawyers, and lawyers, obviously, are not the most
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1    sentimental bunch in the world, lawyers who have called or

2    emailed me about this case since it filed have expressed, you

3    know, some bit of sadness that the company is going away, but

4    a fondness for the company over the years.         So, you know, we

5    are, sort of, mindful of that and will proceed accordingly.

6                 The goal for this case, you know, given the

7    difficult circumstances, given the lack of access to capital

8    in the markets that was available to the company, and just eh

9    operational and financial challenges that it faced is, you

10   know, unfortunately to maximize value through a liquidation

11   of most of the locations, preserve the going concern on the

12   balance and hopefully save those thousand jobs, and provide a

13   benefit to those creditors.      To do that as expeditiously as

14   possible maximizing value and doing as little harm to our

15   creditors and other stakeholders as possible along the way.

16                Again, I think I will cut-off opening comments

17   there, Your Honor, and jump right into the first day agenda

18   unless Your Honor has questions or comments before we proceed

19   with that.

20                THE COURT:   I do not.    Thank you very much.

21                MR. WERKHEISER:    Thank you.

22                Your Honor, I’m going to turn the podium over to

23   Mr. Gentile who’s going to present our joint administration

24   motion, then I or Mr. Capuzzi will be back up at the podium

25   in just a moment.
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1                THE COURT:     Okay.

2                MR. GENTILE:     Good morning, Your Honor.

3                THE COURT:     Good morning.

4                MR. GENTILE:     John Gentile from Benesch

5    Friedlander Coplan & Aronoff LLP, proposed counsel for the

6    debtors.

7                Before we get started, Your Honor, I have a stack

8    of orders here.    May I approach?

9                THE COURT:     Yes, you may.    Thank you.

10               MR. GENTILE:     Your Honor, before I begin just one

11   slight change in scheduling.       I’m going to be handling the

12   joint admin and the KCC retention app.        I think the creditor

13   matrix is sandwiched in between, and Kevin Capuzzi is going

14   to handle that one.

15               THE COURT:     Okay.

16               MR. GENTILE:     So, for our first motion the debtors

17   request that they be allowed to administer these cases

18   jointly.   There are no objections to the joint admin.         So, we

19   ask that the court enter the order.

20               THE COURT:     Any changes?

21               MR. GENTILE:     No changes.

22               THE COURT:     Do you have a copy that doesn’t have

23   this legend at the top because if I file this, if I e-file

24   with this legend on the top and then anyone else prints it

25   with their legend on the top its going to be unreadable.          So,
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1    all clean orders can’t have that.

2                MR. GENTILE:     I do understand, Your Honor.

3                THE COURT:     Yeah.     It just looks like the only

4    ones are the -- the consolidated list of creditors has the

5    same problem. All the others look fine -- well, no, I lied,

6    the others have the same problem.

7                MR. GENTILE:     Your Honor, may we submit the orders

8    immediately after the hearing?

9                THE COURT:     Yes.

10               MR. GENTILE:     Okay.     Thank you.

11               THE COURT:     I will orally grant joint

12   administration.

13               MR. GENTILE:     Thank you, Your Honor.

14               THE COURT:     Can you just upload them for Ms.

15   Szymanski --

16               MR. GENTILE:     Yes.     We will upload them.

17               THE COURT:     -- and she will take care of them.

18               MR. GENTILE:     Moving onto the KCC retention

19   application your folder only contains a redline.          We needed

20   to resolve one minor comment from the U.S. Trustee that is

21   reflected in the redline.         There were no other objections or

22   comments.   So, as a result we ask that we be allowed to

23   upload a clean order by the court.

24               THE COURT:     Does anybody wish to be heard?

25               MS. RICHENDERFER:        Your Honor, Linda Richenderfer
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1    for the U.S. Trustees Office.

2                 I have just asked counsel if I could have a copy

3    of what Your Honor is looking at so I can just make certain

4    that the remaining comment I had was addressed.

5                 THE COURT:     Its looks like it’s at the top of Page

6    4.

7                 MS. RICHENDERFER:      Thank you, Your Honor.       No

8    objection.

9                 THE COURT:     Okay.   The court will grant the

10   motion.   Just upload a clean version and it will be entered.

11                MR. GENTILE:     Thank you, Your Honor.

12                At this time I would like to introduce my

13   colleague, Kevin Capuzzi.

14                THE COURT:     Thank you very much, sir.

15                MR. CAPUZZI:     Good morning, Your Honor.        For the

16   record Kevin Capuzzi of Benesch Friedlander Coplan & Aronoff,

17   proposed counsel for the debtors.

18                THE COURT:     That law firm is a real mouthful.

19         (Laughter)

20                MR. CAPUZZI:     I know, right.   We need to shorten

21   that; the Werkheiser Firm.

22         (Laughter)

23                MR. CAPUZZI:     Your Honor, I’m going to be running

24   through some operational motions.        I also have the cash

25   management or the creditor matrix motion which I know there
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1    is an objection by the U.S. Trustee.        So, what I propose is

2    to go through some of the more routine ones and then handle

3    creditor matrix at the end.

4                THE COURT:     Okay.

5                MR. CAPUZZI:     All right. So, the first one I’m

6    going to handle is Number 6 on the agenda, it’s the cash

7    management motion.    The debtors seek authority to continue

8    their prepetition cash management system and honor

9    obligations in connection therewith.

10               The debtors have about 45 bank accounts that are

11   spread across six banks.      They are all in the United States.

12   All but two of those 45 accounts are on the U.S. Trustees

13   approved list.    And the two that are not on the approved list

14   do not exceed the FDIC insured maximum levels.          Continuation

15   of these systems will facilitate the smooth transition into

16   Chapter 11.

17               I do have, Your Honor, a redline of that order.

18   If you can’t easily find it in your packet I can hand it up.

19               THE COURT:     I think I have it right -- I think

20   what you gave me was the redline.

21               MR. CAPUZZI:     Okay.   These are all agreed changes

22   with the Office of the United States Trustee. We do not have

23   any outstanding issues.      So, we will, unless the court has

24   any questions, upload a copy of that order.

25               THE COURT:     It looks like I have a clean here.
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1                MR. CAPUZZI:     I don’t think you do.      I think it

2    looks like there is, but I paged through in the rush of this

3    morning and I think that is a stapled copy of a redline that

4    looks clean.

5                So, I think just to make things easier we will

6    upload; however, Your Honor --

7                THE COURT:     You can upload.    That’s fine.

8                MR. CAPUZZI:     -- if you could orally grant that

9    one just because we need to process payroll today.             That

10   would be very helpful.

11               THE COURT:     By the way, backing up to the Kurtzman

12   motion, I had the same comment.         So, thank you, Ms.

13   Richenderfer, for doing my job for me.

14               All right.     So, it’s an interim order.

15               MR. CAPUZZI:     Correct.

16               THE COURT:     I’m sorry, does anyone -- I’m off my

17   game this morning.    I apologize.      I’ve only had six cups of

18   coffee today.

19         (Laughter)

20               THE COURT:     Does anyone wish to be heard in

21   connection with cash management?

22         (No verbal response)

23               THE COURT:     All right.    I hear none.    It’s an

24   interim order so we need a date to fill in the blanks there

25   for a second day hearing.      So, now is a good a time as any to
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1    talk about that.     Let’s see, did you file yesterday?        You

2    filed Monday or you filed Sunday?

3                MR. CAPUZZI:     We filed Sunday night in the wee

4    hours.

5                THE COURT:     Okay.     Was it the wee hours of Monday

6    morning or was it Sunday night?

7                MR. CAPUZZI:     No.     It was the late hours of Sunday

8    night.

9                THE COURT:     Okay.     All right.   So, sometime the

10   week of March 30th for a second day hearing, Mr. Werkheiser,

11   is that all right?

12               MR. WERKHEISER:        I’m sorry, Your Honor, you said

13   the week of March 30th?

14               THE COURT:     Yeah, sometime that week.      That will

15   be 21 plus days from the -- the 31st is 21 days from today.

16   We can go into the next week.         We might need to actually

17   because I’m unavailable Thursday and Friday.          So, I guess we

18   could do April fool’s day or we could do the week of April

19   6th which I have more availability the week of April 6th.

20               MR. WERKHEISER:        Your Honor, can we just consult?

21               THE COURT:     Yes, of course.

22               MS. RICHENDERFER:        Your Honor, Linda Richenderfer

23   again from the Office of the United States Trustees Office.

24               Just for the record, in case it effects anyone’s

25   scheduling, we are currently -- the proposed date for the
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1    committee formation meeting is Wednesday the 11th.

2                THE COURT:    Tomorrow.

3                MS. RICHENDERFER:       I’m sorry, Wednesday the 18th.

4    I’m mixing up my calendar here.

5                THE COURT:    That’s okay.

6                MS. RICHENDERFER:       Just so that Your Honor has

7    that in mind.   So, April 1st would be good.        It would give

8    the committee, if formed, two weeks.

9                THE COURT:    Yeah.     I think April 1st is really the

10   earliest because if you file any new motions today that you

11   want to schedule for that hearing date that will be 21 days’

12   notice, but if you go -- actually, that will be 21 days’

13   notice, but if you go -- actually, that would be 22 days’

14   notice.   I’m think the week of March 6th makes the most sense

15   -- April 6th, I apologize.

16               MR. WERKHEISER:       Your Honor, I think that seems to

17   be the leading candidate.      I was just trying to give folks a

18   moment to confirm.    Ideally, if you could hear us that

19   Monday, April 6th that --

20               THE COURT:    Yeah.     I can fit you in.    One o’clock?

21               MR. WERKHEISER:       Fine for me, Your Honor.

22               THE COURT:    That way people coming from --

23               MR. WERKHEISER:       I don’t see anybody --

24               THE COURT:    -- out of town can fly in that morning

25   hopefully and not have to spend Sunday night in exciting
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1    Wilmington, Delaware.     So, April 6th at one p.m., and then

2    the objection deadline will be March 30th at four.             You don’t

3    have to put a time anymore, but if you want to put a time you

4    can put four o’clock.     We will use that for the second day

5    hearing for everything and that will include final cash

6    collateral and final DIP after we have the interim DIP

7    probably Thursday this week, but we will talk about that when

8    we get to it.

9                MR. WERKHEISER:     Thank you, Your Honor.

10               THE COURT:    All right.    So, fill those blanks in

11   and I will be happy to approve cash managment.          I orally

12   approve cash management along the lines set forth in the

13   motion for purposes of being able to process payroll.

14               MR. CAPUZZI:     Thank you, Your Honor.

15               The next motion will be the taxes motion which is

16   Number 9 in the amended agenda.        The debtors seek authority

17   to pay prepetition taxes and fees in an interim amount of

18   $854,000 dollars and a final amount of $1,031,000 dollars.

19   There’s a table in Paragraph 10 of the motion that reflects

20   how that is broken down.

21               The order, as filed with the motion, reflects the

22   agreed changes with the U.S. Trustee.        There has been no

23   changes since then.      So, we would ask the court to enter that

24   order on an interim basis.

25               THE COURT:    Does anyone wish to be heard?
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1          (No verbal response)

2                THE COURT:     All right.   We will use the same date

3    for the final hearing.      We have the same problem with the

4    form of orders so please upload it with the correct date and

5    the court will approve the motion.

6                MR. CAPUZZI:     Thank you, Your Honor.

7                The next motion is the wages motion which is

8    Number 11 in your binder.      The debtors seek authority to pay

9    prepetition wages, benefits and non-insider commissions in an

10   interim amount of approximately $12 and a half million

11   dollars, and a final amount of approximately $20.4 million

12   dollars.

13               There is a table in Paragraph 12 of the motion

14   which breaks that down in further detail.         These are wages

15   that are, otherwise, entitled to priority.         The debtors are

16   not seeking to exceed the cap imposed by Section 507(a)(4) of

17   the Bankruptcy Code.     The relief is necessary to maintain the

18   goodwill of the employees and the smooth transition into

19   Chapter 11.

20               The order, as filed, which we will have to re-

21   upload, reflects the agreed changes with the United States

22   Trustee.   So, unless there are any issues with that I’d ask

23   that it be entered and orally granted today so that we can

24   process payroll.

25               THE COURT:     Does anyone wish to be heard?
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1          (No verbal response)

2                THE COURT:     All right.    The court will grant the

3    motion and it’s granted subject to entry of an order, but

4    orally granted for purposes of process payroll.

5                MR. CAPUZZI:     Thank you, Your Honor.

6                And that’s an interim order.        We will fill-in the

7    same dates.

8                THE COURT:     Yes.

9                MR. CAPUZZI:     The next motion is Number 12 in the

10   court’s packet or the court’s binder, I’m sorry.          This is the

11   NOL motion.   The debtors seek to establish procedures related

12   to the transfers or declarations of worthlessness as to

13   debtor Art Van Furniture stock.         They estimate roughly 90

14   million in federal NOL’s and tax attributes which are

15   property of the estate.      These are requested notification

16   procedures that we would seek to approve on an interim basis.

17               There is a redline order in the court’s packet.

18   There is just one very minor change at the request of the

19   Office of the United States Trustee and that is in the

20   procedures which are Exhibit 1 to the order and it is the

21   very last provision of the procedures. There was a procedure

22   that stated that the forms could be filed in a redacted

23   version.   I added, with the agreement of Ms. Richenderfer,

24   that it would be subject to the requirements of the new

25   robust Local Rule 9018.1(d).
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1                Other than that, Your Honor, there were no further

2    comments from the Office of the United States Trustee. We’d

3    ask that this be entered on an interim basis subject to the

4    same dates and deadlines which we would upload following the

5    hearing.

6                THE COURT:     Does anyone wish to be heard?

7          (No verbal response)

8                THE COURT:     Court will grant the motion.

9                MR. CAPUZZI:     The next motion, Your Honor, is the

10   lienholder’s motion which is Number 14 in the court’s agenda.

11   The debtors seek authority to pay prepetition lienholder

12   claims in an interim amount of $1,154,000 dollars and a final

13   amount of $3,462,000 dollars.      These claims generally relate

14   to shippers, importers and others who are integral to the

15   debtors’ logistical network and may, otherwise, possess

16   common law or statutory lien rights over the debtors’

17   property.    The relief is necessary to ensure the

18   uninterrupted flow of inventory and shipment of merchandise.

19               Your Honor, the order, as submitted, which we will

20   upload, reflects the agreed changes with the Office of the

21   United States Trustee.      And there has been no further

22   changes.    With that we would ask that it be approved on an

23   interim basis subject to the same dates and deadlines that we

24   have discussed.

25               THE COURT:     Does anyone wish to be heard?
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1          (No verbal response)

2                THE COURT:     Court will grant the motion.

3                MR. CAPUZZI:     The other operational motion is the

4    utilities motion which my colleague, Kate Harmon, will

5    handle, but so that we don’t wear out the carpet should we do

6    creditor matrix now?

7                THE COURT:     Sure.

8                MR. CAPUZZI:     The creditor matrix motion, I

9    believe, is Number 4 in the court’s binder.         Some of the

10   relief sought in here is pretty generic and I don’t believe

11   there is an objection to it by the Office of the United

12   States Trustee.    That generally relates to filing a

13   consolidated creditor’s list and consolidated top 30 list.             I

14   believe that is not at issue here.

15               The aspect of the motion that’s garnered some

16   attention, as you can imagine, is the request to redact the

17   home addresses of the employees and customer creditors of the

18   debtors.   There is about 4,000 employees and about 7,000

19   customer creditors; people who have deposits, or potential

20   returns, or gift cards, things of that nature.

21               While I recognize that the relief sought is not

22   routine it is becoming increasingly important and more

23   commonly granted as issues of identity theft and safety of

24   non-debtor individual’s rise.      The debtors respectfully

25   assert that those issues that concern those individuals who
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1    are not part of this bankruptcy by choice, but because they

2    merely work for the debtor or have dealings with the debtor

3    outweigh any transparency or public policy concerns that the

4    Office of the United States Trustee may raise.

5                We recognize that those concerns are important,

6    but redacting the home addresses, not the names of those

7    creditors, will not impinge on the bankruptcy process.         Those

8    addresses will be made available to the court, to the Office

9    of the United States Trustee, to any creditors committee.

10   So, I see not prejudice in redacting them from the publicly

11   filed versions of the creditor matrix.

12               Similar relief has been granted recently, as

13   recent as last year in Loot Crate, THG Holdings, and the

14   Achaogen cases, as well as older cases such a Model Reorg and

15   Dex Media which are set forth in our motion.         The debtors,

16   therefore, assert that cause exists under 107(c)(1) to grant

17   the relief requested.

18               THE COURT:     All right.

19               MR. CAPUZZI:     Thank you.

20               THE COURT:     Any objection?

21               MS. RICHENDERFER:     Your Honor, Linda Richenderfer

22   for the Office of the United States Trustee.

23               Your Honor, I rise to object because I note for

24   the record that there has been no attempt to make an

25   evidentiary showing to meet the burden.        We just have generic
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1    comments regarding identity theft.       There is nothing in the

2    first day affidavit regarding this.       So, I would just submit

3    to Your Honor that the debtors have not met their burden of

4    proof.

5                THE COURT:    Okay.   Well I disagree on that in that

6    I really don’t view it as a burden of proof as much as a

7    common sense issue.      I’m not sure what proof you would say

8    other than to get a witness up and say just want counsel

9    said.

10               In my experience this has become a serious issue

11   and I have changed my thinking on this as I’m sure people who

12   track these things know, based on experience in a previous

13   case.    In my mind, at this point and given the risks

14   associated with having any kind of private information out on

15   the internet, this has really become routine.         I think

16   obvious relief.

17               I don’t ignore the plain meaning of the code or

18   the rules lightly, but sometimes the code and the rules lag

19   behind reality, and don’t take into account the issues that

20   face real life people every day.       I can, from personal

21   experience, tell you that identity theft happens, it happens

22   all the time. It happened to my wife and I a few years ago.

23   And I have had experience in other cases with people who have

24   been subject to danger by estranged people in their lives who

25   have been able to find out where they are.         I take that
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1    extremely seriously.

2                So, I will overrule the objection and grant the

3    motion.

4                MR. CAPUZZI:     Thank you, Your Honor.      We will

5    upload that order.

6                To round up the operation motions my colleague,

7    Kate Harmon, will handle the utilities motion, then Mr.

8    Werkheiser will be back for customer programs and cash

9    collateral.

10               Thank you.

11               THE COURT:     Now I know it’s cold in here, but is

12   that a scarf?

13               MS. HARMON:     It is.

14               THE COURT:     Okay.

15           (Laughter)

16               THE COURT:     It’s lovely, it’s just its not that

17   cold.

18               MS. HARMON:     Always cold.    Good morning, Your

19   Honor.    Kate Harmon, Benesch Friedlander Coplan & Aronoff,

20   proposed counsel to the debtors.

21               As Mr. Capuzzi mentioned, I will be presenting the

22   utilities motion which is Number 10 on the agenda and should

23   be Number 10 in your binder.

24               As set forth more fully in our motion we are

25   seeking interim relief today with respect to the utility
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1    services that the debtors rely on and the utility providers

2    that provide those services, and submit that the relief is

3    necessary both to maintain good customer relationships,

4    employee goodwill and also to aid in the transition into the

5    Chapter 11 cases.

6                As set forth in our motion we propose to provide

7    an adequate assurance deposit in a segregated account in the

8    amount that is half of the estimated average monthly payments

9    for the utilities that the debtors pay on a direct basis.

10   Additionally, we propose to continue paying our utilities on

11   a monthly basis going forward in the ordinary course of

12   business from cash on hand, cash received in the ordinary

13   course of business and cash collateral.

14               Additionally, we have proposed additional

15   assurance procedures should utility providers request that.

16   Those are set forth fully in the motion and in our interim

17   order.   We submitted our motion and interim, proposed interim

18   order to the U.S. Trustee in the last couple of days.          The

19   U.S. Trustee provided one proposed change.         It’s Paragraph

20   8(b) of the proposed interim order which just changed the

21   language regarding the timing in which the debtors need to

22   make that adequate assurance deposit to a date certain which

23   is five days from the entry of the interim order.

24               Unless the court has any questions we’d request

25   that the court enter that order today.
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1                 THE COURT:    Does anyone wish to be heard?

2          (No verbal response)

3                 THE COURT:    Okay.    Happy to grant the order as

4    modified.    If you could upload that that would be great.

5                 MS. HARMON:    With the same dates as discussed?

6                 THE COURT:    Yup.

7                 MS. HARMON:    Thank you.

8                 THE COURT:    You’re on a roll, Mr. Werkheiser.

9    Don’t mess it up.

10                MR. WERKHEISER:      I was going to say I seem to

11   always get up and create the difficult issues.

12                Your Honor, again, for the record Gregory

13   Werkheiser returning to the podium to present the customer

14   practices motion.    Your Honor, this appears at Docket Item

15   27.   The customer practices motion seeks authority for the

16   debtors to maintain a subset of customer practices as

17   modified which it identifies as the essential customer

18   practices.

19                Prior to the petition date and the commencement of

20   store closing sales the debtors maintained a number of

21   customer practice programs in the ordinary course of business

22   at their various retail locations, as detailed in our motion,

23   including taking customer practices for furniture products

24   which are often large dollar value items and have to be

25   special ordered.    And in connection with the Art Van
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1    Furniture stores the debtors had loyalty programs referenced

2    in the motion as the Art Van signature card which had various

3    different participation levels and benefits to customers.

4                 Third, the debtors maintained a refund and

5    exchange policy prepetition in the ordinary course under

6    which customers were generally permitted only seven days to

7    return anything purchased to the store or to exchange it

8    after delivery.    Fourth, the debtors had traditional

9    warranties and extended warranties that they offered their

10   customers.    Fifth, the debtors had the ability for customers

11   either online or in store to purchase gift cards.          I believe

12   that all of their stores other than Wolf Furniture stores

13   that existed.

14                So, in light of the debtors current difficult

15   financial and operation circumstances and the need to

16   discontinue the larger portion of the business we are seeking

17   to continue customer programs in a modified form as described

18   in the motion, but I would summarize as follows:

19                For customer deposits at the stores that are the

20   subject of what is defined as the wind-down in the motion,

21   but essentially these are the store closing locations,

22   customers have the option to, who have deposits previously

23   provided to the debtors, receive store merchandise that they

24   purchased if its present in an Art Van store or warehouse.

25   If the originally purchased merchandise is not available to
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1    receive a store credit in an amount equal to their deposit

2    that can be used towards the purchase of alternative

3    merchandise during the wind-down.       For those customers for

4    whom neither of those options would work we are seeking the

5    authority for the debtors, but the debtor is not to be

6    required because as set forth in the first day declaration

7    and elsewhere, their financial circumstances do not permit

8    them unlimited liquidity to do this.

9                THE COURT:    What are we talking about quantity of

10   deposits on hand?

11               MR. WERKHEISER:     So, the quantity -- let me just -

12   - so across all of the stores, Your Honor, there are

13   approximately 7,000 people that have submitted deposits in an

14   aggregate amount give or take 35 million.         And so, you know,

15   it’s quite widespread in some magnitude in the overall scope

16   of the business.

17               What I was saying, Your Honor, is that we are

18   seeking authority, in certain circumstances, to be able to

19   provide refunds, but, you know, I want to be clear for the

20   record that financial circumstances and the cash limitations

21   that the debtors have are such that those --

22               THE COURT:    Is there an argument?      Is there an

23   argument that it’s not your money, that you’re holding it in

24   trust?

25               MR. WERKHEISER:     Not that I’m aware of based on
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1    anything that we’ve seen to date since our involvement in the

2    case.   I mean, obviously, these -- we’re not necessarily

3    disputing that these wouldn’t be entitled to priority under

4    507 of the Code.    I’m not trying to prejudice anybody’s claim

5    in that regard, but, no, I think especially for items that

6    are special order items, you know, the nature of the

7    transaction is such that if somebody makes a down payment and

8    then the debtor makes, you know, a financial commitment to

9    its suppliers to special order something.         So, I think there

10   is consideration given by the company from the outset even

11   when it’s only received a deposit.

12                THE COURT:   Okay.     I’m listening.

13                MR. WERKHEISER:      I do, you know, also want to be

14   clear that the debtors, again taking into account the

15   financial limitations of their liquidity and their other

16   circumstances are trying to make the resources they can make

17   available to make refunds in those cases where there is no

18   other viable alternative for the customer.           So, we are

19   seeking that relief.      And, you know, again, we will need to

20   use is sparingly because of the circumstances of the company

21   in its financial situation, but that is part of the relief

22   requested.

23                I also want to draw distinction for Your Honor

24   between the ultimate treatment of customer deposits in the

25   sides of the business that are subject to liquidation and the
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1    11 Wolf Furniture stores.      Those are the subject of a

2    proposed going concern sale.      And while the debtors are not

3    necessarily in a position to honor those outside of the

4    bankruptcy process the buyer may very well be assuming those

5    upon closing of that sale.      And there may be the opportunity

6    for those customers to be made whole if that transaction

7    closes.   It’s certainly contemplated that those may be among

8    the obligations that will be assumed by the buyer.

9                With respect to the Art Van signature card

10   program, Your Honor, that has been discontinued.          It was

11   discontinued in connection with the wind-down.          We are not

12   seeking any relief to continue that.

13               With respect to refund and exchange policies, Your

14   Honor, although the motion may give the impression that the

15   policy has changed, in reality, as it relates to any person

16   who purchased merchandise or furniture prior to the

17   commencement of the store closing sales.        The policy remains

18   the same.     They have the same seven days to return or

19   exchange that they had under the stores existing policy.

20               What has changed is that, and all customers that

21   enter the store are made aware of this fact through signage,

22   anything they buy as part of the store closing sales is a

23   final sale.     There are no returns or exchanges for those

24   items.    Again, that is not a change in the policy for the

25   stores operating in the ordinary course.
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1                Then finally with respect to warranties, as we

2    explained in the motion, their financial circumstances and

3    because of the bankruptcy the company is not in a position to

4    honor warranty obligations.      Again, setting aside the Wolf

5    and Levin Furniture stores and such warranty obligations as

6    the buyer may pick-up as part of that transaction.

7                And with respect to the gift cards, Your Honor,

8    the debtor had approximately 1.2 million in the aggregate in

9    gift cards outstanding as of the petition date; 500,000 of

10   which are Art Van cards and 700,000 of which were Levin

11   Furniture cards.    I believe none were Wolf because to my

12   understanding they don’t have gift cards.

13               The gift cards will be honored and customers are

14   being notified of this fact through information being made

15   available on the company’s website and in store that they

16   have until April 15th to remit those gift cards.          And they

17   will be honored through April 15th.       Again, the gift cards as

18   they relate to the stores in the Levin/Wolf sale transactions

19   upon closing, I believe it was contemplated that the buyer

20   would be assuming those obligations as to those particular

21   gift cards, but not Art Van gift cards generally.

22               The last portion of the relief, Your Honor, that

23   we’re seeking here relates to credit card processing and

24   other payment processors.      This is simply designed to provide

25   comfort to the parties involved in those transactions that
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1    the debtors will continue in the ordinary course of accepting

2    the non-cash payment which I think accounts for something

3    like 80 or 90 percent or more of the transaction volume in

4    the stores.   So, we want to maintain that in the ordinary

5    course.

6                THE COURT:    So, if people have ordered a specific

7    piece of furniture in a liquidating store, and it hasn’t been

8    delivered yet are they going to get that or should they

9    immediately be looking at whatever is on the floor while

10   there still is stuff on the floor to get credit for their

11   deposit?

12               MR. WERKHEISER:     So, if the furniture exists in an

13   Art Van warehouse, even if it’s not on the floor, the company

14   will be trying to fill that order and is committing to try to

15   fill that order even under these customer practices.

16               THE COURT:    But if it hasn’t been delivered it’s

17   not coming?

18               MR. WERKHEISER:     If it’s not currently in the

19   possession of the company in some fashion we’re not in a

20   position to --

21               THE COURT:    How are the customers going to know

22   what to do?   Someone who is given a deposit to your client

23   how are they going to know what to do?        What notice are they

24   going to be given of the fact that they’re not getting their

25   deposit back in all likelihood and they might not be getting
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1    their furniture back, but if they want to not lose that value

2    they need to get busy and come to the store and buy something

3    else?    How are they going to find that out?

4                MR. WERKHEISER:     Your Honor, can I just take a

5    moment to consult with Mr. Stogsdill?

6            (Participants conferring)

7                MR. WERKHEISER:     Your Honor, I’m sorry.         I just

8    wanted to confirm that my understanding of these things is

9    correct.

10               So, the company -- well, one, there has been

11   widespread publicity about this.       This is the worst kept

12   secret, one of the worst kept secrets in a long time.            So,

13   you know, I think from experience people are well aware of

14   the GOB process and the consequences of that.         But beyond

15   that, as I mentioned, the company has replaced its original

16   website landing page with one that contains a summary of its

17   policies in this regard and to contact a call center for

18   people to get more information.

19               In addition, anyone who is in store can have this

20   information.    And then the company has been, over the last

21   few days, trying to determine whether they have sufficient

22   information to make an email distribution to all of the

23   customers who submitted deposits to notify them of their

24   rights under the new policy with respect to the deposits.

25               I can’t, standing at the podium right now,
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1    represent to Your Honor in a conclusive fashion that we have

2    the data we need to do that across the board, but that is

3    something that the company is committing to executing upon if

4    they can.

5                THE COURT:    All right.

6                MR. WERKHEISER:     Then, Your Honor, I may have been

7    not entirely clear in my comments previously about the gift

8    card cut-off and merchandise cut-off, but I just want to re-

9    emphasize that April 15th is the hard cut-off date for all of

10   those if I wasn’t clear about that before.

11               Your Honor, for purposes of the interim relief

12   we’re seeking today I am not aware of any objections that are

13   unresolved.    Apparently Ms. Richenderfer has objections that

14   remain unresolved that I wasn’t clear about.         I believe one

15   issue that we have addressed to the satisfaction of the U.S.

16   Trustees Office is in Paragraph 2 of the proposed order.

17               There is language that confirms and cross-

18   references to any orders using cash collateral and makes

19   clear that payments are subject to that which, obviously, is

20   a given.    We have agreed to remove that, obviously, without

21   prejudice to any rights that the lenders have as secured

22   lenders pursuant to the cash collateral order so that this

23   order is clear in that regard.

24               I will cede the podium to Ms. Richenderfer from

25   the U.S. Trustees Office and reserve the opportunity to
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1    respond to any concerns she expresses.        Thank you.

2                MS. RICHENDERFER:     Good morning, Your Honor.

3    Linda Richenderfer from the Office of the United States

4    Trustee.

5                With respect to that last comment by Mr.

6    Werkheiser it’s actually the last sentence of Paragraph 3

7    that I ask be removed.     I believe debtors have agreed to

8    remove.

9                Your Honor, the issue that I had raised while

10   reviewing these particular motions was the issue of notice,

11   the same issue that Your Honor has brought up.          I’m used to

12   seeing in these types of orders detailed procedures regarding

13   where the announcements were going to be made.          For instance,

14   requirements that every store would have a big sign in them

15   that would give everyone notice as to when the gift cards

16   would no longer be accepted.

17               Your Honor raised questions regarding notice to

18   the people with deposits.      I would think that the debtors

19   would have contact information cause, otherwise, you wouldn’t

20   be able to tell the individual when their goods had been

21   received.   There has to be some sort of contact information.

22               Your Honor, with respect to the website, this is

23   what Mr. Werkheiser had sent to me and if I may approach I’d

24   like Your Honor to take a look at what the website currently

25   says as of yesterday and I’ll ask Mr. Werkheiser to confirm
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1    this for me.

2                 THE COURT:    What is the website address?

3                 MS. RICHENDERFER:       They took the paper from me,

4    Your Honor.

5                 THE COURT:    What’s the --

6                 UNIDENTIFIED SPEAKER:       Artvan.com.

7                 THE COURT:    Thank you.        I’m looking at it right

8    now.

9                 MS. RICHENDERFER:       Okay.     Your Honor, I’m told

10   that there has been information that’s been added regarding

11   the gift cards, but the information that I’m looking at with

12   respect to the deposits I don’t think clearly defines what

13   was just described to us.

14                THE COURT:     It’s different.       It says store credit.

15   It does not say what was represented to the court.

16                MS. RICHENDERFER:       That’s right.

17                THE COURT:    And I don’t see the gift cards.

18                MR. BUCHBINDER:       Your Honor, Dave Buchbinder for

19   the record.

20                THE COURT:    Oh, I see it.

21                MR. BUCHBINDER:       Its here in the liquidation

22   paragraph.

23                THE COURT:    Yeah.     Boy, that couldn’t be buried

24   any further.    Yeah.     We’re going to have to talk about this.

25   This is inadequate.
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1                 MS. RICHENDERFER:     It has to be more --

2                 THE COURT:   Absolutely.

3                 MS. RICHENDERFER:     The other thing, Your Honor, I

4    was just doing -- well, actually Mr. Buchbinder did some

5    quick math for me here.     With a total of 7,000 deposits on

6    hand that total 35 million, if we just presume, for the sake

7    of argument, that everyone put down the same amount that’s

8    5,000 per person.    And the -- 7,000, I’m sorry.

9                 MR. BUCHBINDER:     70,000.

10                MS. RICHENDERFER:     Oh, 70,000.    Okay.   I guess,

11   Your Honor, the point is this; what portion of the 35 million

12   would apply for -- should be given, I should say,

13   administrative priority under the code because debtors are

14   not going to be able to confirm a plan later on if that is

15   where they’re going with this unless the administrative

16   claims are paid.    And at this point I don’t know what portion

17   of the 35 million qualifies.

18                THE COURT:   Not to be argumentative, but why is a

19   deposit an administrative claim?

20                MS. RICHENDERFER:     Priority claim.    I’m sorry, I’m

21   using the wrong terminology under 507(a)(2).

22                THE COURT:   Why is it a priority claim?          I was

23   looking at the -- huh, which ones?

24                MS. RICHENDERFER:     507(a)(7), I’m sorry.        Section

25   507(a)(7).
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1                 THE COURT:   I was looking earlier when Mr.

2    Werkheiser was talking and I decided that I should actually

3    be paying attention to him.      So, I stopped looking.        Oh, I

4    see it.

5                 MS. RICHENDERFER:    Yeah.    So, the deposit would be

6    up to $3,025 dollars.

7                 THE COURT:   Every time I open the code I find

8    something I didn’t know was in there before.         I shouldn’t

9    admit that, should I.

10          (Laughter)

11                THE COURT:   All right.      Let me say something.

12   First of all, I got a couple comments.        One, the order itself

13   needs to spell all this out.      Right now it just references a

14   defined term that’s defined in the motion and I think in this

15   particular instance the order really needs to spell out

16   exactly what the procedures are and what the elements are of

17   the customer program that the court is approving.

18                Second, I think you have to -- I’m particularly

19   concerned about two people.      Now gift card holders who knows

20   where are, right.     You know, I bought the gift card, but I

21   gave it to my uncle and it’s been in his sock drawer for two

22   years.     I mean, you know, who knows where these gift cards

23   are.     But I think there has to be some notice both on the

24   website and on the store that’s more obvious as to exactly

25   how gift cards are going to be dealt with especially since
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1    there’s a deadline of just five weeks.        Not even five weeks

2    in order to cash them in.

3                 Did you give notice of the filing to State

4    Attorney’s General?

5                 MR. WERKHEISER:    I believe we did, Your Honor.

6    I’m not sure if anyone from the SAG is on the telephone

7    today, but that was certainly part of the notice.

8                 THE COURT:   Well, you might get some trouble from

9    them.     That was a big piece of the RadioShack case as you

10   might remember.

11                The other thing is, the other people I’m really

12   worried about are the deposit fore’s.        I think you, first of

13   all, need to have, again, obvious notice on the website and

14   at the store exactly what you are going to do.          And it needs

15   to be consistent with whatever is in the order I’m signing.

16   This is not -- what’s on the website now is not consistent

17   with what you told the court.      It just says simply store

18   credit.

19                MR. WERKHEISER:    Your Honor, I want to just

20   clarify I would not knowingly misrepresent that to the court.

21                THE COURT:   Of course you wouldn’t, Mr.

22   Werkheiser.    We’ve known each other 20 years.       No, no.   It’s

23   not a problem.

24                MR. WERKHEISER:    I worked off the version Ms.

25   Richenderfer had that existed yesterday.
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1                THE COURT:    These things -- to describe these

2    situations as fluid is an understatement.         We all know, we’ve

3    all done this for a long time.       I am not in any way implying

4    anybody has done anything other than in good faith.            So, I’m

5    just saying there’s an inconsistency.        I want it to be

6    consistent and I want it to be, obviously, advertised.

7                I don’t know, I’m a little worried -- I’m

8    remembering, I don’t know if anyone else remembers Breuners

9    Home Furnishings from 2004 or 2005 where the debtor used

10   deposits to pay rent to get the landlords off their back.

11   And I’m worried that these deposits are going to be used for

12   liquidity to run the company as opposed to provide services

13   to the people who put their money up and haven’t received

14   anything in return yet.     I’m particularly worried about the

15   priority cap being preserved.

16               So, I’m not going to do anything with that right

17   now other than to say that I have concerns about the use of

18   the deposits.   We might need to deal with that in connection

19   with the cash collateral budget.       I haven’t -- I just got the

20   budget this morning and I haven’t, frankly, had an

21   opportunity to look at it because I’ve been involved with a

22   lot of things going on.     But I’m worried we’re going to spend

23   the deposits.   And if that’s the case that’s a problem at

24   least particularly at the priority level because you can say

25   you get store credit and that’s it, but the law says
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1    otherwise, assuming you do a plan.       You may liquidate, I

2    don’t know, in which case you don’t have to pay your priority

3    claims.

4                MR. WERKHEISER:     Your Honor, obviously, the end of

5    this case is uncertain at this stage.

6                THE COURT:    Of course it is.

7                MR. WERKHEISER:     And as to whatever comments I

8    made about priority I think -- you know, what I was trying to

9    convey and may have in-artfully done was that we’re not

10   trying to prejudice anybody’s arguments as to what is

11   priority and what’s not.      I think that the language that was

12   chose in that provision is in-artful, to be charitable, and

13   so for today’s purposes that’s, obviously, not something that

14   is before the court.

15               THE COURT:    Well, yes and no.     So, yes, this isn’t

16   confirmation of a plan where we have to talk about the

17   details of the priority scheme, but, yes, it’s before the

18   court because you’re seeking to use this money to operate

19   your business whereas if I were to cut you off today, I’m not

20   going to do it, don’t get excited, convert your case, hand

21   over everything to a trustee he would be sitting on that

22   cash.   Meanwhile, you’re going to use that cash or what’s

23   left of it to operate the business.       The banks are shaking

24   their heads.

25               MR. WERKHEISER:     Maybe I was going to say I don’t
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1    know the --

2                THE COURT:    I haven’t gone through the cash

3    collateral budget with any detail.

4                MR. WERKHEISER:     Well, I don’t know the

5    particulars also, Your Honor, of what actions the banks have

6    taken in the past in terms of sweeping cash from the company,

7    but certainly they are of the view that this is their cash

8    collateral. So, to the extent that deposits had been accepted

9    it is certainly conceivable that that money has already made

10   its way into the hands of the lenders and is no longer in the

11   possession of the debtors.

12               So, I think respectfully the situation you posit

13   where we’re using it to pay landlords and operate the

14   business is probably less likely than a scenario where the

15   money is no longer with the debtors at this stage.

16               THE COURT:    So, you don’t have it in your hands

17   anymore?

18               MR. WERKHEISER:     I don’t know.

19               THE COURT:    What you have about 11 million cash on

20   hand?   I can’t remember.     I thought I saw in the papers you

21   have $11 million dollars in cash, is that right?          No?

22               MS. RICHENDERFER:     Your Honor, the budget shows

23   11.6 million as of Monday this week.

24               MR. WERKHEISER:     Yeah.   I mean one of the

25   challenges of this case, Your Honor, is that the debtors have
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1    been in cash dominion for some time.

2                 THE COURT:   Have been what?

3                 MR. WERKHEISER:      In cash dominion.   So, the

4    lenders have, effectively, control of all of the cash are

5    just essentially revolving it back to us for cash collateral

6    purposes.

7                 THE COURT:   So, its not been swept?

8                 MR. WERKHEISER:      I’m going to -- I think I should

9    probably let the finance lawyers delve into this a little bit

10   more.

11                THE COURT:   Yeah.     They never want to say anything

12   though.     They like it when you do the talking.

13                MR. WERKHEISER:      You know, the upshot is that this

14   is, obviously, not the place the debtors wanted to be I think

15   as we detailed in our papers.        We did everything possible to

16   preserve the status quo with cash deposits, but reality is

17   reality and this is where we are.        We’re trying to do the

18   best we can.

19                THE COURT:   Yeah.     But that doesn’t mean you can

20   do whatever you want.

21                MR. WERKHEISER:      Understood, Your Honor.

22                THE COURT:   Okay.

23                MR. FALGOWSKI:    Good morning, Your Honor; Cory

24   Falgowski from Burr & Forman on behalf of Wells Fargo Bank.

25   I’m here with my co-counsel from Morgan Lewis, Jennifer
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1    Feldsher, Margorie Crider and Chris Carter.         I believe Ms.

2    Feldsher is going to take the lead in addressing the court.

3                THE COURT:    All right.    Ms. Feldsher?

4                MS. FELDSHER:    Good morning, Your Honor.

5                THE COURT:    Good morning.

6                MS. FELDSHER:    I guess I can’t hid from the

7    gallery anymore.

8                THE COURT:    Well, if you keep nodding and shaking

9    your head, you know, I’m going to notice you.

10               MS. FELDSHER:    I just didn’t want to compound any

11   representations to the court that weren’t 100 percent

12   accurate.

13               THE COURT:    Of course not.

14               MS. FELDSHER:    So, that is why I was shaking my

15   head.

16               Your Honor, as the debtors have reported to you

17   the company has been in cash dominion for some time.           What

18   that means is we have a -- the ABL lenders have a revolver.

19   In the ordinary course money comes in, it goes to pay down

20   the revolver and then the debtors borrow back on the line

21   that they have.    So, that is normal course and that would be

22   the same if deposits came in.      The debtors use that, they pay

23   down, they get more availability on the line.

24               Prior to the filing, because the debtors were in

25   default of their obligations under the ABL facility they went
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1    into cash dominion which means that they have -- you know,

2    the lenders fund based on what the debtors need.          They give

3    us a schedule, they say we need the following things funded

4    and the banks fund based on the things that they approve to

5    be funded.    So, the deposits are not in the debtors’ bank

6    accounts today.    What the debtors have is sufficient cash to

7    pay their payroll.

8                 The debtors are selling collateral and that

9    collateral, we believe, should exceed the amount that the

10   debtors need to fund their Chapter 11 cases and to repay

11   those deposits that don’t get used by people in the ordinary

12   course towards buying something else at the stores.

13   Obviously, that is the preference for the company so that it

14   can realize value from both the deposits and the furniture

15   that they have in stock.     But we have discussed with the

16   debtors and they insisted upon being able to return deposits

17   as they need to.     There is going to be some process because

18   they need people to tell them that they don’t want to use the

19   deposit towards something else in the store.

20                And from the ABL lender’s perspective and also

21   from the term loan perspective we have allowed -- we have

22   agreed that the debtors can do that through the budget and we

23   believe there are sufficient funds in the budget that they

24   will be realizing as they sell assets to be able to return

25   deposits that aren’t, otherwise, used by customers towards
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1    other purchases.

2                THE COURT:    Okay.     I got you.

3                MS. FELDSHER:     Hopefully that’s helpful.

4                THE COURT:    It was very helpful.

5                MS. FELDSHER:     Thank you.

6                THE COURT:    I’m not going to resolve this today.

7    All I want is notice.     I want clear notice to go to the

8    deposit holders exactly what is happening to them and the

9    deadlines that they’re facing.        So, that they are able to

10   maximize their ability to get some value for the deposit.

11               MR. WERKHEISER:       Understood, Your Honor.

12               THE COURT:    In my experience if you wait, based on

13   cases I’ve had, thankfully have not been in this position,

14   but if your depositors wait too long by the time they go to

15   the store, unless its one of the going concern stores, unless

16   they go to one of the liquidating stores if they don’t go in

17   time there’s not going to be anything that they want that

18   they could use the store credit for.

19               MR. WERKHEISER:       Yes, Your Honor.

20               THE COURT:    So, that has happened in cases I have

21   been involved with.      So, the important thing is people --

22   they are where they are from their legal right’s perspective.

23   I’m not going to change that.        I’m not trying to change that.

24   I’m not saying you have to do X, Y or Z, or I’m going to

25   convert your case or any nonsense like that.         All I’m saying
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1    is you got to give people notice.          And part of that is I want

2    the order to really specify what’s happening and I want clear

3    and conspicuous notice to go on the website and in the

4    stores.   I would prefer something going to them in the mail

5    or email, but you’re telling me you don’t know if you have

6    that ability.

7                 So, we will put something in there that if you can

8    do it you’re required to do it and if you can’t you can make

9    some sort of representation to the court that you can’t.

10                MR. WERKHEISER:      Thank you, Your Honor.

11                THE COURT:   Okay.

12                MR. WERKHEISER:      I just would like to reiterate so

13   you hear it from the debtors is that, yes, we do believe that

14   the budget does provide for adequate access to cash going

15   forward if we meet our projections to honor refunds and

16   exchanges.

17                THE COURT:   Let me ask you another question.

18                MR. WERKHEISER:      Excuse me, honor deposits rather

19   as described by our lender’s counsel.

20                THE COURT:   How old are your projections?

21                MR. WERKHEISER:       I think they have been updated

22   as recently as yesterday.      Within a couple days, Your Honor.

23                THE COURT:   Okay.

24                MR. WERKHEISER:      And --

25                THE COURT:   The only reason I -- I know we all
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1    watched the news yesterday, the economy may not be doing so

2    well right now.     So, I was just wondering if we were dealing

3    with February 12th projections or we were dealing with March

4    10th projections.

5                MR. WERKHEISER:     No.   I think we’re dealing with

6    March 8th and 9th projections in that range, Your Honor.

7                THE COURT:    Okay.

8                MR. WERKHEISER:     What I also wanted to just

9    clarify for the record to is one of the things that the

10   debtors negotiated vigorously for was that the term loan

11   lenders have agreed to subordinate their recoveries to the

12   extent necessary consistent with our budget for us to honor

13   the deposit obligations.      So, once Wells gets out as the ABL

14   lender, you know, we are maintaining availability within the

15   cash collateral structure to honor deposit obligations

16   consistent with the budget by agreement with the term loan

17   lenders.

18               THE COURT:    So, make those changes to the order.

19               MR. WERKHEISER:     We will

20               THE COURT:    Submit it under certification of

21   counsel.   Run it by the U.S. Trustee before you submit it and

22   let me know in the COC whether or not they’re okay with it.

23               MR. WERKHEISER:     Very well, Your Honor.         Thank

24   you.

25               THE COURT:    Okay.
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1                 MR. WERKHEISER:    Yes.

2                 THE COURT:    Can we take just a few minute break

3    just five minutes.     All we have left is cash collateral,

4    right?

5                 MR. WERKHEISER:    And then we’d like to have some

6    preliminary discussions.

7                 THE COURT:    Okay.    We’re running out of time, but

8    we’ll get it done.     I just need a short recess.

9                 MR. WERKHEISER:    Thank you.

10            (Recess taken at 11:33 a.m.)

11            (Proceedings resumed at 11:37 a.m.)

12                THE CLERK:    All rise.

13                THE COURT:    Please be seated.

14                 All right.   Let me get your website off my

15   computer here.

16                 MR. WERKHEISER:      All right.   Your Honor, for the

17   record, Gregory Werkheiser.

18                 I think that brings us to cash collateral, Your

19   Honor.     And before we proceed, I just would like to take care

20   of the housekeeping matter of moving in the first day

21   declaration of David Ladd, which is the factual basis for our

22   first day relief --

23                 THE COURT:   Any objection?

24            (No verbal response)

25                 MR. WERKHEISER:      -- which was filed with the
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1    petition.

2                THE COURT:    It's admitted.

3          (Ladd Declaration received in evidence)

4                MR. WERKHEISER:     Thank you, Your Honor.

5                Your Honor, as we get into cash collateral here, I

6    would like to offer a proffer of Mr. Dennis Stogsdill who, as

7    Your Honor knows from my prior introductions, is present in

8    the courtroom and available for cross-examination if that

9    becomes necessary.

10               And before we get underway with the overview of

11   the cash collateral order and some issues that we resolved,

12   and a handful that remain outstanding, I'd like to offer that

13   proffer and just a brief introduction to the process that

14   resulted in this order, if I could?

15               THE COURT:    Any objection to the use of a proffer?

16         (No verbal response)

17               THE COURT:    You may proceed.

18               MR. WERKHEISER:     Okay.   Mr. Stogsdill of Alvarez &

19   Marsal North America, LLC is present in the courtroom and

20   available for cross-examination.

21               If called to testify, Mr. Dennis Stogsdill could

22   and would testify truthfully, as follows:         one, that he is a

23   managing director of Alvarez & Marsal North America, LLC,

24   which has been advising Art Van Furniture, LLC and its

25   affiliated debtors on their restructuring and deleveraging
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1    efforts at certain times, since August of 2019.

2                He has more than 20 years of management consulting

3    and restructuring experience, serving as a financial advisor,

4    and providing performance improvements services to

5    corporations, various creditor groups, equity owners, and

6    other constituencies.

7                THE COURT:    Slow down a little bit.

8                MR. WERKHEISER:     Sure.   Sorry.    I was just trying

9    to speed through the background, Your Honor.

10               THE COURT:    Yeah, but I still have understand you.

11         (Laughter)

12               MR. WERKHEISER:     Mr. Stogsdill has -- would

13   testify that he has significant experience assisting

14   distressed retail companies with day-to-day management

15   activities, including development of business plans, cash

16   flow management, and implementation of liquidity and cost-

17   saving strategies, including store-closing strategies.

18               His prior retail restructuring experience includes

19   advisory roles in Chapter 11 cases such as Sears Holdings,

20   Fairway Market, and Fresh & Easy Markets.

21               A&M, itself, is a global business-advisory firm

22   with multidisciplinary solutions, complex and challenges and

23   opportunities, and he would testify that it is well-equipped

24   and deeply resourced for engagements of this nature.

25               He Mr. Stogsdill would testify that since A&M's
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1    retention, he has overseen a team of individuals assisting

2    the debtors' management with, among other things, managing

3    and forecasting the debtors' liquidity position, evaluating

4    profitability on a four-wall basis, providing alternative

5    sale and financing options, and other financial analyses and

6    planning.

7                Accordingly, he is knowledgeable and familiar with

8    the debtors' day-to-day operations, business, and financial

9    affairs, cash flow needs, and projections, and personnel.

10               He is also familiar with the debtors' supply chain

11   and the status of the debtors' relationship with various

12   vendors, suppliers, service providers.

13               With respect to the debtors' restructuring

14   efforts, Mr. Stogsdill would testify that he is familiar with

15   the testimony of Art Van's executive vice president and chief

16   financial officer David Ladd, as set forth in his first day

17   declaration, filed on March 9th at Docket Item 12 and based

18   on his and his team's extensive work with the debtors since

19   August of 2019, could and would testify, consistent with

20   Mr. Ladd's testimony regarding, among other things, the

21   debtors' restructuring efforts and the events that led the

22   debtors to commence these Chapter 11 proceedings,

23   particularly, as it appears in Paragraphs 6 through 20 and 37

24   through 43 of Mr. Ladd's declaration.

25               Further, through A&M's engagement with the debtors
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1    he would testify that he has become deeply familiar with the

2    debtors' prepetition corporate and capital structure and,

3    therefore, could and would testify, consistently with

4    Mr. Ladd's testimony appearing at Paragraphs 31 through 36 of

5    his first day declaration.

6                With respect to the circumstances that brought the

7    debtors to this Court today, Mr. Stogsdill would testify and

8    emphasize that, as detailed in the live first day

9    declaration, the debtors were making headway in late 2019 and

10   addressing their operational and financial challenges but

11   lacked the runway necessary to fully implement these remedial

12   steps.

13               He would further testify that the company's

14   situation became critical when, in January 2020, the

15   company's borrowing base under its prepetition ABL facility

16   was further restricted and certain other financial partners

17   of the company tightened its access to credit.          When it

18   became clear in early January that the company's lenders and

19   certain other financial partners could not or would not

20   support an extended schedule for the company to explore

21   strategic alternatives, Alvarez & Marsal and Evercore, the

22   company's financial -- excuse me -- the investment banker

23   assisted the company pursue an expedited process to

24   recapitalize or sell all or part of its business or assets.

25               Mr. Stogsdill and A&M personnel under his
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1    supervision worked closely with Evercore's team on this

2    project.   As a result of these efforts, the company and its

3    advisors held discussions with at least 31 potential buyers

4    and investors, including its prepetition term loan lender,

5    KKR Capital Corp. and affiliates about such potential

6    transactions.    In parallel with these efforts and as a

7    condition to its ABL lender's forbearance, the company, with

8    A&M's assistance, began preparations for potential store-

9    closing sales.

10               The most viable option to emerge from this process

11   was the so-called consortium recapitalization transaction

12   discussed in Paragraph 15 of the Ladd first day declaration.

13   This transaction was developed in concert with the parties'

14   most financially motivated to support the business as a

15   going-concern.    It depended upon, among other things, an

16   additional capital infusion from Thomas H. Lee, the debtors'

17   equity sponsor, and the Van Elslander family, which was the

18   family of the founder and the original owners of the company;

19   second, it contemplated refinancing of the company's existing

20   ABL facility; third; it contemplated and the support from the

21   company's trade vendors; and fourth, rent relief from the

22   company's five largest lessors under master leases with those

23   parties.   Indeed, the debtors negotiated extensively with

24   those master lessors, in connection with the consortium

25   including several of the parties that filed a response to the
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1    first day declaration late last evening.

2                Another key constituency of this consortium effort

3    was the Levin family, the former owners of the Levin-Wolf

4    Furniture business.

5                As detailed, Mr. Stogsdill would testify as

6    detailed in the Ladd first day declaration the consortium

7    transaction ultimately failed to come to fruition, given the

8    significant amount of capital needed and unforeseen setbacks

9    in the capital matters that resulted in the withdrawal of

10   certain investors' willingness to infuse new capital.

11               Although efforts were then made to resuscitate the

12   transaction, they were unsuccessful for several reasons,

13   including the unwillingness of the master leaseholders to

14   enter into further lease concessions.

15               It was not until the end of February that it

16   became clear that the consortium transaction was beyond

17   saving; however, as mentioned previously, at the insistence

18   of the ABL lenders, efforts were already underway to prepare

19   the company for the contingency of an orderly liquidation

20   process.

21               Even as the consortium deal was falling apart, the

22   debtors were able to salvage a going-concern sale transaction

23   with the Levin family for the sale of assets of the Levin-

24   Wolf Furniture lines.     Although the cash value of that

25   transaction is only slightly above liquidation value, it has
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1    important additional benefits that cannot be realized in a

2    liquidation, including nearly 1,000 jobs will be preserved,

3    customer deposits and warranty obligations are expected to be

4    honored by the buyer upon closing, and Section 503(b)(9)

5    vendor obligations will be assumed.

6                However, for the Levin to proceed on a going-

7    concern basis, the inventory stocks of those stores needs to

8    be replenished, which has led to the debtors' decision to

9    agree to that separate DIP facility.

10               With respect to the debtors' need to -- for access

11   to cash collateral, he would testify that the debtors'

12   immediate access to cash collateral, ability to use the cash

13   collateral, consistent with the agreed-upon budget is

14   critical to providing sufficient liquidity to market and

15   conduct the -- not only the going-concern sale transaction,

16   but the orderly wind-down and liquidation of the debtors'

17   assets.

18               He would further emphasize that the process of

19   getting to an agreement on cash collateral was extensively

20   negotiated over a process -- a period of weeks, and in large

21   part, was a challenging negotiation because the debtors we're

22   so dedicated to trying to ensure that they had sufficient

23   liquidity to meet employee obligations and customer

24   obligations, including allowing customers the opportunity to

25   either receive store credit or in certain cases, a return of
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1    customer deposits.    This, the debtors believe, was achieved

2    in large part through the extensive efforts of the debtors

3    and their advisors and their equity sponsors who have pushed

4    for this to be part of the overall deal for cash collateral.

5                  With respect to milestones, Your Honor,

6    Mr. Stogsdill would testify that these had to be agreed to as

7    part of the attaining the lender's agreement to use cash

8    collateral.    That he believes most of the milestones that are

9    contained in the interim order are traditional bankruptcy-

10   related milestones.    Others that are relating to the approval

11   and conduct of store-closing sales and related documentation

12   and approval in closing of the Levin-Wolf sale.

13                 He would further testify that at his direction,

14   counsel has been in contact with the Levin buyer group and

15   with the other lenders and has secured agreements to modify,

16   outward, some of those milestones to ensure that the Levin

17   sale, when it goes forward, can go forward under normal

18   Bankruptcy Rule-required notice.

19                 With respect to the milestones in general, he

20   would testify that based on his experience, having been

21   involved in many such orders in the past and many such retail

22   restructurings, that they are achievable under the

23   circumstances that we have available here.

24                 As the order relates to fees, Mr. Stogsdill would

25   testify that he is aware that the order provides for the
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1    lender to recover a weekly consent fee of $150,000.            While

2    this was certainly something that the debtor would, in its

3    preference, would not have had to pay as consent to obtain

4    access to cash collateral, this was part of the overall

5    package of bargained-for cash collateral access that the

6    lenders required is something that they insist on having has

7    part of their overall adequate protection package to make

8    cash available to the debtor in connection with this case.

9                  Let me just confirm if I've left anything out.

10         (Pause)

11                 MR. WERKHEISER:      Your Honor, that concludes

12   Mr. Stogsdill's proffer in support of our cash collateral.

13                 THE COURT:   Does anyone wish to cross-examine the

14   witness?

15         (No verbal response)

16                 THE COURT:   Okay.     I hear none.

17                 I have no questions.

18                 MR. WERKHEISER:      Thank you, Your Honor.

19                 So, Your Honor, again, I know time is short, so

20   I'm going to try to expedite this presentation as much as

21   possible --

22                 THE COURT:   Yep.

23                 MR. WERKHEISER:      -- this is a fairly, I think, on

24   the whole, traditional cash collateral order for a retail

25   liquidation of this nature.        We have an ABL facility with
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1    approximately $34 million owing and then behind that, a much

2    larger term loan facility, as originally held and agented by

3    affiliates of KKR.     It has since been acquired by certain

4    affiliates of Hilco and Gordon Brothers in an assignment and

5    the debtors negotiated with all of those parties at various

6    times to ensure that they had adequate liquidity in their

7    judgment to conduct this orderly liquidation and wind-down of

8    the stores, other than the Wolf and Levin stores and to try

9    to sell those stores as a going-concern in furtherance of

10   fulfilling their fiduciary duties and maximizing value.

11               Cash collateral, as you would expect, is tied to a

12   13-week cash flow budget that is subject to approval by the

13   lender group and, as detailed in the Mr. Stogsdill's proffer,

14   is subject to various milestones related to the conduct of

15   the case.

16               It has, Your Honor, the traditional stipulations

17   by debtors in this situation as to validity of liens and

18   claims and the lack of defenses to them and it also has the

19   traditional reservations for a committee to challenges within

20   75 days after commencement of the case or 60 days of

21   committee formation.

22               Adequate protection packages for the lenders

23   consist of, of course, the replacement liens, the ability to

24   receive a payment of their respective counsel's attorney's

25   fees, subject to a review process, that this Court has seen
      Case
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1    before, and such matters as carve-out liens on proceeds of

2    avoidance actions, waiver of 552 waiver, 506(c) waiver, and

3    so on, are all reserved for the final hearing, subject to the

4    rights of the committee or parties in interest to dispute

5    whether the final order should contain those.

6                I can represent that to our knowledge there is no

7    non-consensual priming contemplated by this order and it has

8    appropriate language that carves out preexisting liens that

9    are valid and by their terms, would be senior, and broadly

10   speaking, that is the order.

11               I think most of the issues that we have with this

12   order, yet, Your Honor, are (indiscernible) in the nature of

13   drafting issues and certain protections that there's a

14   difference of opinion on as to whether they're appropriate,

15   with the exception of the consent fee.

16               So, briefly, we did try to engage with the U.S.

17   Trustee's Office prior to the hearing and I think we resolved

18   a number of these issues.      To my understanding, we received

19   comments from Ms. Richenderfer from -- in reference to the

20   findings that appear in Paragraphs E and N of the order and I

21   believe we have agreement to modify language there in a way

22   that is acceptable to the U.S. Trustee's Office on what

23   notice was provided and how we express the adequacy of that

24   notice in context of this interim order.

25               With respect to the payment of professional fees
      Case
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1    and expenses to the term loan and ABL lenders, I believe

2    we've satisfied the U.S. Trustee as to the existence of

3    appropriate language that allows for an opportunity for a

4    review and objection of those fees, as is consistent with

5    practice in the district.      With respect to -- and that

6    language, Your Honor, is already present in the order; it did

7    not require changes.

8                With respect to Paragraph 12(e)(ii) of the order,

9    that contemplates certain milestones related to, among other

10   things, the Levin asset sale -- the Levin-Wolf asset sale

11   and, by agreement, with the buyer there and our lenders.        We

12   have agreed to adjust those milestones slightly so that

13   instead of what is currently read into the order, we will be

14   filing a sale motion and executed APA within seven days of

15   the petition date.     We will be seeking a sale order proving

16   that within what is approximately 22 days thereafter, which I

17   believe is April 7th, if my math is correct, and we will be,

18   then, closing within two business days after that.

19               So, those milestones are not necessarily

20   milestones that our ABL and term loan lenders have demanded,

21   but since they tie to that transaction, that transaction is a

22   source of value to the estate, so they appear to the

23   milestones that are required by the purchaser and the

24   proposed DIP lender.

25               THE COURT:    I'm not crazy about a milestone that
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1    blows the cash collateral order in 21 days, but -- unless a

2    committee shows up and want some more time.

3                MR. WERKHEISER:     We're certainly committed to

4    engaging with them in good faith and I think, you know,

5    committees being committees and late on the scene, certainly

6    have the ability to accomplish things that debtors do not.

7    So, you know, we understand Your Honor's concern and

8    obviously the committee will have its opportunity to be heard

9    if and when that happens.

10               In Paragraph 20(n), Your Honor, we've agreed to

11   modify language at the request of the U.S. Trustee's Office

12   to make clear that the filing of a motion of the type

13   described in that paragraph by a party other than the debtors

14   is not a default event unless the debtors fail to contest

15   that in good faith, which is more in keeping with the

16   practice in this district and elsewhere.        And I think that's

17   it, in terms of I believe the issues that we've been able to

18   resolve.

19               I believe there are three issues on cash

20   collateral that are open to my knowledge.         One is the U.S.

21   Trustee's Office disagrees that as to the propriety of paying

22   a consent fee to the ABL lenders for access to cash

23   collateral and the second issue relates to the language that

24   appears in subparagraph -- in Clause A of Paragraph 25, this,

25   which recognizes the ability of a committee to -- or any
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1    party in interest -- to contest the existence of the default,

2    but (indiscernible) with certain other actions that might

3    interfere with the lender's exercise of remedies.

4                 Finally, there's a dispute that remains in

5    Paragraph 27(b) as it relates to the lender's entitlement to

6    recover fees in the event of a challenge to the lender's

7    liens and the claims by someone with standing to do so.        And

8    the position of the U.S. Trustee's Office, as I understand

9    it, there, is that the lenders should have to prevail on that

10   challenge, then under some definition of prevail that I think

11   is not currently present in the documents.

12                THE COURT:   Explain that to me.      I don't have a

13   blackline.   Explain that to me.

14                What -- under the order as it exists, if the

15   committee brings a challenge, they have to disgorge all their

16   fees?

17                MR. WERKHEISER:    Under the order, as it's

18   currently written, Your Honor, the lenders are entitled to

19   their fees --

20                THE COURT:   Oh, the lenders?

21                MR. WERKHEISER:    -- on a real time -- essentially,

22   you know, as they're being incurred, when they're defending

23   against a committee challenge.

24                THE COURT:   Oh, so, the U.S. Trustee wants to stop

25   that, pending the challenge for however long it takes?
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1                  MR. WERKHEISER:       And --

2                  THE COURT:    All right.       I understand.

3                  MR. WERKHEISER:       -- is of the view that the lender

4    must actually prevail on the challenge before they can get

5    their fees.

6                  THE COURT:    I understand.

7                  MR. WERKHEISER:       So, I those are our three issues.

8    I will cede the podium to the U.S. Trustee's Office --

9                  THE COURT:    Okay.

10                 MR. WERKHEISER:       -- and reserve an opportunity for

11   the lenders and the debtors' response.

12                 THE COURT:    All right.

13                 MS. RICHENDERFER:      Your Honor, Linda Richenderfer

14   from the Office of the United States Trustee.

15                 In considering the time --

16                 THE COURT:    Yeah, don't rush, because we're not

17   going to finish --

18                 MS. RICHENDERFER:      Okay.

19                 THE COURT:    -- before I have to get off the bench.

20   I thought I made it pretty clear --

21                 MS. RICHENDERFER:       Okay.

22                 THE COURT:    -- that I have a meeting that I cannot

23   miss.   So, we're going to be reconvening, so take your time.

24                 MS. RICHENDERFER:      Okay.     Your Honor, the first --

25   there's four issues.       Let me back up a minute.
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1                 We had discussions prior to the hearing today in

2    response to the comments that Mr. Buchbinder and I supplied

3    yesterday and believe we've reached some agreements with the

4    debtors and with the ABL lenders regarding changes in

5    language and Mr. Werkheiser did touch upon several of those

6    instances.

7                 We will need to see the revised form of order to

8    know whether or not we have totally been able to resolve

9    those because we don't have a blackline and didn't receive

10   any responses.    So, we just want to make sure that Your Honor

11   is aware of that until we see it in black and white, there

12   may be some issues that remain.

13                THE COURT:    Okay.

14                MS. RICHENDERFER:     The consent fee, which is on

15   Page 27 -- it's Paragraph 20 -- I'm sorry, it's

16   Paragraph 12(d) of the order -- requires that the debtors pay

17   $150,000 per week until the prepetition ABL obligations have

18   been repaid in full.      It is part of the covenant -- I'm

19   confused by the limits, Your Honor, because I don't believe

20   it's part of the prepetition documentation for the ABL loan,

21   but there was something that Mr. Werkheiser said that led me

22   to believe maybe it was.     I'm not -- with respect to the

23   proffer that he was giving us, don't understand the basis for

24   that because it's apart from any adequate assurance.

25                THE COURT:    Okay.   Have you ever seen this?
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1                MS. RICHENDERFER:     No.   Mr. Buchbinder nor I have

2    ever seen this.

3                THE COURT:    All right.    I haven't seen this,

4    either.

5                MS. RICHENDERFER:     So, that was another reason why

6    it caught our eye.

7                Your Honor, on Page 47 -- and this is part of

8    Paragraph 25(a) at the very beginning, it starts off, "Except

9    to contest the occurrence of an event of default ..."

10               The idea of adding in there "preventing hindering

11   or delaying" are very, I think, undefined terms of art that

12   could be used in many instances where it would not be

13   appropriate in order to use this particular provision against

14   the debtors.

15               Page 50 is the one that Mr. Werkheiser spelled out

16   for Your Honor that's part of Paragraph 27(b) that would

17   allow a during the challenge period, the prepetition secured

18   parties are going to be entitled to receiving their costs and

19   expenses, while the challenge is ongoing.        And that's costs

20   and expenses, with respect to the challenge, not the

21   challenges ongoing.

22               The other concern, Your Honor, is that on Page 53,

23   Paragraph 36, all concerns the Levin DIP facility, which I

24   know Your Honor has already stated will not be heard today.

25   Quite frankly, Your Honor, I haven't even had time to print
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1    it out to if you look at it yet and I'm concerned that

2    anything and all that's in here not be considered to be any

3    approval by Your Honor of the Levin DIP facility until such

4    time as the Court has scheduled a hearing on that and we have

5    time to review the documentation in connection with it.

6                  THE COURT:     All right.    We're in recess until 1:30

7    and we'll reconvene at that time to talk about cash

8    collateral.    It would be nice to have a redline by then, if

9    possible.     What I have here is just a clean copy, so -- which

10   I think is the original copy.

11                 MR. WERKHEISER:       I think what you have is what was

12   filed --

13                 THE COURT:     Huh?

14                 MR. WERKHEISER:       Yeah, that's what was filed

15   (indiscernible) --

16                 THE COURT:     Right.    So, if there's been changes,

17   it would be nice to see them in a redline if you have time;

18   otherwise, it will be what it will be.

19                 So, 1:30 or as promptly thereafter, as possible.

20   I have a series of important internal bankruptcy court

21   meetings today, so I apologize, but it is what it is and you

22   can blame Wuhan, China, for what we're talking about.

23                 So, we're in recess until 1:30.

24                 COUNSEL:     Thank you, Your Honor.

25         (Recess taken at 12:06 p.m.)
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1            (Proceedings resumed at 1:45 p.m.)

2                 THE COURT OFFICER:     All rise.

3                 THE COURT:   Please be seated.

4                 So, before we proceed, Ms. Richenderfer, if you

5    could -- I want to make sure I have your three points.         So,

6    if you could bullet point your three objections, again, for

7    me, because I was distracted, frankly, because I knew I had

8    to be in this meeting.

9                 MS. RICHENDERFER:     Your Honor, there's actually

10   four.

11                THE COURT:   Four bullet points, there you go.

12                MS. RICHENDERFER:     There's three of greater

13   importance, maybe.    The consent fee -- it's on Page 27,

14   Paragraph 12(d) -- there's language at the beginning of

15   Paragraph 25(a) on Page 47 that we think will have a chilling

16   effect on actions taken by the committee or may be taken by

17   the committee.

18                THE COURT:   And what's that -- oh, that's the sort

19   of --

20                MS. RICHENDERFER:     Like hindering and --

21                THE COURT:   Yeah, hindering, right.

22                MS. RICHENDERFER:     -- these undefined terms.

23                The next issue was the payment of legal fees --

24                THE COURT:   Right.

25                MS. RICHENDERFER:     -- to the lender during the --
      Case
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1    any challenge period.     That's prevailing party 27 -- we think

2    it should be prevailing party, Paragraph 27(b), as in boy, on

3    Page 50.

4                THE COURT:    Uh-huh.

5                MS. RICHENDERFER:     And then I just wanted to

6    underscore and make sure that the Court approving the

7    language that's in Paragraph 36 on Page 53 regarding the

8    Levin DIP, is in no way meant to or construed to be an

9    approval of the DIP, which the Court still needs to consider

10   at a later date.

11               THE COURT:    Thank you very much.

12               Does anyone wish to be heard?

13               MR. WERKHEISER:     Good afternoon, Your Honor.       For

14   the record, again, Gregory Werkheiser, from Benesch, on

15   behalf of the debtors -- proposed counsel on behalf of the

16   debtors.

17               Your Honor, I'll make some comments on these

18   points and to the extent our ABL or term loan lenders want to

19   be heard, I'd ask them to have an opportunity to speak, as

20   well.   So, I think let's take the easiest one first.          I think

21   that was 53, Linda?

22               MS. RICHENDERFER:     Paragraph 36 on Page 53.

23               MR. WERKHEISER:     Page 53.    So, yeah, I think we

24   can make a representation to the Court today that no one's

25   rights relative to consideration of the Levin DIP are being
      Case
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1    prejudiced by anything contained in today's order.             This

2    language exists in the order solely to anticipate that that

3    small DIP financing facility will be presented to the Court

4    and to make sure that the order is capable of being read

5    consistently with what we understand the terms of that DIP

6    facility and their proposed interim DIP order to be when it's

7    adjudicated by the Court.

8                THE COURT:    Well, I can actually make it even

9    easier.   I don't think it's appropriate, so strike it.

10               This order stands on its own.        The DIP order will

11   stand on its own.

12               MR. WERKHEISER:       Let me cede the podium for a

13   moment, Your Honor.

14               THE COURT:    Uh-huh.

15               MS. RICHENDERFER:       Your Honor, I just rise to say

16   that that change is fine, Your Honor.

17               THE COURT:    Okay.     Thank you.

18               The Paragraph 27(b) legal fees of the lender if

19   there's a challenge ongoing, I think it's appropriate that

20   that language stay in.     I don't think there should be some

21   presumption that the lender doesn't -- isn't entitled to its

22   fees just because somebody brings and action.         And it can be

23   prejudicial to the lender to have to front its own legal fees

24   on a challenge that could last years, so I think it's

25   appropriate to have that language.       So, I'll overrule that
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1    objection.

2                 MR. WERKHEISER:    All right.    Thank you, Your

3    Honor.

4                 And then let's just leave the consent fee to the

5    last, if we may, Your Honor.

6                 And then with respect to the language on -- I'm

7    sorry -- Paragraph 25(a), so, it's my understanding this is

8    relatively typical language in this court and in others;

9    essentially, the committee has their investigation budget.

10   This does not invade any traditional investigatory activities

11   by an official committee that Your Honor would appoint.         But,

12   you know, it is, I think, a well-accepted principle of

13   drafting these orders that, as they've developed over the

14   years, that, you know, a secured lender should not be forced

15   to allow its own cash collateral to be used in actually

16   litigating and I think that's what these terms are primarily

17   contemplating.

18                I'm speaking from 21-plus years of experience at

19   this.    I've never seen a committee that was really deterred

20   by this language.

21                THE COURT:   So, if you have a plan, which would be

22   helpful, and it's got the support of the secured creditors

23   and the committee objects to the plan can they use cash

24   collateral to pay their fees to object to the plan?

25                MR. WERKHEISER:    Well, again, I think as this
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1    language, as in my experience has been interpreted over the

2    years -- and I cannot speak for our specific lenders -- but,

3    you know, I've never seen a lender successfully object just

4    based on that cause to a committee objecting to a plan that

5    they think violated the Bankruptcy Code in some way or was

6    not in the best interests of the estate.

7                  If the committee's objection was based on the

8    assertion that the lenders (indiscernible) to the liens or

9    claims, I think, then, they might be well within their rights

10   to rely on this language in that scenario if that's what the

11   committee was trying to litigate in the context of that

12   objection.

13                 But, again, I, you know, my understanding and

14   certainly the contextualized understanding that has developed

15   over time and I believe in this court, is that a generic

16   confirmation objection would not be limited on the part of

17   the committee.

18                 THE COURT:   Counsel?

19                 MS. FELDSHER:   Good afternoon, Your Honor.

20   Jennifer Feldsher, Morgan, Lewis & Bockius, on behalf of

21   Wells Fargo --

22                 THE COURT:   Can you move the microphone towards

23   you.   Thank you.

24                 MS. FELDSHER:   That's usually never my problem,

25   Your Honor.
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1                 THE COURT:   Well, this is a noisy air-conditioner,

2    unfortunately.

3                 MS. FELDSHER:    -- Counsel for the agent for the

4    ABL lenders.

5                 Your Honor, I actually don't read language, (A),

6    to cover the Court's concern about a Chapter 11 plan, because

7    what it says is, you know, this goes to permitted

8    enforcement -- and that's what it says in (A) -- permitted

9    enforcement or realization upon the collateral.         So, it's

10   what's permitted under the order and I view that to be an

11   exercise of remedy.

12                So, in other words, if there's a default, there's

13   language, as is typical in similar orders, that says, you

14   know, if the default -- unless the Court orders otherwise,

15   with an x amount of days, the lenders can foreclose, the

16   lenders can take other actions, they can seize cash, they can

17   do things.

18                And so, I think this gets to that point --

19                THE COURT:   Yeah.

20                MS. FELDSHER:    -- that the creditors' committee

21   can't use cash collateral of the lenders, frankly, to

22   challenge anything but the event of default and whether that

23   occurs.   And we do think that this language is fairly typical

24   and while I absolutely hate standing up and citing other

25   cases that the Court's been involved in, that I'm not
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1    involved in, so I don't know the ramifications of that, I do

2    know this is similar language to what was in True Religion,

3    which I believe the Court approved, as well.

4                THE COURT:    You could write a list a thousand

5    pages long of things that are in orders that I've signed that

6    I don't like --

7                MS. FELDSHER:     I did preface --

8                THE COURT:    -- but this is not one of them.

9                MS. FELDSHER:     I did preface that by saying I hate

10   citing it, but I would do it anyway.

11         (Laughter)

12               THE COURT:    You're going to do it anyway; you're

13   contractually obligated.

14               MS. FELDSHER:     That, I am.

15               THE COURT:    No, I'm okay with this language.        I

16   don't think this is -- I understand the concern, you know,

17   what does hindering meaning, what does preventing mean, but I

18   think it's -- the way the sentence reads, it's really focused

19   on the permitted enforcement or realization on the collateral

20   and I think that's pretty narrow, so I'm okay with that.

21               MS. FELDSHER:     Correct.   Thank you, Your Honor.

22               THE COURT:    So, we're left with the consent fee.

23               MR. WERKHEISER:     Yes, Your Honor.

24               Gregory Werkheiser for the record, again.          So, the

25   consent fee, I think as we got into this previously,
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1    obviously, the debtors would prefer not to pay a consent fee.

2    We would like to conserve as much cash as possible and keep

3    the lenders' claims as minimized as possible to ensure the

4    greatest recoveries for everyone in the case.

5                That being said, we did not have the ability to

6    demonstrate adequate protection for both, the ABL and the

7    term loan, in the context of this order and this order

8    represents a negotiated package of terms under which they

9    were prepared to give the debtors access to cash collateral.

10               We got some things that we wanted, such as

11   budgeting, in order to honor customer deposits, budgeting to

12   cover, you know, ordinary course operating expenses for the

13   contemplated projected duration of the liquidation.

14               We didn't get some things that we didn't want such

15   as taking out obligations like this.

16               So, it's hard to -- I don't think it's appropriate

17   in the context of this order to segregate this and say, Well,

18   there's not necessarily a basis explicitly in the prepetition

19   documents for this, therefore, they should not get it.

20               It is part of the overall deal.        It is part of

21   what was required under our agreements to provide adequate

22   protection and it was the bargain that the debtor struck.

23   So, we are prepared to live by it, even if it's not ideal.

24               THE COURT:    Yeah.   Well, I'm okay with it.      I

25   mean, I don't like it either, but it's not my money.
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1                And this cases is tremendously risky for the

2    lenders.   The prudent lender might simply force a

3    liquidation, so it's a bit of a wing and a prayer here and I

4    certainly -- and I think, importantly, there's just no

5    adequate protection available.       And cash payments, although

6    they generally are to principal as opposed to a fee, but cash

7    payments are specifically contemplated as something that can

8    be used as adequate protection, so I'll allow it.

9                MR. WERKHEISER:       Thank you, Your Honor.

10               THE COURT:     You're welcome.

11               MR. WERKHEISER:       I think that is the remaining

12   open issues we have on the interim order.

13               THE COURT:     I don't -- do you have a blackline

14   yet?

15               MR. WERKHEISER:       I do have a blackline for Your

16   Honor, if I may approach?

17               THE COURT:     Yes.    I just need to go through my

18   notes and see if there's any open issues left.

19               Thank you.

20               Here come the landlords.

21          (Laughter)

22               THE COURT:     Look out.

23               Ms. Heilman, how are you?

24               MS. HEILMAN:     Good afternoon, Your Honor.       Leslie

25   Heilman, Ballard Spahr, on behalf of a number of landlords of
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1    the debtors that represent approximately 42 locations of the

2    debtors, so a significant majority of the landlords, Your

3    Honor.

4                I rise, number one, since we are dealing with the

5    DIP, we did raise certain concerns with respect to the DIP.

6    I have seen a blackline that has addressed those concerns,

7    namely, with respect to access in Paragraph 32 and

8    Paragraph 21, just subjecting any default to the access

9    language in Paragraph 32.      I have seen that language.         I

10   believe the order that's been handed up to you will reflect

11   those changes.

12               So, with respect to the DIP, I think we are -- or

13   the cash collateral, we are resolved, with the exception

14   of -- and this is more of like a preview for things to

15   come -- I think, Your Honor, we have been told that stub rent

16   is in the budget for approximately the third week of March,

17   or at least near the tail end of March to be paid.             This is a

18   liquidation case, as they've teed it up to Your Honor and

19   they have commenced GOB sales prior to the petition date and

20   have asked Your Honor authority to continue those sales post-

21   petition, outside the ordinary course of business.             So, it

22   is -- and with the liquidity concerns before Your Honor, we

23   had serious concerns that the rent to be paid during their

24   time of use and occupancy of the premises.        So, that will

25   come to fruition probably before the final and we'll raise
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1    any concerns with respect to rent at that time.

2                I do want to say, Your Honor, we are not

3    advocating for our rent to be paid out of the priority claims

4    as was indicated earlier this year.       We would not advocate

5    for that, administrative creditors should share equally in

6    that regard.

7                Your Honor, in addition -- and I'm not sure -- I

8    think where we're going is the scheduling piece going

9    forward, and we did file a response to the first day

10   declaration.   I'm not sure if Your Honor had an opportunity

11   to see that.

12               THE COURT:     I saw that.

13               MS. HEILMAN:     Your Honor --

14               THE COURT:     I wouldn't know if I would call it a

15   response; it had a little edge to it.

16         (Laughter)

17               MS. HEILMAN:     It had a little edge to it.       And,

18   Your Honor, it was not raised by all of my representative

19   clients, but there are certain majority interests of

20   landlords here that are very, very concerned going forward,

21   with respect to the expediency of this case and the process

22   to date and the fact that this is on a fast-track for

23   liquidation before any committee is in the door, as well as

24   we are mindful of the liquidity constraints, but as people

25   have indicated, this is an iconic institution.         It is very --
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1    you know, the places that -- the geography of where it sits

2    is very important to the people.       It's very important to the

3    landlord community.     It's very important to the vendor

4    community.

5                 And we filed the declaration because we think that

6    even though there are liquidity constraints, we are aware

7    that there are buyers out there and that there should be at

8    least be some slowdown, however slight to, allow for that to

9    play out to see if there is possibly a going-concern

10   enterprise here.    And the committee should have a seat at the

11   able on that.

12                I know that the U.S. Trustee's Office has set a

13   formation meeting for next Wednesday and we have continued

14   the liquidation motion to Thursday, so there is some time

15   here to continue to explore that with those purchasers, but

16   there are prospective purchasers out there for a go-forward

17   enterprise and before the train leaves the station, I think

18   that everyone should be mindful of that and see if we can

19   stop fast-tracking to just a closer of the doors for the

20   employees, for the landlords, and for everyone that's

21   involved to maximize value.

22                So, Your Honor, I rise to say that because we just

23   didn't want -- we wanted to comments to be heard and we're

24   hopeful and that will really set the stage for the motion

25   that will be heard on Thursday, as well as when the committee
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1    is formed.

2                 THE COURT:     Just so -- by liquidation motion, you

3    mean the motion on the GOB sales?

4                 MS. HEILMAN:     Yes, Your Honor.

5                 THE COURT:     Okay.

6                 MS. HEILMAN:     And we will have our usual -- we

7    have our usual concerns with that motion which we are working

8    with the liquidators on, with respect to the conduct of the

9    sale, the signage, and the like, as well as the proposed form

10   of order, but there is this overall concern, too --

11                THE COURT:     Whether that's the --

12                MS. HEILMAN:     -- that we're speeding towards a

13   liquidation where there is a prospect for a going-concern.

14                THE COURT:     Okay.     Thank you.

15                MS. HEILMAN:     Thank you, Your Honor.

16                MS. RUSSELL:     Your Honor, Maura Russell,

17   Montgomery McCracken Walker & Rhoads, proposed special

18   counsel for the debtor.

19                I don't want to get -- jump ahead of the Court

20   with respect to the motion to approve the store-closing

21   sales, but if Your Honor was entertaining comments, our

22   responses to counsel's comments, I wanted to rise and to

23   address those.

24                THE COURT:     Oh, that's not necessary.

25                MS. RUSSELL:     Okay.
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1                THE COURT:    Thank you.    Mr. Taylor?

2                You get more distinguished every time I see you,

3    which means you're getting grayer.

4          (Laughter)

5                MR. TAYLOR:    I'm sure it has nothing to do with

6    what's going on up here.

7          (Laughter)

8                MR. TAYLOR:    Good afternoon, Your Honor.         Greg

9    Taylor --

10               THE COURT:    Good afternoon.

11               MR. TAYLOR:    -- of Ashby & Geddes.

12               On the phone with me, Your Honor, is Mr. Michael

13   Small of the Foley & Lardner firm.       Together, we represent

14   Kingsdown, Inc. and our primary issue, Your Honor, is that

15   Kingsdown provides certain diagnostic units and kiosks that

16   are located in the debtors' stores and these diagnostic units

17   contain proprietary technology.

18               We want to make sure that no liens attach or

19   purport to attach to those items that are owned by Kingsdown

20   and we also want to make sure that those items find their way

21   back to Kingsdown at the close of the debtors' stores.

22               We have begun to engage in the dialogue with

23   debtors' counsel on this and we look forward to continuing to

24   work with them on that.     But we did want to at least mention

25   it today, highlight the issue for Your Honor in the event
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1    that we were not able to reach an agreement and we're back

2    before you at the final hearing on a disputed matter.

3                THE COURT:    All right.

4                MR. TAYLOR:    Thank you, Your Honor.

5                THE COURT:    Thank you, Mr. Taylor.

6                Of course, if it's not the debtors' property, they

7    can't give somebody a lien on it.       If it is, they can.    And I

8    will decide that at a future date, if necessary.

9                Let me just run through the --

10               MR. WERKHEISER:     And, Your Honor, with respect to

11   the Kingsdown property, there is likely no dispute there.              We

12   just were advised of this position yesterday.         We've had some

13   preliminary discussions with our client and I think, likely,

14   at the end of the day, we'll come to an understanding to

15   return that to them, but we just haven't had a chance to

16   diligence their statement that they owned that property and

17   that it ought to be returned from the locations where it

18   exists with the debtors right now.

19               So, everybody's rights are fully reserved.

20               I don't want to get into the weeds on landlords'

21   counsel's comments before but I do want to just make clear,

22   and I want our record to be clear, that although

23   circumstances have us in a position where we have to pursue a

24   liquidation currently for the majority of the stores, to be

25   clear, the phones are open, the doors are open.         We will
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1    entertain legitimate offers that produce more value for our

2    stakeholders than the option that we've currently got before

3    us.   If that option exists, you know, we're prepared to

4    consider it.

5                You know, the difficult part of the situation is

6    that we've tried very hard to find a better option and have

7    not been able to succeed at that to date and so -- but, you

8    know, stranger things have happened and if somebody could

9    come forward with not just, you know, an offer as an going-

10   concern offer, but one that can deliver more value, which is

11   the guiding principle for this Court at the end of the day,

12   everyone, I think, behind me is prepared to consider that.

13               THE COURT:    Okay.     I have some comments to the

14   order.

15               MR. WERKHEISER:       Yes, sir?

16               THE COURT:    Page 14, Paragraph K, which is a

17   finding that there's an entitlement to the equities of the

18   case exception waiver and 506(c), since that's preserved for

19   the final order, I would like to take out that finding.        I'm

20   making no such finding.

21               And then --

22               MR. WERKHEISER:       Your Honor, just to be clear, by

23   removing that now, we are just preserving the status quo,

24   pending a final hearing; is that fair?

25               THE COURT:    What does "preserving the status quo"
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1    mean?

2                 MR. WERKHEISER:    It means that the issue can still

3    be addressed when we get before Your Honor at a final

4    hearing.

5                 THE COURT:   I'm just not making a finding today.

6                 MR. WERKHEISER:    Yeah.

7                 THE COURT:   I mean, I don't even know why we do

8    this, but it says -- you put a paragraph -- this is why the

9    orders are so long -- you put a paragraph in that says,

10   "subject to the final order" and here's a one-page-long

11   paragraph.     This interim order doesn't even do what this

12   paragraph is designed to do, other than put a pin in it so

13   that the committee has something to aim at or they know what

14   your position is.

15                I'm certainly not going to make a finding for a

16   paragraph that doesn't make any sense to begin with, but I'll

17   live with that.     I'm used to seeing that, but I'm not making

18   any finding.

19                MR. WERKHEISER:    Understood, Your Honor.

20                THE COURT:   There's a blank in Paragraph 11,

21   Page 25, for the exhibit number for the budget.         I don't know

22   what the number is supposed to be, but you want me to fill

23   that in?

24                MR. WERKHEISER:    Yeah, one, please.

25                THE COURT:   There are, one, two, three, four -- at
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1    least five instances where you've said that people are

2    authorized and directed to do something.

3                I'd like you to make a global search and replace

4    and get rid of "and directed" and just authorize.            So, for

5    example, I mean, I could list them all for you.         In

6    Paragraphs 7, 8, 9, 17, and 22 is where the language is.

7                So, 12(b) on Page 27, there's a blank for the

8    exhibit number for the borrowing base certificate and 12(c),

9    right below it, there's a blank for the exhibit number for

10   the budget-variance certificate.

11               MR. WERKHEISER:     Yes, I believe those will be two,

12   and three, and so forth.

13               THE COURT:    Well, they are what they are.

14               We've already talked about Paragraph 36 and then

15   for the final hearing let's just use the date, if that's all

16   right, the date that we've already sat of April 6th, I think;

17   is that right?

18               MR. WERKHEISER:     That was April 6th, Your Honor,

19   with a 10:00 a.m.

20               UNIDENTIFIED:     I have 1:00.

21               MR. WERKHEISER:     Oh, 1:00, now?

22               THE COURT:    The 6th at one o'clock, yeah, and

23   objections are due the 30th of March.

24               MR. WERKHEISER:     Okay.

25               THE COURT:    Subject to making those changes and
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1    submitting it under certification of counsel, I'm happy to

2    approve your cash collateral order.

3                MR. WERKHEISER:       All right.   Thank you, Your

4    Honor.

5                We will get that over before the end of the day.

6                THE COURT:    Okay.

7                MR. WERKHEISER:       Your Honor, one of the things we

8    left at the hearing prior was our customer practices [sic]

9    motion, and just to bring Your Honor up to speed on that, as

10   I arrived here, we distributed some redline for people to

11   review to try to make some changes responsive to Your Honor's

12   comments about that.     I think rather than put anyone in a

13   position, especially given that we're coming back here within

14   the next day or so, in a position where they don't have an

15   opportunity to review, if I could just summarize those for

16   Your Honor and then give people an opportunity to review the

17   document.

18               But we did agree to reproduce the detailed wind-

19   down customer practices in the text of the order and have

20   revised that to do so.     And then in addition to have attached

21   an exhibit that it provides a fair bit more detail on how

22   customer deposits are processed --

23               THE COURT:    Okay.

24               MR. WERKHEISER:       -- going forward.

25               And then I was able to consult with the company
      Case
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1    and our financial advisor during the break and I understand

2    that the intention is, within the next several days to make a

3    distribution to all customers that tendered deposits for

4    which we have an email address, by email, that will notify

5    them of the company's current policy on customer deposits, so

6    they are alerted to that in time to act upon, you know,

7    whatever they intend to do with their customer deposit.

8                And for those that we do not have email addresses,

9    we have, by and large, physical addresses and will be sending

10   out notices to them by mail.

11               THE COURT:    Good.     Thank you.

12               MR. WERKHEISER:       So --

13               THE COURT:    I expect that this -- word of this has

14   hit these communities where these stores are located -- and I

15   didn't look myself -- but I'm told there are some news

16   stories about the world clearly knows that this is going on,

17   but I think that it does make a lot of sense and it's

18   appropriate and consistent with due process to give these

19   people an opportunity to receive formal notice or informal

20   notice of what is going to be done in connection with their

21   deposits.   Because this is real money for real people and it

22   makes a real difference.

23               MR. WERKHEISER:       Thank you, Your Honor.

24               And I would just ask that if they're present in

25   the courtroom today, if they had further comments on the
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1    order, to get them to me before the end of the day and we'll

2    try to sort of things out.      And if everybody is onboard,

3    submit it under certification if that's acceptable to Your

4    Honor?

5                 THE COURT:     That's fine.

6                 MR. WERKHEISER:        Thank you, Your Honor.

7                 THE COURT:     You're welcome.

8                 MR. WERKHEISER:        I think that brings us to the

9    remaining items that were filed last evening, for which we

10   want to discuss scheduling.         Why don't we take up store-

11   closing sales first and I'll cede the podium to Ms. Russell

12   and we can try to talk about getting a game plan for that.

13                THE COURT:     Okay.

14                MS. RUSSELL:     Good afternoon, Your Honor.      I'm

15   certainly mindful of the clock, so I will be brief.

16                While we regret the timing of the filing of the

17   motion, that was the quickest we could get it, so we do

18   apologize.   We had hoped that we would be able to at least

19   have preliminary hearings, with respect to the motion and

20   that Your Honor would keep the record open and, perhaps, a

21   telephonic conference tomorrow later in the day to resolve

22   any remaining issues or outstanding objections.

23                We've discussed that with a few of the counsel to

24   the landlords that are in the courtroom.         They've expressed a

25   willingness, so long as there is a, you know, maintaining of
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1    the status quo until Your Honor has that hearing.

2                The U.S. Trustee's Office is not inclined to --

3    that scheduling did not work for them.

4                THE COURT:     I am not going to conduct a hearing at

5    all.   I'm not going to start a hearing.       I'm not going to

6    conduct a hearing on a motion that was filed at midnight last

7    night for a 10:00 a.m. hearing this morning.         I'm not mad at

8    anybody for filing it.     I understand these things take time.

9    It's just inappropriate and not consistent with the due

10   process to even start the hearing.

11               I'll give you Thursday.

12               MS. RUSSELL:     Okay.

13               THE COURT:     I'm in an all-day mediation

14   tomorrow -- I cannot do it tomorrow -- I can hear you

15   Thursday afternoon on this motion.

16               MS. RUSSELL:     Okay.   Understood, Your Honor.

17               With respect to comments that any parties have to

18   the order that was filed, if they could -- are inclined to

19   communicate those to me at some point tomorrow with the hopes

20   of us being able to incorporate those comments into a revise

21   proposed order for Your Honor to review prior to the hearing,

22   that would be helpful.

23               We would also request that Your Honor -- we have

24   sales going forward and we understand that the debtors are

25   continuing in the mode that they had been in prepetition and
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1    it is currently their intention to continue in that capacity

2    until that hearing on Thursday.

3                  Obviously, signage, Your Honor, would not --

4    banners would not be going up, but there are in-store

5    promotions that are currently ongoing since the petition

6    date, as well as the debtors' intention to comply with the

7    revised customer practices, as set forth in the motion that

8    was discussed earlier.

9                  THE COURT:     Well, if it's inside the ordinary

10   course of business you have every right to do it.          If it's

11   outside the ordinary course of business, you are violating

12   the Bankruptcy Code and those are unauthorized post-petition

13   transactions that are avoidable.         It's up to you.

14                 MS. RUSSELL:     Well, Your Honor, I guess the

15   question for your is whether or not we can continue until --

16                 THE COURT:     I'm not going to tell you.    It's up to

17   you.     I don't know.   I don't know.

18                 How am I going to know?      I mean, the Code is what

19   it is.     If it's inside the ordinary course of business,

20   you're free to do it.

21                 MS. RUSSELL:     It was in the ordinary course of

22   business upon the filing; however, Your Honor, we do have a

23   motion pending before the Court with regard to other

24   provisions of the motion, but the debtor had been in the

25   process of conducting store-closing sales prior to the
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1    filing.

2                 As I indicated, the banners are not going up, so

3    it would be a much more soft-sale type structure, but we

4    didn't want to create any inconsistency if anyone was in our

5    stores and saw that there was discounting and promotions that

6    we were somehow not complying with what was going on before

7    the Court.

8                 THE COURT:     Look, the problem is, okay, that

9    actions have consequences.      The filing of a petition has

10   consequences.    If you weren't ready, you shouldn't have

11   filed, okay.

12                I'm not the one who filed and then six hours or

13   eight hours before the hearing filed a motion, okay.           I'm not

14   mad at anybody -- it is what it is -- but that was a calculus

15   you made and you did what you had to do, but I'm not going to

16   give you an advisory opinion about whether you're acting

17   consistent with the Code.      I don't know the facts and I don't

18   have time or the inclination, frankly, to get educated about

19   them.

20                MS. RUSSELL:     Understood.   It was the balancing of

21   a whole host of --

22                THE COURT:     I'm sure it was.   I'm sure it was.

23                MS. RUSSELL:     -- challenges in terms of the timing

24   of the filing versus the timing of the motion.

25                THE COURT:     I'm sure it was.
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1                  Look, I did these cases before, too.       I understand

2    how hard they are, but I have an obligation to preserve due

3    process and I've got the U.S. Trustee objecting and I

4    completely back the U.S. Trustee.

5                  Did you give them a draft of this motion like

6    you're supposed to?

7                  No.

8                  MS. RUSSELL:     And, Your Honor --

9                  THE COURT:     I can't believe it existed at whole-

10   cloth at 11:45 last night; obviously, you had a draft at some

11   point.     You had an obligation to share it with the

12   U.S.     Trustee.   Read the Local Rules.

13                 MS. RUSSELL:     Understood, Your Honor.    That was --

14   it was not intended to put the U.S. Trustee's Office or the

15   Court in a difficult spot or with respect to the timing of

16   the filing of the motion or this morning's hearing.

17                 We certainly want to give people the opportunity

18   to review the motion and the order and the relief being

19   requested; unfortunately, we had a timing -- timing didn't

20   sync with respect to all of the objectives we were filing.

21                 THE COURT:     All right.   Let me ask the U.S.

22   Trustee, are you okay with the hearing tomorrow if I can fit

23   it in and if so, when?

24                 MS. RICHENDERFER:     I'm sorry, Your Honor.     I

25   didn't catch that last part.
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1                THE COURT:     Sorry.    Are you okay with a hearing

2    tomorrow, and if so, when, on this issue, the store closing?

3                MS. RICHENDERFER:       I've got two 341s I'm

4    conducting tomorrow, so I'm trying to figure out -- I mean if

5    the Court wants to hear it tomorrow, I don't know what is the

6    best time, I guess, because I know it's going to be a long

7    hearing.

8                I haven't read it yet either, Your Honor.            I tried

9    to print it out fast this morning and it jammed our printer.

10   I had requested so many times for a draft copy and just never

11   got anything at all, so I suspect that based on the

12   particular type of transaction here that's been structured,

13   I'm going to have a lot of questions and probably cross-

14   examination of witnesses and I do need time to prepare.

15               Thursday is wide open.       If it has to be tomorrow,

16   I'll live with it somehow and try to make arrangements, but

17   like I said, I've got two 341s.

18               THE COURT:     No.   If it's going to be contested, I

19   can't squeeze it in tomorrow.

20               MR. FOX:     Your Honor, if I may?     I apologize for

21   interrupting.

22               Steven Fox from Riemer & Braunstein, on behalf of

23   the Hilco and Gordon Brothers consulting entities.             I can

24   short circuit the scheduling issues for Your Honor for

25   tomorrow.
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1                In light of the U.S. Trustee's suggestion that it

2    may be necessary to inquire of witnesses, we won't be able to

3    have people here for that purpose tomorrow.         When we learned

4    this morning that the hearing was not going to go forward

5    today, we put a Hilco representative who landed in

6    Philadelphia back on a plane and sent them back to Chicago.

7                Ms. Shea (ph) is here today for the hearing and

8    unfortunately will not be available to be here Thursday, but

9    we will have Hilco representatives here on Thursday to

10   respond to any questions that the Court or the U.S. Trustee

11   may have.

12               So, from our perspective, we think at this point

13   it's going to need to be Thursday just for availability

14   purposes.

15               With respect to the continued conduct of the sale

16   comments from Ms. Russell, we are prepared under the terms of

17   our agreement to continue to operate in the normal course

18   under that agreement.     We understand the Court's concerns and

19   with respect to advisory opinions and we're also big boys and

20   we've been down this path before, so a two-day delay is not

21   going to affect us in terms of how we react with the debtor.

22               THE COURT:     Okay.

23               MR. FOX:     Just one last comment, with respect to

24   the customer programs, Your Honor.       We have been working with

25   the company in terms of communications to customers.           As you
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1    probably understand, it's our practice to make sure stores

2    are properly signed for treatment of gift cards and gift

3    certificates, merchandise, credits, and the like and we will

4    continue to work with the company on communications, in-

5    store, with the customers about how to treat their deposits

6    and merchandise deliveries --

7                THE COURT:     Thank you.

8                MR. FOX:     -- and those are all covered by our

9    consulting agreement.

10               THE COURT:     All right.   Thank you.

11               MR. FOX:     Thank you, Your Honor.

12               THE COURT:     That's very helpful.

13               Thursday.

14               MS. RUSSELL:     Yes, Your Honor.     I didn't get a

15   time from you.

16               THE COURT:     Yeah, I'm just looking.     I'll move

17   something -- what time is that -- let's do two o'clock.        I

18   might be a few minutes late, but let's shoot for two o'clock.

19   I have a meeting outside the office.

20               And we'll do both, the DIP and the going out of

21   business, although it sounds like the GOB is probably needs

22   to be the focus of our attention, but, of course, we'll deal

23   with the DIP, too.     And that's normal -- that's more than

24   normal notice for a DIP financing.

25               MS. RICHENDERFER:     Your Honor, I would hope that
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1    upon review of the DIP, that I may be able to work things

2    out.

3                THE COURT:    Have you seen that before, either?

4                MS. RICHENDERFER:     It was -- a draft was emailed

5    to me at eight o'clock last evening and I could not pull it

6    up on my cell phone --

7                THE COURT:    Okay.

8                MS. RICHENDERFER:     -- so I haven't had a chance to

9    review that yet.

10               But under the circumstances of the particular --

11   of the sale and of the DIP, I'm hopeful that we can work

12   things through and be able to present --

13               THE COURT:    Yeah, I think my clerk said it was

14   about a 20-page order, so it hardly even counts as a DIP.           I

15   think he said it was a short order.

16          (Laughter)

17               MS. RICHENDERFER:     Yeah, these days -- so, Your

18   Honor, we may be left only with the GOB motion.

19               THE COURT:    Well, I may have comments to the

20   DIP -- I don't know -- I, obviously, will have to reserve

21   rights on that.

22               What the heck -- hang on, I just messed something

23   up.

24          (Pause)

25               THE COURT:    What did I say?     Two o'clock?
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1                 MR. WERKHEISER:        Yes, Your Honor.

2                 MS. RUSSELL:     Yes.

3                 THE COURT:     I cannot operate a computer.

4                 All right.     All set.     No problem.

5                 MR. WERKHEISER:        And one small point, Your Honor.

6                 THE COURT:     And I think a lot of your orders were

7    uploaded, so we're working on getting those signed as quickly

8    as possible.

9                 MR. WERKHEISER:        Thank you, Your Honor.

10                As I was going to say, just one small point on the

11   Levin DIP.     So, it did contemplate having a hearing a little

12   bit earlier than Thursday, so we were contemplating interim

13   relief, I think for 3.5 million would have been the

14   (indiscernible) purchases under the DIP.         They've raised the

15   possibility that we may need to increase that slightly to get

16   those stores sort of back up to, you know, normal operating

17   levels of inventory.      And so, they're going to look at that,

18   but there might be a slight change in the relief requested

19   between now and Thursday.

20                THE COURT:     Okay.

21                MR. WERKHEISER:        I just wanted to preview that for

22   the Court and the parties.

23                THE COURT:     Just keep everybody in the loop on

24   that, including the budget.

25                MR. WERKHEISER:        I believe Mr. Price is here on
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1    behalf of the Levin parties and would like to address the

2    Court.

3                MR. PRICE:     Good afternoon, Your Honor.          William

4    Price, Clark Hill, on behalf of Levin Furniture.

5                We look forward to working with the U.S. Trustee,

6    the other lenders, and the debtor to hammer out the finer

7    points on the DIP order.      We appreciate your time and look

8    forward to being before you Thursday.

9                THE COURT:     Okay.     Great.

10               MR. PRICE:     Thank you.

11               MR. WERKHEISER:        I think, Your Honor, looking

12   around -- no, we've got one more coming.

13               THE COURT:     You've got to hurry, because I

14   literally have three minutes.

15               MR. SHAPIRO:     I'll be very brief, Your Honor.

16               For the record, Zach Shapiro of Richards, Layton &

17   Finger.   I am appearing on behalf of U.S. Assets, Inc.

18               I think you heard from Ms. Heilman that at least

19   certain of the landlords have concerns about how the sale

20   process was run leading up to the filing.         We represent a

21   potential purchaser of the debtors' assets and we expressed

22   an interest in purchasing them as a going concern and we

23   continue to be interested.

24               We're trying to pursue a transaction that would

25   preserve value for a portion of the debtors' stores as a
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1    going concern and going forward, we would really very much

2    appreciate being able to participate in a process that makes

3    sense and is fair to all parties.        Thank you, Your Honor.

4                THE COURT:     You're welcome.     Thank you very much.

5                Is there anything pressing, Mr. Werkheiser;

6    otherwise, we're going to adjourn.

7                MR. WERKHEISER:      No.    Again, I just want to be

8    clear that the value is there and the closing risk is

9    acceptable, so we are prepared to engage and we invite them

10   to come talk to us.     So, I think that concludes our business

11   today and we thank Your Honor for your patience and attention

12   and are looking forward to things going a little more

13   smoothly after today.

14               THE COURT:     All right.     Thank you.

15               We're adjourned.

16         (Proceedings concluded at 2:26 p.m.)

17

18

19                                CERTIFICATE

20

21   I certify that the foregoing is a correct transcript from the
22   electronic sound recording of the proceedings in the above-
23
     entitled matter.
24
     /s/Mary Zajaczkowski__ _________               March 10, 2020
25   Mary Zajaczkowski, CET**D-531
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                             )
    In re:                                                   ) Chapter 11
                                                             )
    ART VAN FURNITURE, LLC, et al., 1                        ) Case No. 20-10553 (CSS)
                                                             )
                                  Debtors.                   ) (Jointly Administered)
                                                             )
                                                             )

             INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO USE
        CASH COLLATERAL, (II) GRANTING ADEQUATE PROTECTION TO THE
     PREPETITION SECURED PARTIES, (III) MODIFYING THE AUTOMATIC STAY,
     (IV) SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

                Upon the motion (the “Motion”) 2 of (a) AVF Parent, LLC (the “Borrower”), and

(b) AVF Holdings II, LLC, Art Van Furniture, LLC, Art Van Furniture of Canada, LLC, AV Pure

Sleep Franchising, LLC, AVCE, LLC, AVF Franchising, LLC, AVF Holding Company, Inc., AVF

Holdings I, LLC, Levin Parent, LLC, LF Trucking, Inc., Comfort Mattress, LLC and Sam Levin,

Inc., each as a debtor and debtor in possession (collectively, with the Borrower, the “Debtors”) in

the above-captioned Chapter 11 cases (collectively, the “Cases”), seeking entry of an order (this

“Interim Order”) pursuant to sections 105, 361, 362, 363 and 507 of chapter 11 of title 11 of the

United States Code (the “Bankruptcy Code”) and Rules 2002, 4001, 6004, and 9014 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) inter alia:




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291);
AVCE, LLC (2509); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC
(3451); Levin Parent, LLC (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising,
LLC (8968); AVF Franchising, LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and
Comfort Mattress LLC (4463). The location of the Debtors’ service address in these chapter 11 cases is:
6500 East 14 Mile Road, Warren Michigan 48092.
2
  Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to such terms in
the Motion.



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       (i)         authorizing the Debtors to use the Prepetition Collateral (as defined herein),

including all property constituting “Cash Collateral” as defined in section 363(a) of the Bankruptcy

Code (“Cash Collateral”) of the Prepetition ABL Parties under the Prepetition ABL Documents

and the Prepetition Term Loan Parties under the Prepetition Term Loan Documents (each as

defined herein), and providing adequate protection to the Prepetition ABL Parties and Prepetition

Term Loan Parties for any diminution in value, including resulting from the imposition of the

automatic stay, the Debtors’ use, sale, or lease of the Prepetition Collateral, including Cash

Collateral, and, in the case of the Prepetition Secured Parties, the priming of their respective

interests in the Prepetition Collateral (including by the Carve Out) pursuant to the terms and

conditions set forth herein (“Diminution in Value”);

       (ii)        vacating and modifying the automatic stay imposed by section 362 of the

Bankruptcy Code solely to the extent necessary to implement and effectuate the terms and

provisions of this Interim Order; and

       (iii)       scheduling a final hearing (the “Final Hearing”) within 30 days of the Petition

Date to consider the relief requested in the Motion on a final basis (the “Final Order”) and

approving the form of notice with respect to the Final Hearing.

       The Court having considered the Motion, the exhibits attached thereto, the Declaration of

David Ladd, Executive Vice President and Chief Financial Officer of Art Van Furniture, LLC, in

Support of Chapter 11 Petitions and First Day Motions and the evidence submitted and argument

made at the interim hearing held on March 10, 2020 (the “Interim Hearing”); and notice of the

Interim Hearing having been given in accordance with Bankruptcy Rules 2002, 4001(b) and (d),

and all applicable Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”); and the Interim Hearing having




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been held and concluded; and all objections, if any, to the interim relief requested in the Motion

having been withdrawn, resolved or overruled by the Court; and it appearing that approval of the

interim relief requested in the Motion is necessary to avoid immediate and irreparable harm to the

Debtors and their estates pending the Final Hearing, and otherwise is fair and reasonable and in

the best interests of the Debtors, their estates, and all parties in interest, and is essential for the

continued operation of the Debtors’ businesses and the preservation of the value of the Debtors’

assets; and after due deliberation and consideration, and good and sufficient cause appearing

therefor;

BASED UPON THE RECORD ESTABLISHED AT THE INTERIM HEARING, THE

COURT MAKES THE FOLLOWING FINDINGS OF FACT AND CONCLUSIONS OF

LAW: 3

                A.       Petition Date. On March 8, 2020 (the “Petition Date”), each of the Debtors

filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code with the United States

Bankruptcy Court for the District of Delaware (the “Court”).

                B.       Debtors in Possession. The Debtors have continued in the management

and operation of their businesses and properties as debtors in possession pursuant to sections 1107

and 1108 of the Bankruptcy Code.

                C.       Jurisdiction and Venue. This Court has jurisdiction over the Cases, the

Motion, and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157 and 1334.

Venue for the Cases and proceedings on the Motion is proper before this Court pursuant to 28



3
  The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of
law pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule
9014. To the extent that any of the following findings of fact constitute conclusions of law, they are adopted
as such. To the extent any of the following conclusions of law constitute findings of fact, they are adopted
as such.


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U.S.C. §§ 1408 and 1409.

                D.      Committee Formation. As of the date hereof, the United States Trustee

for the District of Delaware (the “U.S. Trustee”) has not appointed an official committee of

unsecured creditors in these Cases pursuant to section 1102 of the Bankruptcy Code (a

“Committee”).

                E.      Notice. Notice of the Motion and the Interim Hearing have been provided

in accordance with the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules.

                F.      Debtors’ Stipulations. After consultation with their attorneys and financial

advisors, and without prejudice to the rights of parties in interest as set forth in paragraph 27 herein,

the Debtors, on their behalf and on behalf of their estates, admit, stipulate, acknowledge, and agree

as follows (paragraphs F(i) through F(xii) below are referred to herein, collectively, as the

“Debtors’ Stipulations”):

                                Prepetition ABL Facility.      Pursuant to that certain ABL Credit

Agreement dated as of March 1, 2017 (as amended, restated, supplemented, or otherwise modified

from time to time, the “Prepetition ABL Agreement,” and collectively with the Loan Documents

(as defined in the Prepetition ABL Agreement) and any other agreements and documents executed

or delivered in connection therewith, each as may be amended, restated, supplemented, waived or

otherwise modified from time to time, the “Prepetition ABL Documents”), among (a) the Borrower

(the “Prepetition ABL Borrower”), (b) the guarantors party thereto (the “Prepetition ABL

Guarantors”), (c) Wells Fargo Bank, National Association, as administrative agent, issuing bank

and collateral agent (in such capacity, the “Prepetition ABL Agent”), and (d) the lenders party

thereto (collectively, including the Prepetition ABL Agent, the “Prepetition ABL Lenders,” and

the Prepetition ABL Lenders and the Prepetition ABL Agent, together, the “Prepetition ABL




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Parties”), the Prepetition ABL Lenders provided revolving credit, term loans and other financial

accommodations to, and issued letters of credit for the account of, the Prepetition ABL Borrowers

pursuant to the Prepetition ABL Documents (the “Prepetition ABL Facility”) in an aggregate

principal amount of up to $82,500,000.

                              Prepetition ABL Obligations. As of the Petition Date, the aggregate

principal amount outstanding under the Prepetition ABL Facility was not less than approximately

$33,573,784.18, inclusive of not less than $14,900,000 of issued and outstanding letters of credit

and the Early Termination Premium as defined in the Prepetition ABL Documents (collectively,

together with accrued and unpaid interest, bankers’ acceptances, any reimbursement obligations

(contingent or otherwise) in respect of letters of credit and bankers’ acceptances, any fees,

expenses and disbursements (including attorneys’ fees, accountants’ fees, auditor fees, appraisers’

fees and financial advisors’ fees, and related expenses and disbursements), treasury, cash

management, bank product and derivative obligations, indemnification obligations, guarantee

obligations, and other charges, amounts and costs of whatever nature owing, whether or not

contingent, whenever arising, accrued, accruing, due, owing, or chargeable in respect of any of the

Prepetition ABL Borrowers’ or the Prepetition ABL Guarantors’ obligations pursuant to, or

secured by, the Prepetition ABL Documents, including all “Obligations” as defined in the

Prepetition ABL Agreement, and all interest, fees, prepayment premiums, costs and other charges

allowable under section 506(b) of the Bankruptcy Code, the “Prepetition ABL Obligations”).

                              Prepetition ABL Liens and Prepetition ABL Priority Collateral. As

more fully set forth in the Prepetition ABL Documents, prior to the Petition Date, the Prepetition

ABL Borrowers and the Prepetition ABL Guarantors granted to the Prepetition ABL Agent, for

the benefit of itself and the Prepetition ABL Lenders, security interests in and continuing liens on




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(the “Prepetition ABL Liens”) substantially all of their assets and property, including (a) a first

priority security interest in and continuing lien on the ABL Priority Collateral (as defined in that

certain Intercreditor Agreement referred to in paragraph F(vii) below) and all proceeds, products,

accessions, rents, and profits thereof, in each case whether then owned or existing or thereafter

acquired or arising (collectively, the “Prepetition ABL Priority Collateral”), and (b) a second

priority security interest in and continuing lien on the Term Loan Priority Collateral (as defined in

the Intercreditor Agreement) and proceeds, products, and rents of any of the foregoing

(collectively, the “Prepetition Term Priority Collateral,” and together with the Prepetition ABL

Priority Collateral, the “Prepetition Collateral”), subject only to the liens of the Prepetition Term

Loan Agent on the Prepetition Term Priority Collateral and Prepetition ABL Permitted Prior Liens

(as defined herein).

                               Prepetition Term Loan Facility. Pursuant to that certain Credit

Agreement dated as of March 1, 2017 (as amended, restated, supplemented, waived or otherwise

modified from time to time, the “Prepetition Term Loan Agreement,” and collectively with the

Loan Documents (as defined in the Prepetition Term Loan Agreement) and any other agreements

and documents executed or delivered in connection therewith, each as may be amended, restated,

supplemented, waived or otherwise modified from time to time, the “Prepetition Term Loan

Documents,” and together with the Prepetition ABL Documents, the “Prepetition Documents”),

among (a) the Borrower (the “Prepetition Term Loan Borrower” and together with the Prepetition

ABL Borrower, the “Prepetition Borrowers”), (b) Virtus Group, LP, as administrative agent and

collateral agent (in such capacities, the “Prepetition Term Loan Agent,” and together with the

Prepetition ABL Agent, the “Prepetition Agents”), (c) the guarantors thereunder (the “Prepetition

Term Loan Guarantors” and, together with the Prepetition ABL Guarantors, the “Prepetition




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Guarantors”), and (d) the lenders party thereto (the “Prepetition Term Loan Lenders,” and

collectively, including the Prepetition Term Loan Agent, the “Prepetition Term Loan Parties,” and

together with the Prepetition ABL Parties, the “Prepetition Secured Parties”), the Prepetition Term

Loan Lenders provided term loans to the Prepetition Term Loan Borrower (the “Prepetition Term

Loan Facility,” and together with the Prepetition ABL Facility, the “Prepetition Secured

Facilities”) in an aggregate principal amount of $100,000,000.

                              Prepetition Term Loan Obligations. As of the Petition Date, the

aggregate principal amount outstanding under the Prepetition Term Loan Facility was not less than

approximately $175,000,000 (collectively, together with accrued and unpaid interest, any fees,

expenses and disbursements (including attorneys’ fees, accountants’ fees, appraisers’ fees, and

financial advisors’ fees and related expenses and disbursements reimbursable thereunder),

indemnification obligations, and other charges, amounts, and costs of whatever nature owing,

whether or not contingent, whenever arising, accrued, accruing, due, owing, or chargeable in

respect of any of the Prepetition Term Loan Borrower’s and the Prepetition Term Loan

Guarantors’ obligations pursuant to, or secured by, the Prepetition Term Loan Documents,

including all “Obligations” as defined in the Prepetition Term Loan Agreement, and all interest,

fees, costs and other charges allowable under section 506(b) of the Bankruptcy Code, the

“Prepetition Term Loan Obligations,” and together with the Prepetition ABL Obligations, the

“Prepetition Secured Obligations”).

                              Prepetition Term Loan Liens and Prepetition Term Priority

Collateral. As more fully set forth in the Prepetition Term Loan Documents, prior to the Petition

Date, the Prepetition Term Loan Borrower and the Prepetition Term Loan Guarantors granted to

the Prepetition Term Loan Agent, for the benefit of itself and the Prepetition Term Loan Lenders,




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security interests in and continuing liens on (the “Prepetition Term Loan Liens,” and together with

the Prepetition ABL Liens, the “Prepetition Liens”) substantially all of their assets and property,

including (a) a first priority security interest in and continuing lien on the Prepetition Term Priority

Collateral, and (b) a second priority security interest in and continuing lien on the Prepetition ABL

Priority Collateral, subject only to the liens of the Prepetition ABL Agent on the Prepetition ABL

Priority Collateral and Prepetition Term Loan Permitted Prior Liens (as defined herein).

                               Priority of Prepetition Liens; Intercreditor Agreement.             The

Prepetition Agents entered into that certain Intercreditor Agreement dated as of March 1, 2017 (as

may be further amended, restated, supplemented, or otherwise modified in accordance with its

terms, the “Intercreditor Agreement”) to govern the respective rights, interests, obligations,

priority, and positions of the Prepetition Secured Parties with respect to the assets and properties

of the Debtors and other obligors. Each of the Prepetition Borrowers and Prepetition Guarantors

under the Prepetition Documents acknowledged and agreed to the Intercreditor Agreement.

                               Validity, Perfection, and Priority of Prepetition ABL Liens and

Prepetition ABL Obligations. The Debtors acknowledge and agree that as of the Petition Date

(a) the Prepetition ABL Liens on the Prepetition Collateral were valid, binding, enforceable,

non-avoidable, and properly perfected and were granted to, or for the benefit of, the Prepetition

ABL Parties for fair consideration and reasonably equivalent value; (b) the Prepetition ABL Liens

were senior in priority over any and all other liens on the Prepetition Collateral, subject only to

(1) the Prepetition Term Loan Liens on the Prepetition Term Priority Collateral and (2) certain

liens senior by operation of law (solely to the extent such liens were valid, non-avoidable, and

senior in priority to the Prepetition ABL Liens as of the Petition Date and properly perfected prior

to the Petition Date or perfected subsequent to the Petition Date as permitted by section 546(b) of




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the Bankruptcy Code) or otherwise permitted by the Prepetition ABL Documents (the “Prepetition

ABL Permitted Prior Liens”); (c) the Prepetition ABL Obligations constitute legal, valid, binding,

and non-avoidable obligations of the Debtors enforceable in accordance with the terms of the

applicable Prepetition ABL Documents; (d) no offsets, recoupments, challenges, objections,

defenses, claims, or counterclaims of any kind or nature to any of the Prepetition ABL Liens or

Prepetition ABL Obligations exist, and no portion of the Prepetition ABL Liens or Prepetition

ABL Obligations is subject to any challenge or defense including avoidance, disallowance,

disgorgement, recharacterization, or subordination (equitable or otherwise) pursuant to the

Bankruptcy Code or applicable non-bankruptcy law; (e) the Debtors and their estates have no

claims, objections, challenges, causes of action, and/or choses in action, including avoidance

claims under Chapter 5 of the Bankruptcy Code or applicable state law equivalents or actions for

recovery or disgorgement, against any of the Prepetition ABL Parties or any of their respective

affiliates, agents, attorneys, advisors, professionals, officers, directors, and employees arising out

of, based upon or related to the Prepetition ABL Facility; (f) the Debtors have waived, discharged,

and released any right to challenge any of the Prepetition ABL Obligations, the priority of the

Debtors’ obligations thereunder, and the validity, extent, and priority of the liens securing the

Prepetition ABL Obligations; and (g) the Prepetition ABL Obligations constitute allowed, secured

claims within the meaning of sections 502 and 506 of the Bankruptcy Code.

                               Validity, Perfection, and Priority of Prepetition Term Loan Liens

and Prepetition Term Loan Obligations. The Debtors further acknowledge and agree that, as of

the Petition Date, (a) the Prepetition Term Loan Liens on the Prepetition Collateral were valid,

binding, enforceable, non-avoidable, and properly perfected and were granted to, or for the benefit

of, the Prepetition Term Loan Parties for fair consideration and reasonably equivalent value;




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(b) the Prepetition Term Loan Liens were senior in priority over any and all other liens on the

Prepetition Collateral, subject only to (1) the Prepetition ABL Liens on the Prepetition ABL

Priority Collateral and (2) certain liens senior by operation of law (solely to the extent such liens

were valid, non-avoidable, and senior in priority to the Prepetition Term Loan Liens as of the

Petition Date and properly perfected prior to the Petition Date or perfected subsequent to the

Petition Date as permitted by section 546(b) of the Bankruptcy Code) or otherwise permitted by

the Prepetition Term Loan Documents (the “Prepetition Term Loan Permitted Prior Liens” and,

together with the Prepetition ABL Permitted Prior Liens, the “Permitted Prior Liens”);4 (c) the

Prepetition Term Loan Obligations constitute legal, valid, binding, and non-avoidable obligations

of the Debtors enforceable in accordance with the terms of the applicable Prepetition Term Loan

Documents; (d) no offsets, recoupments, challenges, objections, defenses, claims, or counterclaims

of any kind or nature to any of the Prepetition Term Loan Liens or Prepetition Term Loan

Obligations exist, and no portion of the Prepetition Term Loan Liens or Prepetition Term Loan

Obligations is subject to any challenge or defense, including avoidance, disallowance,

disgorgement, recharacterization, or subordination (equitable or otherwise) pursuant to the

Bankruptcy Code or applicable non-bankruptcy law; (e) the Debtors and their estates have no

claims, objections, challenges, causes of action, and/or choses in action, including avoidance

claims under Chapter 5 of the Bankruptcy Code or applicable state law equivalents or actions for

recovery or disgorgement, against any of the Prepetition Term Loan Parties, or any of their

respective affiliates, agents, attorneys, advisors, professionals, officers, directors, and employees

arising out of, based upon or related to the Prepetition Term Loan Facility; (f) the Debtors have


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  For the avoidance of doubt, as used in this Interim Order, no reference to the Prepetition ABL Permitted
Prior Liens, the Prepetition Term Loan Permitted Prior Liens, or the Permitted Prior Liens shall refer to or
include the Prepetition ABL Liens or the Prepetition Term Loan Liens.


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waived, discharged, and released any right to challenge any of the Prepetition Term Loan

Obligations, the priority of the Debtors’ obligations thereunder, and the validity, extent, and

priority of the liens securing the Prepetition Term Loan Obligations; and (g) the Prepetition Term

Loan Obligations constitute allowed, secured claims within the meaning of sections 502 and 506

of the Bankruptcy Code.

                               Release. The Debtors hereby stipulate and agree that they forever

and irrevocably release, discharge, and acquit the Prepetition Agents, the Prepetition Secured

Parties, all former, current and future Prepetition Secured Parties, and each of their respective

successors, assigns, affiliates, subsidiaries, parents, officers, shareholders, directors, employees,

attorneys and agents, past, present and future, and their respective heirs, predecessors, successors

and assigns (collectively, the “Releasees”) of and from any and all claims, controversies, disputes,

liabilities, obligations, demands, damages, expenses (including reasonable attorneys’ fees), debts,

liens, actions and causes of action of any and every nature whatsoever relating to, as applicable,

the Prepetition Secured Facilities, the Prepetition Documents, and/or the transactions contemplated

hereunder or thereunder occurring prior to entry of this Interim Order, including (x) any so-called

“lender liability” or equitable subordination or recharacterization claims or defenses, (y) any and

all claims and causes of action arising under the Bankruptcy Code, and (z) any and all claims and

causes of action with respect to the validity, priority, perfection or avoidability of the liens or

claims of the Prepetition Agents and the Prepetition Secured Parties. The Debtors further waive

and release any defense, right of counterclaim, right of set-off or deduction to the payment of the

Prepetition Secured Obligations which the Debtors may now have or may claim to have against

the Releasees, arising out of, connected with or relating to any and all acts, omissions or events

occurring prior to this Court entering this Interim Order.




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                              Default by the Debtors. The Debtors acknowledge and stipulate that

(i) they have been, since February 5, 2020, and are in default of their obligations under the

Prepetition ABL Documents, and that an Event of Default has occurred under the Prepetition ABL

Documents, and that since February 5, 2020, interest has accrued, and will continue to accrue, on

the Prepetition ABL Obligations at the default rate set forth in the Prepetition ABL Agreement,

and (ii) they have been, since February 29, 2020, and are in default of the obligations under the

Prepetition Term Loan Documents, and that a Default has occurred under the Prepetition Term

Loan Documents, and that as of the Petition Date, interest will accrue, on the Prepetition Term

Loan Obligations at the default rate set forth in the Prepetition Term Loan Documents.

                              Consulting Agreement with the Liquidators. Pursuant to that certain

Consulting and Marketing Services Agreement, dated as of March 5, 2020, by and among Hilco

Merchant Resources, LLC, Hilco IP Services, LLC, d/b/a Hilco Streambank, Hilco Real Estate,

LLC, Hilco Receivables, LLC, Gordon Brothers Retail Partners, LLC, DJM Realty Services, LLC,

d/b/a Gordon Brothers Real Estate, Gordon Brothers Commercial & Industrial, LLC and Gordon

Brothers Brands, LLC and certain of the Debtors, acknowledged by the Prepetition Agents (as

amended, restated or otherwise modified from time to time, the “Consulting Agreement”), the

Debtors have retained the Consultant to conduct “Going Out of Business” sales of the Assets (each

as defined in the Consulting Agreement). The continued existence and validity of the Consulting

Agreement and the uninterrupted continuation of the sales contemplated thereby is a condition to

the consent of the Prepetition Agents to this Interim Order and the Debtors’ use of Cash Collateral

hereunder.

               G.     DIP Facility. On March 9, 2020, the Debtors filed the Debtors’ Motion for

Entry of Interim and Final Orders (I) Authorizing Secured Post-Petition Financing Pursuant to




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11 U.S.C. Sections 105, 361, 364(c) and 364(d); and (II) Granting Related Relief [Dkt. No. 49]

(the “Levin DIP Motion”). To the extent the Court enters the Orders approving the DIP Facility

in accordance with the terms and provisions of the DIP Credit Agreement (each term as defined in

the Levin DIP Motion), the Prepetition Agents have consented to the DIP Facility (in accordance

with the Orders and the DIP Credit Agreement, in form and substance reasonably acceptable to

the Prepetition Agents), and the Debtors’ compliance with, and the obligations incurred under, the

DIP Facility (in accordance with the Orders and the DIP Credit Agreement, in form and substance

reasonably acceptable to the Prepetition Agents) shall not give rise to an Event of Default under

this Interim Order.

               H.      Permitted Prior Liens. Nothing herein shall constitute a finding or ruling

by this Court that any alleged Permitted Prior Lien is valid, senior, enforceable, prior, perfected,

or non-avoidable. Moreover, nothing shall prejudice the rights of any party-in-interest, including,

but not limited to the Debtors, the Prepetition Secured Parties, or a Committee (if appointed), to

challenge the validity, priority, enforceability, seniority, avoidability, perfection, or extent of any

alleged Permitted Prior Lien. The right of a seller of goods to reclaim such goods under section

546(c) of the Bankruptcy Code is not a Permitted Prior Lien, rather, any such alleged claim arising

or asserted as a right of reclamation (whether asserted under section 546(c) of the Bankruptcy

Code or otherwise) shall have the same rights and priority with respect to the Prepetition ABL

Liens as such claims had on the Petition Date.

               I.      Cash Collateral. All of the Debtors’ cash, including any cash in deposit

accounts of the Debtors, wherever located, constitutes Cash Collateral of the Prepetition Secured

Parties.




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                J.      Adequate Protection. The Prepetition ABL Agent, for the benefit of itself

and the other Prepetition ABL Parties, and the Prepetition Term Loan Agent, for the benefit of

itself and the Prepetition Term Loan Parties, are each entitled to receive adequate protection as set

forth herein to the extent of any Diminution in Value of their respective interests in the Prepetition

Collateral.

                K.      Good Faith.     The Prepetition Secured Parties and the Debtors have

negotiated at arms’ length and in good faith regarding the Debtors’ use of Cash Collateral to fund

the continued operation of the Debtors’ businesses during the Specified Period (defined below).

The Prepetition Secured Parties have agreed to permit the Debtors to use their Cash Collateral for

the Specified Period, subject to the terms and conditions set forth herein, which terms and

conditions are fair and reasonable and have been stipulated to by the Debtors in the exercise of

their sound business judgment. Entry of this Interim Order is in the best interests of the Debtors,

their estates and their creditors.

                L.      Immediate Entry. Sufficient cause exists for immediate entry of this

Interim Order pursuant to Bankruptcy Rule 4001(c)(2).

                M.      Interim Hearing. Notice of the Interim Hearing and the relief requested in

the Motion has been provided by the Debtors, whether by facsimile, electronic mail, overnight

courier or hand delivery, to certain parties-in-interest, including: (i) the U.S. Trustee; (ii) those

entities or individuals included on the Debtors’ list of 30 largest unsecured creditors on a

consolidated basis; (iii) counsel to the Prepetition ABL Agent; (iv) counsel to the Prepetition Term

Loan Agent; (v) counsel to the Consultant (as defined in the Consulting Agreement); (vi) counsel

to Levin Furniture, LLC and Levin Trucking, LLC, and (vii) all other parties entitled to notice

under the Bankruptcy Rules and the Local Rules. The Debtors have made reasonable efforts to




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afford the best notice possible under the circumstances.

       Based upon the foregoing findings and conclusions, the Motion and the record before the

Court with respect to the Motion, and after due consideration and good and sufficient cause

appearing therefor,

       IT IS HEREBY ORDERED that:

               1.      Motion Granted. The Motion is granted, subject to the terms and conditions

set forth in this Interim Order. The Debtors shall not use Cash Collateral except as expressly

authorized and permitted herein or by subsequent order of the Court. All objections to this Interim

Order to the extent not withdrawn, waived, settled, or resolved are hereby denied and overruled.

               2.      Authorization to Use Cash Collateral. Subject to the terms and conditions

of this Interim Order, and in accordance with the Budget, subject to such variances as are permitted

by this Interim Order, the Debtors are authorized to use Cash Collateral for the period (the

“Specified Period”) from the Petition Date through the date which is the earliest to occur of: (a)

the Termination Date, (b) thirty (30) days after the Petition Date and (c) entry of the Final Order;

provided, however, that, during the Remedies Notice Period (as defined herein), the Debtors may

use Cash Collateral solely to meet payroll obligations and pay expenses necessary or reasonably

advisable to avoid immediate and irreparable harm to the Debtors’ estates in accordance with the

Budget and as otherwise agreed to by the Prepetition ABL Agent in its sole discretion. Nothing

in this Interim Order shall authorize the disposition of any assets of the Debtors or their estates

outside the ordinary course of business, or any use of Cash Collateral or proceeds resulting

therefrom, except (x) as permitted in the Consulting Agreement or the Levin APA (as defined

below), (y) as otherwise consented to by the Prepetition ABL Agent (with respect to Postpetition

ABL Priority Collateral) or the Prepetition Term Loan Agent (with respect to Postpetition Term




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Priority Collateral) in writing, or (z) as otherwise disposed of, or used, in accordance with the

Budget, subject to such variances as are permitted by this Interim Order.

                 3.      Adequate Protection Liens.

                         (a)      Prepetition ABL Adequate Protection Liens.                 Subject to the

Carve Out, pursuant to sections 361 and 363(e) of the Bankruptcy Code, as adequate protection of

the interests of the Prepetition ABL Parties in the Prepetition Collateral to the extent of any

Diminution in Value of such interests in the Prepetition Collateral, the Debtors hereby grant to the

Prepetition ABL Agent, for the benefit of itself and the Prepetition ABL Parties, continuing, valid,

binding, enforceable, and perfected postpetition security interests in and liens (the “Prepetition

ABL Adequate Protection Liens”) on any Postpetition Collateral.5


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  “Postpetition Collateral” means: all personal property, whether now existing or hereafter arising and
wherever located, tangible and intangible, of each of the Debtors, including: (a) all cash, cash equivalents,
deposit accounts, securities accounts, accounts, other receivables (including credit card receivables), chattel
paper, contract rights, inventory (wherever located), instruments, documents, securities (whether or not
marketable) and investment property (including all of the issued and outstanding capital stock of each of
its subsidiaries), hedge agreements, furniture, fixtures, equipment (including documents of title), goods,
franchise rights, trade names, trademarks, servicemarks, copyrights, patents, license rights, intellectual
property, general intangibles (including, for the avoidance of doubt, payment intangibles), rights to the
payment of money (including tax refunds and any other extraordinary payments), supporting obligations,
guarantees, letter of credit rights, commercial tort claims, causes of action, and all substitutions,
indemnification rights, all present and future intercompany debt, books and records related to the foregoing,
accessions and proceeds of the foregoing, wherever located, including insurance or other proceeds; (b) all
proceeds of leased real property; (c) subject to entry of a Final Order, the proceeds of any avoidance actions
brought pursuant to Chapter 5 of the Bankruptcy Code or applicable state law equivalents; (d) subject to
entry of a Final Order, proceeds of the Debtors’ rights under section 506(c) (solely to the extent such rights
result from the use of Postpetition Collateral, and are, therefore, enforceable against parties other than the
Prepetition Agents or the Prepetition Secured Parties) and 550 of the Bankruptcy Code; and (e) all
Prepetition Collateral that was not otherwise subject to valid, perfected, enforceable, and unavoidable liens
on the Petition Date. Notwithstanding the foregoing, Postpetition Collateral shall not include the Debtors’
real property leases (but shall include all proceeds of such leases). Postpetition Collateral that is (i)
Prepetition ABL Priority Collateral, (ii) of a type that would be Prepetition ABL Priority Collateral; (iii) of
a type that would be Prepetition ABL Priority Collateral, but that was not otherwise subject to valid,
perfected, enforceable, and unavoidable liens on the Petition Date; and (iv) the “Deposit”, as defined in that
certain letter agreement dated as of March 4, 2020 by and among Levin Furniture, LLC, Levin Trucking,
LLC, as Buyer, and Sam Levin, Inc. and LF Trucking, Inc., as Seller (the “Levin LOI”) shall, in each case,
constitute “Postpetition ABL Priority Collateral.” Postpetition Collateral that is (i) Prepetition Term
Priority Collateral, (ii) of a type that would be Prepetition Term Priority Collateral; and (iii) of a type that
would be Prepetition Term Priority Collateral, but that was not otherwise subject to valid, perfected,


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                         (b)      Prepetition Term Loan Adequate Protection Liens. Subject to the

Carve Out, pursuant to sections 361 and 363(e) of the Bankruptcy Code, as adequate protection of

the interests of the Prepetition Term Loan Parties in the Prepetition Collateral, to the extent of any

Diminution in Value of such interests in the Prepetition Collateral, the Debtors hereby grant to the

Prepetition Term Loan Agent, for the benefit of itself and the Prepetition Term Loan Parties,

continuing, valid, binding, enforceable, and perfected postpetition security interests in and liens

(the “Prepetition Term Loan Adequate Protection Liens,” and together with the Prepetition ABL

Adequate Protection Liens, the “Adequate Protection Liens”) on the Postpetition Collateral.

                 4.      Priority of Adequate Protection Liens.

                         (a)      The Prepetition ABL Adequate Protection Liens shall be senior to

all other security interests in, liens on, or claims against any of the Postpetition Collateral; provided

that, the Prepetition ABL Adequate Protection Liens shall be subject to the Carve Out and shall be

junior only to: (i) with respect to the Postpetition ABL Priority Collateral, (A) Prepetition ABL

Permitted Prior Liens and (B) the Prepetition ABL Liens; and (ii) with respect to the Postpetition

Term Priority Collateral, (A) Prepetition Term Loan Permitted Prior Liens, (B) the Prepetition

Term Loan Liens, (C) the Prepetition Term Loan Adequate Protection Liens, and (D) the

Prepetition ABL Liens.

                         (b)      The Prepetition Term Loan Adequate Protection Liens shall be

senior to all other security interests in, liens on, or claims against any of the Postpetition Collateral;


enforceable, and unavoidable liens on the Petition Date shall constitute “Postpetition Term Priority
Collateral.” Postpetition Collateral that is (i) the proceeds of the Debtors’ real property leases; and (ii) the
proceeds of avoidance actions brought pursuant to Chapter 5 of the Bankruptcy Code or applicable state
law equivalents shall be shared Postpetition Collateral, and the Prepetition ABL Liens and Prepetition Term
Loan Liens (and corresponding adequate protection liens and claims) on such proceeds shall rank equally
in priority and share such proceeds equally (with 50% of such proceeds applied to the Prepetitition ABL
Obligations and 50% applied to the Prepetition Term Loan Obligations). Nothing herein shall be construed
to impair any Permitted Prior Liens.


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provided that, the Prepetition Term Loan Adequate Protection Liens shall be subject to the Carve

Out and shall be junior only to: (i) with respect to the Postpetition ABL Priority Collateral, (A)

Prepetition ABL Permitted Prior Liens, (B) the Prepetition ABL Liens, (C) the Prepetition ABL

Adequate Protection Liens, and (D) the Prepetition Term Loan Liens; and (ii) with respect to the

Postpetition Term Priority Collateral, (A) Prepetition Term Loan Permitted Prior Liens, and (B)

the Prepetition Term Loan Liens.

                       (c)     Except as provided herein (including with respect to the Carve Out),

the Adequate Protection Liens shall not be made subject to or pari passu with any lien or security

interest heretofore or hereinafter in the Cases or any case under Chapter 7 of the Bankruptcy Code

upon the conversion of any of the Cases, or in any other proceedings superseding or related to any

of the foregoing (collectively, the “Successor Cases”), and shall be valid and enforceable against

any trustee appointed in any of the Cases or any Successor Cases, or upon the dismissal of any of

the Cases or Successor Cases. The Adequate Protection Liens shall not be subject to sections 510,

549, or 550 of the Bankruptcy Code. No lien or interest avoided and preserved for the benefit of

the estate pursuant to section 551 of the Bankruptcy Code shall be pari passu with or senior to the

Prepetition Liens or the Adequate Protection Liens.

               5.      Adequate Protection Superpriority Claims.

                       (a)     Prepetition ABL Superpriority Claim.            As further adequate

protection of the interests of the Prepetition ABL Parties in the Prepetition Collateral, to the extent

of any Diminution in Value of such interests in the Prepetition Collateral, the Prepetition ABL

Agent, on behalf of itself and the Prepetition ABL Parties, is hereby granted as and to the extent

provided by section 507(b) of the Bankruptcy Code, an allowed superpriority administrative




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expense claim in each of the Cases and any Successor Cases (the “Prepetition ABL Superpriority

Claim”).

                       (b)     Prepetition Term Loan Superpriority Claim. As further adequate

protection of the interests of the Prepetition Term Loan Parties in the Prepetition Collateral, to the

extent of any Diminution in Value of such interests in the Prepetition Collateral, the Prepetition

Term Loan Agent, on behalf of itself and the Prepetition Term Loan Parties, is hereby granted as

and to the extent provided by section 507(b) of the Bankruptcy Code, an allowed superpriority

administrative expense claim in each of the Cases and any Successor Cases (the “Prepetition Term

Loan Superpriority Claim,” and together with the Prepetition ABL Superpriority Claim, the

“Adequate Protection Superpriority Claims”).

               6.      Priority of the Adequate Protection Superpriority Claims. Except as set

forth herein, the Adequate Protection Superpriority Claims shall have priority over all

administrative expense claims and unsecured claims against the Debtors or their estates, now

existing or hereafter arising, of any kind or nature whatsoever, including administrative expenses

of the kinds specified in or ordered pursuant to sections 105, 326, 328, 330, 331, 503(a), 503(b),

507(a), 506(c) (subject to entry of the Final Order), 507(b), 546(c), 546(d), 726, 1113, and 1114

of the Bankruptcy Code. The Adequate Protection Superpriority Claims shall be subject to the

Carve Out and shall be subject to the following priorities: (a) with respect to Postpetition ABL

Priority Collateral, (1) the Prepetition ABL Superpriority Claim and (2) the Prepetition Term Loan

Superpriority Claim; and (b) with respect to Postpetition Term Priority Collateral, (1) the

Prepetition Term Loan Superpriority Claim and (2) the Prepetition ABL Superpriority Claim.

               7.      Adequate Protection Payments and Protections for Prepetition ABL Parties.

As further adequate protection, the Debtors are authorized to pay in cash the following: (a) all




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principal and interest at the default rate due under the Prepetition ABL Documents (but subject to

the Challenge rights to the extent preserved in paragraph 27 below, (b) immediately upon entry of

this Interim Order, the reasonable and documented fees, out-of-pocket fees and expenses, and

disbursements (including the reasonable and documented fees, out-of-pocket fees and expenses,

and disbursements of counsel, financial advisors, auditors, third-party consultants, and other

vendors) incurred by the Prepetition ABL Agent arising prior to the Petition Date and reimbursable

under the Prepetition ABL Documents, (c) in accordance with paragraph 22 herein, the reasonable

and documented fees, out-of-pocket fees and expenses, and disbursements (including the

reasonable and documented fees, out-of-pocket fees and expenses, and disbursements of counsel,

financial advisors, auditors, third-party consultants, and other vendors) incurred by the Prepetition

ABL Agent on and subsequent to the Petition Date reimbursable under the Prepetition ABL

Documents, (d) the Prepetition ABL Obligations in accordance with the Budget, and (e) the

Prepetition ABL Obligations with the Deposit (as defined in the Levin LOI) upon such Deposit

becoming non-refundable in accordance with the terms of the Levin LOI. In addition, immediately

upon the payment in full in cash of the Prepetition ABL Obligations (including principal, interest,

fees, prepayment premiums, expenses, indemnities, other than contingent indemnification

obligations for which no claim has been asserted), the cash collateralization of all treasury and

cash management obligations, hedging obligations, and bank product obligations, and the

cancelation, replacement, backing, or cash collateralization of letters of credit, in each case, in

accordance with the terms of the Prepetition ABL Documents, the Debtors shall fund to the

Prepetition ABL Agent, for the benefit of the Prepetition ABL Parties, $500,000 into a non-interest

bearing account maintained at Wells Fargo Bank, National Association (the “Prepetition ABL

Indemnity Reserve”) to secure contingent indemnification, reimbursement, or similar continuing




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obligations arising under or related to the Prepetition ABL Documents (the “Prepetition ABL

Indemnity Obligations”). The Prepetition ABL Indemnity Reserve shall secure all costs, expenses,

and other amounts (including reasonable and documented attorneys’ fees) owed to or incurred by

the Prepetition ABL Agent and the Prepetition ABL Lenders related to the Prepetition ABL

Documents, the Prepetition ABL Obligations, or the Prepetition ABL Liens, as applicable, whether

in these Cases or independently in another forum, court, or venue. The Prepetition ABL Indemnity

Obligations shall be secured by a first priority lien on the Prepetition ABL Indemnity Reserve and

the funds therein (which shall not be subject to the Carve-Out) and by a lien on the Postpetition

Collateral and the Prepetition Collateral (subject in all respects to the Intercreditor Agreement).

Subject to paragraph 22 below, the Debtors shall pay all Prepetition ABL Indemnity Obligations

as and when they arise and paid; provided, that the Prepetition ABL Agent shall have authority in

its sole discretion, but not an obligation, to apply amounts in the Prepetition ABL Indemnity

Reserve to any Prepetition ABL Indemnity Obligations, without further notice to or consent from

the Debtors, a Committee (if appointed), or any other parties in interest and without further order

of this Court; provided, that (i) any such indemnification claims shall be subject to (a) the terms

of the Prepetition ABL Documents (including with respect to application of proceeds) and (b) the

rights of parties in interest with requisite standing to object to such indemnification claim(s) to the

extent set forth in paragraph 27 hereof. The Prepetition ABL Agent (for itself and on behalf of the

Prepetition ABL Parties) shall retain and maintain the Prepetition ABL Liens and the Prepetition

ABL Adequate Protection Liens granted to the Prepetition ABL Agent as security for the amount

of any Prepetition ABL Indemnity Obligations in excess of funds on deposit in the Prepetition

ABL Indemnity Reserve. The Prepetition ABL Indemnity Reserve shall be released at such time




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as the Prepetition ABL Indemnity Obligations are Paid in Full. 6

                 8.      Adequate Protection Payments and Protections for Prepetition Term Loan

Agent. As further adequate protection, the Debtors are authorized to pay in cash the following:

(a) the reasonable and documented fees, out-of-pocket fees and expenses, and disbursements

(including the reasonable and documented fees, out-of-pocket fees and expenses, and

disbursements of counsel, financial advisors, auditors, third-party consultants, and other vendors)

incurred by the Prepetition Term Loan Agent arising prior to the Petition Date and reimbursable

under the Prepetition Term Loan Documents, and (b) in accordance with paragraph 22 herein, the

reasonable and documented fees, out-of-pocket fees and expenses, and disbursements (including

the reasonable and documented fees, out-of-pocket fees and expenses, and disbursements of

counsel, financial advisors, auditors, third-party consultants, and other vendors) incurred by the

Prepetition Term Loan Agent on and subsequent to the Petition Date reimbursable under the

Prepetition Term Loan Documents; provided, however, that any payments made under this

paragraph 8 shall be made solely from proceeds of Postpetition Term Priority Collateral.

                 9.      Perfection of Adequate Protection Liens. This Interim Order shall be

sufficient and conclusive evidence of the creation, validity, perfection, and priority of all liens


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  “Paid in Full” means the indefeasible repayment in full in cash of all obligations (including principal,
interest, fees, prepayment premiums, expenses, indemnities, other than contingent indemnification
obligations for which no claim has been asserted) under the applicable credit facility, the cash
collateralization of all treasury and cash management obligations, hedging obligations, and bank product
obligations, and the cancelation, replacement, backing, or cash collateralization of letters of credit, in each
case, in accordance with the terms of the applicable credit facility. No facility shall be deemed to have
been Paid in Full until such time as, with respect to the applicable facility, (a) the commitments to lend
thereunder have been terminated, (b) with respect to the Prepetition ABL Obligations (i) the Challenge
Deadline (as defined in paragraph 34 of this Interim Order) shall have occurred without the timely and
proper commencement of a Challenge or (ii) if a Challenge is timely and properly asserted prior to the
Challenge Deadline, upon the final, non-appealable disposition of such Challenge; and (c) the Prepetition
ABL Agent has received (i) a countersigned payoff letter in form and substance satisfactory to the
Prepetition ABL Agent and (ii) releases in form and substance satisfactory to the Prepetition ABL Agent
in its sole discretion.


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granted herein, including the Adequate Protection Liens, without the necessity of filing or

recording any financing statement, mortgage, notice, or other instrument or document which may

otherwise be required under the law or regulation of any jurisdiction or the taking of any other

action (including, for the avoidance of doubt, entering into any deposit account control agreement)

to validate or perfect (in accordance with applicable non-bankruptcy law) the Adequate Protection

Liens, or to entitle the Prepetition Secured Parties to the priorities granted herein. Notwithstanding

the foregoing, each Prepetition Agent is authorized to file, as it in its sole discretion deems

necessary or advisable, such financing statements, security agreements, mortgages, notices of

liens, and other similar documents to perfect in accordance with applicable non-bankruptcy law or

to otherwise evidence the Adequate Protection Liens, and all such financing statements,

mortgages, notices, and other documents shall be deemed to have been filed or recorded as of the

Petition Date; provided, however, that no such filing or recordation shall be necessary or required

in order to create or perfect the Adequate Protection Liens. The Debtors are authorized to execute

and deliver promptly upon demand to the Prepetition Agents, as applicable, all such financing

statements, mortgages, notices, and other documents as the Prepetition Agents may reasonably

request. Each Prepetition Agent, in its discretion, may file a photocopy of this Interim Order as a

financing statement with any filing or recording office or with any registry of deeds or similar

office, in addition to or in lieu of such financing statements, notices of lien, or similar instrument.

               10.     Adequate Protection Reservation. Nothing herein shall impair or modify

the application of section 507(b) of the Bankruptcy Code in the event that the adequate protection

provided to the Prepetition Secured Parties hereunder is insufficient to compensate for any

Diminution in Value of their respective interests in the Prepetition Collateral during the Cases or

any Successor Cases. The receipt by the Prepetition Secured Parties of the adequate protection




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provided herein shall not be deemed an admission that the interests of the Prepetition Secured

Parties are adequately protected. Further, this Interim Order shall not prejudice or limit the rights

of the Prepetition Secured Parties to seek additional relief with respect to the use of Cash Collateral

or for additional adequate protection.

                11.     Budget. The use of Cash Collateral during the Specified Period is permitted

solely in accordance with a cash collateral budget (the “Budget”) approved by the Prepetition

Agents, 7 each in their sole discretion, subject to such variances as are permitted by this Interim

Order or agreed to in writing by the Prepetition Agents. A copy of the initial approved Budget is

attached hereto as Exhibit 1. The Budget shall depict, on a weekly basis and line item basis (i)

projected cash receipts, (ii) projected disbursements (including ordinary course operating

expenses, bankruptcy-related expenses (including professional fees of the Debtors’ professionals

and advisors), asset sales and any other fees and expenses), and (iii) net cash flow, for the first

thirteen (13) week period from the Petition Date, and such initial Budget shall be approved by, and

in form and substance satisfactory to the Prepetition Agents, each in their sole discretion (it being

acknowledged and agreed that the initial Budget attached hereto is approved by and satisfactory

to the Prepetition Agents). The Budget shall be updated, modified, or supplemented by the Debtors

with the written consent of the Prepetition Agents, but in any event the Budget shall be updated

by the Debtors not less than one time in each four (4) consecutive week period, and each such

updated, modified, or supplemented budget shall be approved in writing (including by email) by,

and shall be in form and substance satisfactory to, the Prepetition Agents, each in their sole

discretion), and no such updated, modified, or supplemented budget shall be effective until so


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 For the avoidance of doubt, any reference to the consent rights of the Prepetition Term Loan Agent shall
mean the Prepetition Term Loan Agent acting at the direction of the Required Lenders (as defined in the
Prepetition Term Loan Agreement).


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approved, and once so approved shall be deemed the Budget; provided, however, that in the event

the Prepetition Agents, on the one hand, and the Debtors, on the other hand, cannot agree as to an

updated, modified or supplemented budget, the Debtors shall continue to operate under the most

recent prior-approved Budget and such disagreement shall give rise to an Event of Default once

the period covered by such prior Budget has terminated. Each Budget delivered to the Prepetition

Agents shall be accompanied by such customary supporting documentation as reasonably

requested by the Prepetition Agents and shall be prepared in good faith based upon assumptions

the Debtors believe to be reasonable at the time of delivery. A copy of any Budget (or updated

Budget once approved by the Prepetition Agents) shall simultaneously be delivered to the counsel

for a Committee (if appointed), and the U.S. Trustee. All Cash Collateral use must be strictly in

accordance with the terms of the Budget, subject to such variances as are permitted by this Interim

Order or agreed to in writing by the Prepetition Agents.

               12.    Covenants.

                      (a)     Budget Compliance. The Debtors shall not, without the consent of

the Prepetition Agents, permit (i) the actual Total Cash Receipts for any rolling two week period

to be less than 90% of the Total Cash Receipts set forth in the Budget for such period, (ii) the

actual GOB Disbursements for any rolling two week period to exceed 110% of the aggregate GOB

Disbursements set forth in the Budget for such period, (iii) the actual Operating Disbursements for

any rolling two week period to exceed 110% of the aggregate Operating Disbursements set forth

in the Budget for such period, or (iv) the actual Non-Operating Disbursements for any rolling two

week period to exceed 110% of the aggregate Non-Operating Disbursements set forth in the




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Budget for such period (with any unspent amounts in this subparagraph (iv) being carried forward

for subsequent periods).

                       (b)     Borrowing Base. Until the Prepetition ABL Obligations are Paid in

Full, the Debtors shall at all times maintain actual Total Excess ABL Availability After Covenant

(calculated in the manner set forth in the Borrowing Base Certificate attached to the Budget) in an

amount not less than $0, it being understood and agreed that the Availability Block set forth in the

Borrowing Base Certificate attached to the Budget shall be deemed to be $5,000,000 for each of

the weeks beginning March 8, 2020 and March 15, 2020. Until the Prepetition ABL Obligations

are Paid in Full, the Borrowing Base Certificate shall be updated and delivered weekly in

accordance with the requirements of an “Increased Reporting Event” as defined in the Prepetition

ABL Agreement. For the avoidance of doubt, the calculation of the Borrowing Base shall at all

times deduct the amount of the Carve Out Reserves. Until the Prepetition ABL Obligations are

Paid in Full, the Debtors shall deliver to the Prepetition Agents, by not later than Thursday of each

week, an updated Borrowing Base Certificate, substantially in the form attached hereto as Exhibit

2 (the “Borrowing Base Certificate”), and such Borrowing Base Certificate shall include such

detail as is reasonably satisfactory to the Prepetition Agents (it being agreed the detail required by

the Prepetition ABL Agreement shall be deemed so satisfactory).

                       (c)     Variance Testing. The Debtors shall, commencing with the week

beginning March 15, 2020, deliver to the Prepetition Agents, by not later than Thursday of each

week, a certificate, substantially in the form attached hereto as Exhibit 3 (the “Budget Variance

Certificate”) and such Budget Variance Certificate shall include such detail as is reasonably

satisfactory to the Prepetition Agents, showing a reconciliation for the prior two week cumulative

period, and certifying that (i) the Debtors are in compliance with the covenants contained in this




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Section 12 and (ii) to the knowledge of the Debtors, no Event of Default hereunder has occurred

or, if such an Event of Default has occurred, specifying the nature and extent thereof and any

corrective action taken or proposed to be taken with respect thereto.

                       (d)     Consent Fee for Prepetition ABL Parties. The Debtors shall pay the

Prepetition ABL Agent, for the benefit of the Prepetition ABL Parties, a consent fee (“Consent

Fee”) in the amount of $150,000 per week until such time as the Prepetition ABL Obligations have

been repaid in full in cash (including principal, interest, fees, prepayment premiums, expenses,

indemnities, other than contingent indemnification obligations for which no claim has been

asserted), the cash collateralization of all treasury and cash management obligations, hedging

obligations, and bank product obligations, and the cancelation, replacement, backing, or cash

collateralization of letters of credit, in each case, in accordance with the terms of the Prepetition

ABL Documents. The Consent Fee shall be fully earned on Saturday of each week and shall be

paid to the Prepetition ABL Agent on the immediately following Tuesday and shall not be subject

to refund, offset or rebate under any circumstances.

                       (e)     Levin Sale Milestones. The Debtors shall achieve each of the

following milestones, if and when applicable (as the same may be extended from time to time with

the consent of the Prepetition ABL Agent (in its sole discretion), the “Levin Sale Milestones”), in

each case on terms and conditions, and subject to documentation in form and substance, reasonably

acceptable to the Prepetition ABL Agent in all respects:

                               (i)    On or before the date that is seven (7) days following the

Petition Date, the Debtors shall file a motion to approve the sale of the “Assets”, as such term is

defined in the Levin LOI (the “Levin Sale”), to the Buyer under the Levin LOI.




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                               (ii)    On or before the date that is seven (7) days following the

Petition Date, the Debtors shall enter into an asset purchase agreement with the Buyer under the

Levin LOI for the Levin Sale (the “Levin APA”).

                               (iii)   On or before the date that is twenty-nine (29) days following

the Petition Date, the Debtors shall receive an order from the Court approving the Levin Sale.

                               (iv)    On or before the date that is two (2) business days after the

order approving the Levin Sale, the Debtor shall have consummated the Levin Sale and the

proceeds thereof shall have been applied to the Prepetition ABL Obligations.

               13.     Modification of Automatic Stay. The automatic stay imposed under section

362(a)(2) of the Bankruptcy Code is hereby modified as necessary to effectuate all of the terms

and provisions of this Interim Order, including to: (a) permit the Debtors to grant the Adequate

Protection Liens and Adequate Protection Superpriority Claims; (b) permit the Debtors to perform

such acts as the Prepetition ABL Agent may reasonably request to assure the perfection and

priority of the liens granted herein; (c) permit the Debtors to incur all liabilities and obligations to

the Prepetition ABL Parties under this Interim Order; and (d) authorize the Debtors to pay, and the

Prepetition Secured Parties to retain and apply, payments made in accordance with the terms of

this Interim Order.

               14.     Protections of Rights of Prepetition Secured Parties.

                       (a)     Subject to the Intercreditor Agreement, unless the Prepetition ABL

Agent and Prepetition Term Loan Agent have each provided their respective prior written consent,

or all Prepetition ABL Obligations and Prepetition Term Loan Obligations (excluding contingent

indemnification obligations for which no claim has been asserted) have been Paid in Full, the

Debtors shall neither seek entry of, nor support any motion or application seeking entry of, and




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otherwise shall object to any motion or application seeking entry of, any order (other than this

Interim Order or the Final Order, but including any order confirming any plan of reorganization or

liquidation) that authorizes any of the following: (i) the obtaining of credit or the incurring of

indebtedness that is secured by a security, mortgage, or collateral interest or other Lien on all or

any portion of the Postpetition Collateral or Prepetition Collateral and/or that is entitled to

administrative priority status, in each case that is superior to or pari passu with the Prepetition

Liens, the Prepetition Adequate Protection Liens, and/or the Adequate Protection Superpriority

Claims except as expressly set forth in this Interim Order; (ii) the use of Cash Collateral for any

purpose other than as permitted in this Interim Order (including any use in accordance with the

Budget, subject to variances permitted by this Interim Order); (iii) the return of goods pursuant to

section 546(h) of the Bankruptcy Code (or other return of goods on account of any prepetition

indebtedness) to any creditor of any Debtor or any creditor’s taking any setoff or recoupment

against any of its prepetition indebtedness based upon any such return of goods pursuant to section

553 of the Bankruptcy Code or otherwise; or (iv) any modification of any of the Prepetition

Secured Parties’ rights under this Interim Order, the Prepetition ABL Documents, or the

Prepetition Term Loan Documents with respect any Prepetition ABL Obligations or Prepetition

Term Loan Obligations. It shall be an Event of Default under this Interim Order if, in any of these

Cases or any Successor Cases, the Debtors take or take to take any of the actions contemplated

with respect to provisions (i) through (iv) of the previous sentence or if any order is entered

granting any of the relief enumerated in provisions (i) through (iv) of the previous sentence.

                       (b)    The Debtors shall (i) maintain books, records, and accounts to the

extent and as required by the Prepetition Documents (and subject to the applicable grace periods

set forth therein); (ii) reasonably cooperate with, consult with, and provide to the Prepetition




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Agents, as applicable, all such information and documents that any or all of the Debtors are

obligated (including upon reasonable request by any of the Prepetition Agents, as applicable) to

provide under the Prepetition Documents, or the provisions of this Interim Order; (iii) upon

reasonable advance notice, permit the Prepetition Agents to visit and inspect any of the Debtors’

respective properties, to examine and make abstracts or copies from any of their respective books

and records, to tour the Debtors’ business premises and other properties, and to discuss, and

provide advice with respect to, their respective affairs, finances, properties, business operations,

and accounts with their respective officers, employees, independent public accountants, and other

professional advisors (other than legal counsel) as and to the extent required by the Prepetition

Documents; (iv) permit the Prepetition Agents to consult with the Debtors’ management and

advisors on matters concerning the Debtors’ businesses, financial condition, operations, and assets;

and (v) upon reasonable advance notice, permit the Prepetition Agents to conduct, at their

discretion and at the Debtors’ cost and expense, field audits, collateral examinations, liquidation

valuations, and inventory appraisals at reasonable times in respect of any or all of the Postpetition

Collateral and Prepetition Collateral, in each case, in accordance with the Prepetition Documents.

               15.     Credit Bidding. No Debtor shall object to any Prepetition ABL Parties

credit bidding up to the full amount of the applicable outstanding Prepetition ABL Obligations, or

with respect to the Prepetition Term Loan Parties, credit bidding up to the full amount of the

applicable outstanding Prepetition Term Loan Obligations, in each case including any accrued

interest, fees, and expenses, in any sale of any Prepetition Collateral, as applicable, whether such

sale is effectuated through sections 363 or 1129 of the Bankruptcy Code, by a Chapter 7 trustee

under section 725 of the Bankruptcy Code, or otherwise, to the extent permitted by section 363(k)

of the Bankruptcy Code, and subject in each case to the rights, duties, and limitations, as




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applicable, of the parties under the Intercreditor Agreement, Prepetition Documents and to the

provision of consideration sufficient to pay in full in cash any senior liens on the collateral that is

subject to the credit bid.

                16.     Proceeds of Subsequent Financing.         If the Debtors, any trustee, any

examiner with expanded powers, or any responsible officer subsequently appointed in these Cases

or any Successor Cases, shall obtain credit or incur debt pursuant to sections 364(b), 364(c), or

364(d) of the Bankruptcy Code at any time prior to the Prepetition Obligations being Paid in Full,

including subsequent to the confirmation of any plan with respect to any or all of the Debtors and

the Debtors’ estates, and such facilities are secured by any Prepetition Collateral or Postpetition

Collateral, then all the cash proceeds derived from such credit or debt shall immediately be turned

over to the Prepetition ABL Agent (or, following the Prepetition ABL Obligations being Paid in

Full, to the Prepetition Term Loan Agent) to be applied in accordance with this Interim Order and

the Intercreditor Agreement.

                17.     Cash Collection. From and after the date of the entry of this Interim Order,

all collections and proceeds of any Postpetition Collateral and Prepetition Collateral and all Cash

Collateral (that does not constitute Prepetition or Postpetition Term Priority Collateral) that shall

at any time come into the possession, custody, or control of any Debtor, or to which any Debtor is

now or shall become entitled at any time, shall be promptly deposited in the same lock-box and/or

deposit accounts into which the collections and proceeds of the Prepetition ABL Priority Collateral

were deposited under the Prepetition Documents (or in such other accounts as are designated by

the Prepetition ABL Agent from time to time) (collectively, the “Cash Collection Accounts”),

which accounts shall, until the Prepetition ABL Obligations are Paid in Full, be subject to the sole

dominion and control of the Prepetition ABL Agent and any amounts deposited into the Cash




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Collection Accounts shall be deemed to be Postpetition ABL Priority Collateral. Proceeds and

other amounts in the Cash Collection Accounts shall be used, subject to the conditions set forth

herein, to fund the Budget during the Specified Period, and the Debtors are authorized to pay to

the Prepetition ABL Agent, and the Prepetition ABL Agent is authorized to apply, amounts in

excess thereof in accordance with the Budget until the Prepetition ABL Obligations are Paid in

Full. In furtherance of the foregoing, each Thursday during the Specified Period the Debtors shall

deliver to the Prepetition Agents a schedule of all proposed disbursements for the following seven

(7) day period (each a “Disbursement Schedule”), including identification of which line item(s) in

the Budget such proposed disbursements relate to. Upon the Prepetition ABL Agent’s receipt of

a written cash collateral draw request (each a “CC Draw Request,” which shall be delivered to the

Prepetition Term Loan Agent at the same time such CC Draw Request is delivered to the

Prepetition ABL Agent) (which may be made on a daily basis), and following verification of

conformity with the associated Disbursement Schedule and Budget, the Prepetition ABL Agent

shall disburse funds from the Cash Collection Account as appropriate to fund the amounts

specified in the CC Draw Request; provided that, during the period prior to the Prepetition ABL

Obligations being Paid in Full, the Prepetition ABL Agent shall only be required to disburse funds

if the Debtors are in compliance with the provisions of this Interim Order (including, without

limitation, that after giving effect to such disbursement, actual Total Excess ABL Availability

After Covenant at such time (calculated in the manner as set forth in the Borrowing Base

Certificate attached to the Budget) shall not be less than $0). For the avoidance of doubt, it shall

be a condition to the Debtors’ ability to access and use the Prepetition Secured Parties’ Cash

Collateral that they submit to the Prepetition ABL Agent the CC Draw Request and associated

Disbursement Schedule in the manner and time provided herein. In addition to the foregoing, the




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Prepetition ABL Agent (or the Prepetition Term Loan Agent, after the Prepetition ABL

Obligations are Paid In Full) is authorized to debit the Debtors’ accounts and apply Cash Collateral

on deposit therein in an amount sufficient to maintain the “Ending Balance” set forth in the Budget

for any applicable weekly period (at the end of the relevant week) and, until the Prepetition ABL

Obligations are Paid in Full, the Prepetition ABL Agent is authorized to debit the Debtors’

accounts and apply Cash Collateral on deposit therein in an amount such that actual Total Excess

ABL Availability After Covenant at such time (calculated in the manner as set forth in the

Borrowing Base Certificate attached to the Budget) shall not be less than $0. Until the Prepetition

ABL Obligations are Paid in Full, unless otherwise agreed to in writing by the Prepetition ABL

Agent or otherwise provided for herein, the Debtors shall maintain no accounts except those

identified in any cash management order entered by the Court (a “Cash Management Order”). The

Debtors and the financial institutions where the Debtors’ Cash Collection Accounts are maintained

(including those accounts identified in any Cash Management Order), are authorized to remit,

without offset or deduction, funds in such Cash Collection Accounts upon receipt of any direction

to that effect from the Prepetition ABL Agent (or the Prepetition Term Loan Agent, after the

Prepetition ABL Obligations are Paid in Full), in each case, to the extent such direction is made in

accordance with this Interim Order. The Debtors shall cause the proceeds of Prepetition and

Postpetition Term Priority Collateral as identified by the Consultant to be deposited into a

segregated, non-commingled account which is required to be subject to the control of the

Prepetition Term Loan Agent, and the Debtors’ use of such proceeds shall be subject to (and

limited to the extent set forth in) this Interim Order but, for the avoidance of doubt, may be used

in accordance with the Budget, subject to variances permitted by this Interim Order.




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               18.     Maintenance of Collateral. Until all Prepetition ABL Obligations are Paid

in Full, the Debtors shall: (a) insure the Postpetition Collateral and Prepetition Collateral as

required under the Prepetition Documents; and (b) maintain the cash management system in effect

as of the Petition Date, as may be modified with the consent of the Prepetition Agents (such consent

not to be unreasonably withheld) or as a result of entry of any order by the Court.

               19.     Disposition of Collateral.     The Debtors shall not sell, transfer, lease,

encumber, or otherwise dispose of any portion of the Postpetition Collateral or Prepetition

Collateral other than in the ordinary course of business and in accordance with the Consulting

Agreement and the Levin APA, without (subject to the Intercreditor Agreement) the prior written

consent of the Prepetition ABL Agent (with respect to Postpetition ABL Priority Collateral) or the

Prepetition Term Loan Agent (with respect to Postpetition Term Priority Collateral), and no such

consent shall be implied, from any other action, inaction or acquiescence by the Prepetition

Secured Parties or from any order of this Court.

               20.     Events of Default. The occurrence of any of the following events, unless

consented to or waived by the Prepetition Agents in advance, in writing, each in their sole and

absolute discretion, shall constitute an event of default (collectively, the “Events of Default”):

                       (a)     the failure of the Debtors to perform, in any respect, any of the

terms, provisions, conditions, covenants, or obligations under this Interim Order (including,

without limitation, the Covenants in paragraph 12 herein and the payment of all amounts to the

Prepetition Secured Parties authorized hereunder);

                       (b)     the failure of the Debtors to obtain a Final Order on the Motion on

terms acceptable to the Prepetition Agents on or before 30 days after the Petition Date;

                       (c)     the failure by the Debtors to continue sales of the Assets in




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accordance with the Consulting Agreement and to assume the Consulting Agreement on a timely

basis;

                       (d)     the filing of a motion or any plan of reorganization or disclosure

statement attendant thereto by and of the Debtors: (i) to obtain additional financing under section

364(d) of the Bankruptcy Code not otherwise permitted pursuant to this Interim Order; (ii) to grant

any lien other than Permitted Prior Liens upon or affecting any Postpetition Collateral; or (iii)

except as provided in this Interim Order, to use Cash Collateral under section 363(c) of the

Bankruptcy Code;

                       (e)     (i) the filing of any Prohibited Plan (as defined herein) or disclosure

statement attendant thereto, or any direct or indirect amendment to such chapter 11 plan or

disclosure statement, by a Debtor, (ii) the entry or request for entry of any order terminating any

Debtor’s exclusive right to file a chapter 11 plan (unless actively contested by the Debtors) or (iii)

the expiration of any Debtor’s exclusive right to file a chapter 11 plan;

                       (f)     the entry of an order in any of the Cases confirming a Prohibited

Plan;

                       (g)     the entry of an order amending, supplementing, staying, vacating or

otherwise modifying this Interim Order or the Cash Management Order, the filing by a Debtor of

a motion for reconsideration with respect to this Interim Order or the Cash Management Order, or

the Interim Order shall cease to be in full force and effect;

                       (h)     the payment of, or application by the Debtors for authority to pay,

any prepetition claim unless in accordance with the Budget, subject to variances permitted by this

Interim Order;

                       (i)     the appointment of an interim or permanent trustee in the Cases, the




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appointment of a receiver, receiver and manager, interim receiver or similar official over any

substantial portion of the assets of the Debtors, or the appointment of a trustee receiver or an

examiner in the Cases with expanded powers to operate or manage the financial affairs, the

business, or reorganization of the Debtors;

                       (j)    the filing of a motion to approve a Prohibited Sale or to sell all or

substantially all of the Debtors’ assets other than in accordance with the Consulting Agreement or

the Levin LOI;

                       (k)    the dismissal of any Case, or the conversion of any Case from one

under Chapter 11 to one under Chapter 7 of the Bankruptcy Code or any Debtor filing a motion or

other pleading seeking the dismissal of the Cases under section 1112 of the Bankruptcy Code or

otherwise or the conversion of the Cases to Chapter 7 of the Bankruptcy Code;

                       (l)    the filing of a motion seeking, or the Court shall enter an order

granting, relief from or modifying the automatic stay of section 362 of the Bankruptcy Code (i) to

allow any creditor (other than the Prepetition ABL Agent and, subject to the Intercreditor

Agreement, the Prepetition Term Loan Agent) to execute upon or enforce a lien on any Postpetition

Collateral or Prepetition Collateral, (ii) approving any settlement or other stipulation with any

secured creditor of any Debtor providing for payments as adequate protection or otherwise to such

secured creditor, or (C) with respect to any lien on or the granting of any lien on any Postpetition

Collateral or the Prepetition Collateral to any federal, state or local environmental or regulatory

agency or authority, which in either case involves a claim of $250,000 or more;

                       (m)    the existence of any claim or charges, or the entry of any order of

the Court authorizing any claims or charges, entitled to superpriority administrative expense claim

status in any Case pursuant to section 364(c)(1) of the Bankruptcy Code pari passu with or senior




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to the claims of the Prepetition Secured Parties under this Interim Order, or there shall arise or be

granted by the Court (i) any claim having priority over any or all administrative expenses of the

kind specified in clause (b) of section 503 or clause (b) of section 507 of the Bankruptcy Code or

(ii) any lien on the Postpetition Collateral or the Prepetition Collateral having a priority senior to

or pari passu with the liens and security interests granted herein, except, in each case, as expressly

provided in this Interim Order;

                       (n)     the Debtors shall file, or any Debtor shall fail to contest in good faith

the filing of, a motion or entry of an order materially adversely impacting the rights and interests

of the Prepetition Secured Parties shall have been entered by the Court or any other court of

competent jurisdiction;

                       (o)     any Debtor shall challenge, support or encourage a challenge of any

payments made to any Prepetition ABL Party with respect to the Prepetition ABL Obligations;

                       (p)     any Debtors shall challenge, support or encourage a challenge of any

payments made to any Prepetition Term Loan Party with respect to the Prepetition Term Loan

Obligations;

                       (q)     the entry of any order by the Court granting, or the filing by any

Debtor of any motion or other request with the Court seeking authority to use cash proceeds of any

of the Postpetition Collateral or Prepetition Collateral other than as set forth in this Interim Order

or to obtain any financing under section 364(d) of the Bankruptcy Code;

                       (r)     any Debtor or any person on behalf of any Debtor shall file any

motion seeking authority to consummate a sale of assets, other than in connection with the

Consulting Agreement or the Levin APA, with respect to Postpetition Collateral or Prepetition




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Collateral having a value in excess of $250,000 outside the ordinary course of business and not

otherwise permitted hereunder;

                       (s)     any Debtor shall make any payment (whether by way of adequate

protection or otherwise) of principal or interest or otherwise provide any credit on account of any

prepetition indebtedness or payables other than payments (i) under customary “first day orders” as

approved by the Prepetition Agents in writing (provided that this Interim Order and all orders

relating to cash management shall be acceptable to the Prepetition Agents) and (ii) payments

approved (A) by the Court or (B) by the Prepetition Agents in writing, in each case in accordance

with the Budget, subject to variances permitted by this Interim Order;

                       (t)     any Debtor shall fail to contest in good faith a request to take any

action that if taken by the Debtor would constitute an event of default under this paragraph 20;

                       (u)     the automatic stay shall be modified, reversed, revoked or vacated

in a manner that has a material adverse impact on the rights and interests of the Prepetition Agents

or the Prepetition Secured Parties.

               21.     Rights and Remedies Upon Event of Default.             Immediately upon the

occurrence and during the continuation of an Event of Default under this Interim Order,

notwithstanding the provisions of section 362 of the Bankruptcy Code, without any application,

motion, or notice to, hearing before, or order from the Court, but subject to the terms of this Interim

Order (and the Remedies Notice Period), (a) (i) the Prepetition ABL Agent may declare (any such

declaration delivered by the Prepetition ABL Agent or the Prepetition Term Loan Agent, as

applicable, shall be referred to herein as a “Termination Declaration”) (A) all Prepetition ABL

Obligations owing under the Prepetition ABL Documents to be immediately due and payable, and

(B) that the application of the Carve Out has occurred through the delivery of the Carve Out




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Trigger Notice (as defined herein); and (ii) the Prepetition ABL Agent may declare a termination,

reduction, or restriction on the ability of the Debtors to use Cash Collateral, and (b) the Prepetition

Term Loan Agent may (i) declare a termination, reduction, or restriction on the ability of the

Debtors to use Cash Collateral that is Postpetition Term Priority Collateral and (ii) after the

Prepetition ABL Obligations have been Paid in Full, declare a termination, reduction, or restriction

on the ability of the Debtors to use Cash Collateral (the date a Termination Declaration is delivered

shall be referred to herein as the “Termination Date”). The Termination Declaration shall be given

by electronic mail (or other electronic means) to counsel to the Debtors, counsel to a Committee

(if appointed), the Prepetition ABL Agent (if delivered by the Prepetition Term Loan Agent), the

Prepetition Term Loan Agent (if delivered by the Prepetition ABL Agent), and the U.S. Trustee.

The automatic stay in the Cases otherwise applicable to the Prepetition ABL Parties is hereby

modified so that five (5) business days after the date a Termination Declaration is delivered (the

“Remedies Notice Period”), the Prepetition ABL Parties shall be entitled to exercise their rights

and remedies in accordance with the Prepetition ABL Documents and this Interim Order to satisfy

the Prepetition ABL Obligations, Prepetition ABL Superpriority Claims, and Prepetition ABL

Adequate Protection Liens, subject to the Carve Out (to the extent applicable). During the

Remedies Notice Period, the Debtors and/or a Committee (if appointed) shall be entitled to seek

an emergency hearing within the Remedies Notice Period with the Court. Upon expiration of the

Remedies Notice Period, unless the Court orders otherwise, the automatic stay, as to the Prepetition

ABL Parties, shall automatically be terminated without further notice or order and the Prepetition

ABL Parties shall be permitted to exercise all remedies set forth herein, in the Prepetition

Documents, and as otherwise available at law without further order of or application or motion to

the Court consistent with the Intercreditor Agreement and this Interim Order. Upon the occurrence




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and during the continuation of an Event of Default, in each case, subject to the Intercreditor

Agreement and paragraph 32, the Prepetition ABL Agent and any liquidator or other professional

will have the right to access and utilize, at no cost or expense, any trade names, trademarks,

copyrights or other intellectual property and any warehouse, distribution centers, store or other

locations to the extent necessary or appropriate in order to sell, lease or otherwise dispose of any

of the Postpetition ABL Priority Collateral, including pursuant to any Court approved sale process.

               22.     Prepetition Secured Parties’ Expenses. The Debtors are authorized to pay,

in accordance with this Interim Order, all reasonable and documented prepetition and postpetition

fees and out-of-pocket expenses of (a) the Prepetition ABL Agent (limited in the case of counsel,

to all reasonable and documented out of pocket fees, costs, disbursements and expenses of Morgan,

Lewis & Bockius LLP and Burr & Forman LLP, and any successor counsel) and, (b) solely from

the proceeds of Postpetition Term Priority Collateral, the Prepetition Term Loan Agent (limited in

the case of counsel, to all reasonable and documented out of pocket fees, costs, disbursements and

expenses of Riemer & Braunstein LLP and Greenberg Traurig, LLP, and any successor counsel).

Payment of all such fees and expenses shall not be subject to allowance by the Court. Professionals

for the Prepetition Agents shall not be required to comply with the U.S. Trustee fee guidelines,

provided, however that any time such professionals seek payment of fees and expenses from the

Debtors that were incurred after the Petition Date, each professional shall provide summary copies

of its fee and expense statements or invoices (which shall not be required to contain time entries

and which may be redacted or modified to the extent necessary to delete any information subject

to the attorney-client privilege, any information constituting attorney work product, or any other

confidential information, and the provision of such invoices shall not constitute any waiver of the

attorney client privilege or of any benefits of the attorney work product doctrine) to the U.S.




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Trustee and counsel for a Committee (if appointed) contemporaneously with the delivery of such

summary fee and expense statements to the Debtors. Any objections raised by the Debtors, the

U.S. Trustee, or a Committee (if appointed) with respect to such invoices within ten (10) days of

the receipt thereof will be subject to resolution by the Court to the extent they cannot be resolved

by the applicable parties. Pending such resolution, the undisputed portion of any such invoice will

be paid promptly by the Debtors. Notwithstanding the foregoing, the Debtors are authorized to

pay upon entry of this Interim Order all reasonable and documented fees, costs, and out-of-pocket

expenses of the Prepetition ABL Parties as provided in the Prepetition ABL Documents, incurred

on or prior to such date without the need for any professional engaged by the Prepetition ABL

Parties to first deliver a copy of its invoice as provided for herein. No attorney or advisor to any

Prepetition ABL Party shall be required to file an application seeking compensation for services

or reimbursement of expenses with the Court.

               23.     Proofs of Claim. Notwithstanding any order entered by this Court in

relation to the establishment of a bar date in any of the Cases or any Successor Cases to the

contrary, the Prepetition ABL Parties and the Prepetition Term Loan Parties will not be required

to file proofs of claim in any of the Cases or Successor Cases for any claims arising under the

Prepetition ABL Documents or the Prepetition Term Loan Documents. The Debtors’ stipulations,

admissions, and acknowledgments and the provisions of this Interim Order shall be deemed to

constitute a timely filed proof of claim for the Prepetition ABL Parties and the Prepetition Term

Loan Parties with regard to all claims arising under the Prepetition ABL Documents or the

Prepetition Term Loan Documents, as the case may be. Notwithstanding the foregoing, the

Prepetition ABL Agent on behalf of itself and the Prepetition ABL Parties, and the Prepetition

Term Loan Agent on behalf of itself and the Prepetition Term Loan Parties, are hereby authorized




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and entitled, in their sole discretion, but not required, to file (and amend and/or supplement, as it

sees fit) a proof of claim and/or aggregate or master proofs of claim in each of the Cases or

Successor Cases for any claim described herein (with any such aggregate or master proof of claim

filed in any of the Cases deemed to be filed in all Cases of each of the Debtors and asserted against

all of the applicable Debtors). Any proof of claim filed by the Prepetition ABL Agent or the

Prepetition Term Loan Agent shall be deemed to be in addition to and not in lieu of any other proof

of claim that may be filed by any of the Prepetition ABL Parties or Prepetition Term Loan Parties.

Any order entered by the Court in relation to the establishment of a bar date in any of the Cases or

Successor Cases shall not apply to any claim of the Prepetition ABL Parties or the Prepetition

Term Loan Parties. The provisions set forth in this paragraph are intended solely for the purpose

of administrative convenience and shall not affect the substantive rights of any party-in-interest or

their respective successors-in-interest.

               24.     Carve Out.

                       (a)     Carve Out. As used in this Interim Order, the “Carve Out” means

(i) all fees required to be paid to (A) the Clerk of the Court and (B) the Office of the United States

Trustee under section 1930(a) of title 28 of the United States Code; (ii) all reasonable fees and

expenses up to $50,000 (and any interest thereon) incurred by a trustee under section 726(b) of the

Bankruptcy Code (the “Chapter 7 Trustee Carve Out”); (iii) to the extent allowed at any time

(regardless of whether allowed by the Court prior to or after delivery of a Carve Out Trigger Notice

(as defined below)), whether by interim order, procedural order, or otherwise, all accrued and

unpaid fees and expenses incurred by persons or firms retained by the Debtors pursuant to sections

327, 328 or 363 of the Bankruptcy Code (the “Debtor Professionals”) and a Committee (if

appointed) pursuant to sections 328 or 1103 of the Bankruptcy Code (the “Committee




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Professionals” and, together with the Debtor Professionals, the “Professional Persons”) (such fees

and expenses, the “Allowed Professional Fees”) at any time on or prior to the first business day

following delivery by the Prepetition ABL Agent of a Carve Out Trigger Notice (as defined

herein), provided that the amount of such Allowed Professional Fees shall, as relates to the

Prepetition ABL Parties, the Prepetition ABL Priority Collateral and the Postpetition ABL Priority

Collateral, not exceed, at any time, the amount set forth for Allowed Professional Fees in the

Budget at such time (the “ABL Professional Fee Cap”); and (iv) Allowed Professional Fees of

Professional Persons in an aggregate amount not to exceed $500,000 incurred after the first

business day following delivery by the Prepetition ABL Agent of the Carve Out Trigger Notice,

to the extent allowed at any time, whether by interim order, procedural order or otherwise (the

amounts set forth in this clause (iv) being the “Post Carve Out Trigger Notice Cap”). For purposes

of the foregoing, “Carve Out Trigger Notice” shall mean a written notice delivered by email (or

other electronic means) by the Prepetition ABL Agent to lead restructuring counsel for the

Debtors, the U.S. Trustee, and lead counsel to a Committee (if appointed), which notice may be

delivered following the occurrence and during the continuation of an Event of Default (as defined

herein), stating that the Post-Carve Out Trigger Notice Cap has been invoked. Each Professional

Person shall deliver bi-weekly (on Thursday of each such week, beginning on the second Thursday

following the Petition Date) to the Debtors (and the Debtors shall cause the same to be delivered

to the Prepetition Agents on the same day received by the Debtors) a statement setting forth a

good-faith estimate of the amount of fees and expenses incurred during the preceding week by

such Professional Persons (through Saturday of such week).

                      (b)     Carve Out Reserves. On the day on which a Carve Out Trigger

Notice is given by the Prepetition ABL Agent (the “Termination Declaration Date”), the Carve




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Out Trigger Notice shall be deemed a demand to the Debtors, and authorization for the Debtors,

to utilize cash on hand and proceeds of the Postpetition Collateral to fund a reserve in an amount

equal to the Carve Out. The Debtors shall deposit and hold such amounts in a segregated account

at the Prepetition ABL Agent in trust exclusively to pay such unpaid Allowed Professional Fees

(each, a “Carve Out Reserves”). For the avoidance of doubt, the Carve Out Reserves shall

constitute the primary source for payment of Allowed Professional Fees entitled to benefit from

the Carve Out, and any lien priorities or superpriority claims granted pursuant to this Interim Order

or the Final Order to secure payment of the Carve Out shall be limited to the Carve Out Reserves,

once funded.

                               Following payment of all Allowed Professional Fees entitled to

benefit from the Carve Out, any remaining funds in the Carve-Out Reserves funded by (x) the

proceeds of Postpetition ABL Priority Collateral shall be distributed (A) first, to the Prepetition

ABL Agent on account of the Obligations (as defined in the Prepetition ABL Agreement) until

such obligations have been Paid in Full, and (B) second, to the Prepetition Term Loan Agent on

account of the Obligations (as defined in the Prepetition Term Loan Agreement) until such

obligations have been Paid in Full; and (y) the proceeds of Postpetition Term Priority Collateral

shall be distributed (A) first, to the Prepetition Term Loan Agent which shall apply such funds to

the Obligations (as defined in the Prepetition Term Loan Agreement) in accordance with the

Prepetition Term Loan Agreement until such obligations have been Paid in Full, and (B) second,

to the Prepetition ABL Administrative Agent on account of the Obligations (as defined in the

Prepetition ABL Agreement) until such obligations have been Paid in Full.

                               Notwithstanding anything to the contrary in this Interim Order,

following the end of the third business day after delivery of a Carve Out Trigger Notice, (x) the




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Prepetition ABL Agent shall not sweep or foreclose on cash (including cash received as a result of

the sale or other disposition of any assets) of the Debtors until the Carve Out Reserves have been

fully funded, but the Prepetition ABL Agent, on the one hand, and the Prepetition Term Loan

Agent, on the other hand, shall have a security interest in any residual interests in the Carve Out

Reserves, with any excess paid as provided above; and (y) the Prepetition Term Loan Agent shall

not sweep or foreclose on cash (including cash received as a result of the sale or other disposition

of any assets) of the Debtors until the Carve Out Reserves required to be funded by the proceeds

of Postpetition Collateral have been fully funded, but shall have a security interest in any residual

interest in the Carve Out Reserves held in accounts by the Prepetition Term Loan Agent, with any

excess paid as provided above.

                               For the avoidance of doubt and notwithstanding anything to the

contrary herein or in any Prepetition Secured Facilities, to the extent of any shortfall in the Carve

Out Reserves, the Carve Out shall be senior to all liens and claims securing the Adequate

Protection Liens and any and all other forms of adequate protection, liens, or claims securing the

obligations under the Prepetition Documents; provided that in all cases, the Carve Out priority

with regard to the Prepetition ABL Priority Collateral and the Postpetition ABL Priority Collateral

will always be subject to the limitations applicable thereto set forth in the definition of Carve Out.

                       (c)     No Direct Obligation To Pay Allowed Professional Fees. The

Prepetition Secured Parties shall not be responsible for the payment or reimbursement of any fees

or disbursements of any Professional Person incurred in connection with the Chapter 11 Cases or

any Successor Cases under any chapter of the Bankruptcy Code. Nothing in this Interim Order or

otherwise shall be construed to obligate the Prepetition Secured Parties in any way, to pay

compensation to, or to reimburse expenses of, any Professional Person or to guarantee that the




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Debtors have sufficient funds to pay such compensation or reimbursement.

                        (d)    Payment of Allowed Professional Fees Prior to the Termination

Declaration Date.       Any payment or reimbursement made prior to the occurrence of the

Termination Declaration Date in respect of any Allowed Professional Fees shall not reduce the

Carve Out.

                        (e)    Payment of Carve Out On or After the Termination Declaration

Date. Any payment or reimbursement made on or after the occurrence of the Termination

Declaration Date in respect of any Allowed Professional Fees shall permanently reduce the Carve

Out on a dollar-for-dollar basis.

                        (f)    Release of Prepetition ABL Parties. Notwithstanding anything to

the contrary contained herein, (i) prior to the delivery of the Carve Out Trigger Notice, the Debtors

shall fund the Carve Out Reserves at the reasonable request of the Prepetition ABL Agent in

consultation with the Prepetition Term Loan Agent, the Debtors and their advisors, and (ii) upon

the repayment in full of the principal amount of all Loans under the Prepetition ABL Agreement,

the cash-collateralization of all Letters of Credit under the Prepetition ABL Agreement and the

funding of the Prepetition ABL Indemnity Reserve (the date that such events occur, the “ABL

Repayment Date”), and after the funding of the Carve Out Reserves in an amount equal to, as of

the ABL Repayment Date, the lesser of (x) the amount set forth in the Budget for Professional

Persons (plus the amounts set forth in 24(a)(i) and (ii)) and (y) the then accrued Carve Out, the

Prepetition ABL Parties and the Prepetition ABL Liens shall be released from all further liability

from the Carve Out (such release shall be a condition to the Prepetition ABL Obligations being

deemed Paid in Full).




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               25.     Limitations on Use of Cash Collateral, and Carve Out. The Postpetition

Collateral, the Prepetition Collateral, the Cash Collateral, and the Carve Out may not be used in

connection with: (a) except to contest the occurrence of an Event of Default, preventing, hindering,

or delaying any of the Prepetition Secured Parties’ permitted enforcement or realization upon any

of the Postpetition Collateral or Prepetition Collateral; (b) using or seeking to use Cash Collateral

except as provided for in this Interim Order; (c) selling or otherwise disposing of Postpetition

Collateral without the consent of the Prepetition Agents; (d) using or seeking to use any insurance

proceeds constituting Prepetition Collateral or Postpetition Collateral except as provided for in this

Interim Order without the consent of the Prepetition ABL Agent or the Prepetition Term Loan

Agent (in the case of Postpetition Term Priority Collateral); (e) incurring Indebtedness (as defined

in the Prepetition Documents) without the prior consent of the Prepetition Agents; (f) seeking to

amend or modify any of the rights granted to the Prepetition Secured Parties under this Interim

Order or the Prepetition Documents, including seeking to use Cash Collateral and/or Collateral on

a contested basis; (g) objecting to or challenging in any way the Prepetition Liens, Prepetition

Secured Obligations, Collateral (including Cash Collateral) or, as the case may be, Prepetition

Collateral, or any other claims or liens, held by or on behalf of any of the Prepetition Secured

Parties, respectively; (h) asserting, commencing, or prosecuting any claims or causes of action

whatsoever, including any actions under Chapter 5 of the Bankruptcy Code or applicable state law

equivalents or actions to recover or disgorge payments, against any of the Prepetition Secured

Parties, or any of their respective affiliates, agents, attorneys, advisors, professionals, officers,

directors, and employees; (i) litigating, objecting to, challenging, or contesting in any manner, or

raising any defenses to, the validity, extent, amount, perfection, priority, or enforceability of any

of the Prepetition Liens, Prepetition Secured Obligations, or any other rights or interests of any of




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the Prepetition Secured Parties; or (j) seeking to subordinate, recharacterize, disallow, or avoid the

Prepetition Secured Obligations; provided, however, without prejudice to the ability of a

Committee (if appointed) to contest the Investigation Budget Amount (as defined herein) in

connection with the Final Hearing, that the Carve Out and such collateral proceeds may be used

for allowed fees and expenses, in an amount not to exceed, subject to the Final Order, $50,000 in

the aggregate (the “Investigation Budget Amount”), incurred solely by a Committee (if appointed),

in investigating (but not prosecuting or challenging), the Prepetition Lien and Claim Matters (as

defined herein).

               26.     Payment of Compensation. Nothing herein shall be construed as a consent

to the allowance of any professional fees or expenses of any Professional Person or shall affect the

right of the Prepetition Secured Parties to object to the allowance and payment of such fees and

expenses. So long as an unwaived Event of Default has not occurred, the Debtors shall be

permitted to pay fees and expenses allowed and payable by final order (that has not been vacated

or stayed, unless the stay has been vacated) under sections 328, 330, 331, and 363 of the

Bankruptcy Code, as the same may be due and payable, as reflected in the most recent Budget

provided by the Debtors to the Prepetition Agents.

               27.     Effect of Stipulations on Third Parties.

                       (a)     Generally. The admissions, stipulations, agreements, releases, and

waivers set forth in paragraph F of this Interim Order (collectively, the “Prepetition Lien and Claim

Matters”) are and shall be binding on the Debtors, any subsequent trustee, responsible person,

examiner with expanded powers, any other estate representative, and all creditors and parties in

interest and all of their successors in interest and assigns, including a Committee (if appointed),

unless and to the extent that a party in interest with proper standing granted by order of the




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Bankruptcy Court (or other court of competent jurisdiction) has properly filed an adversary

proceeding or contested matter under the Bankruptcy Rules (other than the Debtors, as to which

any Challenge (as defined below) is irrevocably waived and relinquished) and (i) has timely filed

the appropriate pleadings, and timely commenced the appropriate proceeding required under the

Bankruptcy Code and Bankruptcy Rules, including as required pursuant to Part VII of the

Bankruptcy Rules (in each case subject to the limitations set forth in this paragraph 27) challenging

the Prepetition Lien and Claim Matters (each such proceeding or appropriate pleading

commencing a proceeding or other contested matter, a “Challenge”) by no later than the earlier of

(A) for a Committee (if appointed), sixty (60) days from the date of formation of the Committee

(if appointed), or (B) seventy-five (75) days following the entry of the Interim Order for any other

party in interest with requisite standing (the occurrence of (A) and (B), as applicable, the

“Challenge Deadline”), as such applicable date may be extended in writing from time to time in

the sole discretion of the Prepetition ABL Agent (with respect to the Prepetition ABL Documents)

and the Prepetition Term Loan Agent (with respect to the Prepetition Term Loan Documents), or

by this Court for good cause shown pursuant to an application filed by a party in interest prior to

the expiration of the Challenge Deadline, and (ii) this Court enters judgment in favor of the

plaintiff or movant in any such timely and properly commenced Challenge proceeding and any

such judgment has become a final judgment that is not subject to any further review or appeal.

                       (b)     Binding Effect. To the extent no Challenge is timely and properly

commenced by the Challenge Deadline, or to the extent such proceeding does not result in a final

and non-appealable judgment or order of this Court that is inconsistent with the Prepetition Lien

and Claim Matters, then, without further notice, motion, or application to, order of, or hearing

before, this Court and without the need or requirement to file any proof of claim, the Prepetition




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Lien and Claim Matters shall, pursuant to this Interim Order, become binding, conclusive, and

final on any person, entity, or party in interest in the Cases, and their successors and assigns, and

in any Successor Case for all purposes and shall not be subject to challenge or objection by any

party in interest, including a trustee, responsible individual, examiner with expanded powers, or

other representative of the Debtors’ estates. Notwithstanding anything to the contrary herein, if

any such proceeding is properly and timely commenced, the Prepetition Lien and Claim Matters

shall nonetheless remain binding on all other parties in interest and preclusive as provided in

subparagraph (a) above except to the extent that any of such Prepetition Lien and Claim Matters

is expressly the subject of a timely and properly filed Challenge, which Challenge is successful as

set forth in a final judgment as provided in subparagraph (a) above, and only as to plaintiffs or

movants that have complied with the terms hereof. To the extent any such Challenge proceeding

is timely and properly commenced, the Prepetition Secured Parties, in accordance with paragraph

22, shall be entitled to payment of the related costs and expenses, including, but not limited to,

reasonable attorneys’ fees, incurred under the Prepetition Documents in defending themselves in

any such proceeding as adequate protection. Upon a successful Challenge brought pursuant to this

paragraph 27, the Court may fashion any appropriate remedy.

               28.     No Third Party Rights. Except as explicitly provided for herein, this

Interim Order does not create any rights for the benefit of any third party, creditor, equity holder

or any direct, indirect, or incidental beneficiary.

               29.     Section 506(c) Claims. Subject to entry of a Final Order, no costs or

expenses of administration which have been or may be incurred in the Cases at any time shall be

charged against the Prepetition Secured Parties or any of their respective claims, the Postpetition

Collateral, or the Prepetition Collateral pursuant to sections 105 or 506(c) of the Bankruptcy Code,




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or otherwise, without the prior written consent of the Prepetition Secured Parties, as applicable,

and no such consent shall be implied from any other action, inaction, or acquiescence by any such

parties.

               30.     No Marshaling/Applications of Proceeds. Subject to entry of a Final Order,

the Prepetition Secured Parties shall not be subject to the equitable doctrine of “marshaling” or

any other similar doctrine with respect to any of the Postpetition Collateral or the Prepetition

Collateral, as the case may be, and proceeds shall be received and applied pursuant to this Interim

Order, notwithstanding any other agreement or provision to the contrary.

               31.     Section 552(b). Subject to entry of a Final Order, the Prepetition Secured

Parties shall each be entitled to all of the rights and benefits of section 552(b) of the

Bankruptcy Code, and the “equities of the case” exception under section 552(b) of the Bankruptcy

Code shall not apply to the Prepetition Secured Parties, with respect to proceeds, products,

offspring or profits of any of the Prepetition Collateral.

               32.     Access to Collateral. Subject to and effective upon entry of a Final Order,

upon expiration of the Remedies Notice Period, the Prepetition Secured Parties, subject to the

Intercreditor Agreement, shall be permitted to (a) access and recover any and all Prepetition and

Postpetition Collateral, and (b) enter onto any leased premises of any Debtor and exercise all of

the Debtors’ rights and privileges as lessee under such lease in connection with an orderly

liquidation of the Postpetition Collateral, provided, however, in the case of clause (b),

notwithstanding anything to the contrary herein, and subject to the Intercreditor Agreement, the

Prepetition Secured Parties can only enter upon a leased premises during the continuation of an

Event of Default in accordance with (i) a separate written agreement by and between the

Prepetition Secured Parties, as applicable, and any applicable landlord, (ii) pre-existing rights of




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the Prepetition Secured Parties, as applicable, and any applicable landlord under applicable

non-bankruptcy law, (iii) consent of the applicable landlord, or (iv) entry of an order of this Court

obtained by motion of the applicable Prepetition Secured Party on such notice to the landlord as

shall be required by this Court; provided, however, that solely with respect to rent due to a landlord

of any such leased premises, the Prepetition Secured Parties, as applicable, shall be obligated only

to reimburse the Debtors for the payment of rent of the Debtors that first accrues after delivery of

the Termination Declaration in accordance with paragraph 21 herein that is payable during the

period of such occupancy by the Prepetition Secured Parties, as applicable, calculated on a daily

per diem basis; provided, further, that nothing herein shall relieve the Debtors of their obligations

pursuant to section 365(d)(3) of the Bankruptcy Code for the payment of rent that accrues prior to

delivery of the Termination Declaration through and including any assumption and/or rejection of

any lease. Nothing herein shall require the Prepetition Secured Parties to assume any lease as a

condition to the rights afforded in this paragraph.

               33.     Limits on Lender Liability. Subject to entry of a Final Order, nothing in

this Interim Order, the Prepetition Documents, or any other documents related thereto shall in any

way be construed or interpreted to impose or allow the imposition upon the Prepetition Secured

Parties of any liability for any claims arising from any activities by the Debtors in the operation of

their businesses or in connection with the administration of these Cases. The Prepetition Secured

Parties shall not, solely by reason of having made loans under the Prepetition Documents, be

deemed in control of the operations of the Debtors or to be acting as a “responsible person” or

“owner or operator” with respect to the operation or management of the Debtors (as such terms,

or any similar terms, are used in the United States Comprehensive Environmental Response,

Compensation and Liability Act, 42 U.S.C. §§ 9601 et seq., as amended, or any similar federal or




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state statute). Nothing in this Interim Order shall in any way be construed or interpreted to impose

or allow the imposition upon the Prepetition Secured Parties of any liability for any claims arising

from the prepetition or postpetition activities of any of the Debtors.

               34.     Insurance Proceeds and Policies. Upon entry of this Interim Order and to

the fullest extent provided by applicable law, the Prepetition ABL Agent (on behalf of the

Prepetition ABL Parties) and the Prepetition Term Loan Agent (on behalf of the Prepetition Term

Loan Parties), shall be, and shall be deemed to be, without any further action or notice, named as

additional insured and loss payee on each insurance policy maintained by the Debtors that in any

way relates to the Postpetition Collateral.

               35.     Additional Rights of the Prepetition Term Loan Agent. Subject to the

Prepetition ABL Obligations being Paid in Full and the rights preserved in paragraph 27 herein,

any reference in this Interim Order to the Prepetition ABL Agent agreeing to or having the right

to do, or refraining from or having the right to refrain from doing, an act, or providing any consent

or waiver hereunder, shall automatically, without further order of the Court, be construed as

referring to the Prepetition Term Loan Agent.

               36.     Joint and Several Liability. Nothing in this Interim Order shall be construed

to constitute a substantive consolidation of any of the Debtors’ estates, it being understood,

however, that the Debtors shall be jointly and severally liable for the obligations hereunder.

               37.     No Superior Rights of Reclamation. The right of a seller of goods to reclaim

such goods under section 546(c) of the Bankruptcy Code is not a Permitted Prior Lien; rather, any

such alleged claims arising or asserted as a right of reclamation (whether asserted under section

546(c) of the Bankruptcy Code or otherwise) shall have the same rights and priority with respect

to the Prepetition ABL Liens as such claim had on the Petition Date.




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               38.     Rights Preserved. Notwithstanding anything herein to the contrary, the

entry of this Interim Order is without prejudice to, and does not constitute a waiver of, expressly

or implicitly, subject to the Prepetition Documents and the Intercreditor Agreement: (a) the

Prepetition Secured Parties’ right to seek any other or supplemental relief in respect of the Debtors;

(b) any of the rights of any of the Prepetition Secured Parties under the Bankruptcy Code or under

non-bankruptcy law, including the right to (i) request modification of the automatic stay of section

362 of the Bankruptcy Code, (ii) request dismissal of any of the Cases or Successor Cases,

conversion of any of the Cases to cases under Chapter 7, or appointment of a Chapter 11 trustee

or examiner with expanded powers, or (iii) propose, subject to the provisions of section 1121 of

the Bankruptcy Code, a Chapter 11 plan or plans; or (c) any other rights, claims, or privileges

(whether legal, equitable, or otherwise) of any of the Prepetition Secured Parties. Notwithstanding

anything herein to the contrary, the entry of this Interim Order is without prejudice to, and does

not constitute a waiver of, expressly or implicitly, the Debtors’, a Committee’s (if appointed), or

any party in interest’s right to oppose any of the relief requested in accordance with the

immediately preceding sentence except as expressly set forth in this Interim Order. Entry of this

Interim Order is without prejudice to any and all rights of any party in interest with respect to the

terms and approval of the Final Order and, unless otherwise set forth in this Interim Order or the

Final Order, any other position which any party in interest deems appropriate to raise in the

Debtors’ Chapter 11 cases.

               39.     No Waiver by Failure to Seek Relief. The failure of the Prepetition Secured

Parties to seek relief or otherwise exercise their rights and remedies under this Interim Order, the

Prepetition Documents, or applicable law, as the case may be, shall not constitute a waiver of any

of the rights hereunder, thereunder, or otherwise of the Prepetition Secured Parties.




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               40.     Binding Effect of Interim Order. Immediately upon execution by this Court,

the terms and provisions of this Interim Order shall become valid and binding upon and inure to

the benefit of the Debtors, the Prepetition Secured Parties, all other creditors of any of the Debtors,

a Committee (if appointed), or any other court appointed committee, and all other parties-in-

interest and their respective successors and assigns, including any trustee or other fiduciary

hereafter appointed in any of the Cases, any Successor Cases, or upon dismissal of any Case or

Successor Case.

               41.     No Modification of Interim Order. Until and unless the Prepetition Secured

Obligations have been Paid in Full (such payment being without prejudice to any terms or

provisions contained in the Prepetition ABL Documents which survive such discharge by their

terms) the Debtors irrevocably waive the right to seek and shall not seek or consent to, directly or

indirectly: (a) without the prior written consent of the Prepetition Agents, (i) any modification,

stay, vacatur, or amendment to this Interim Order; or (ii) a priority claim for any administrative

expense or unsecured claim against the Debtors (now existing or hereafter arising of any kind or

nature whatsoever, including any administrative expense of the kind specified in sections 503(b),

506(c), 507(a), or 507(b) of the Bankruptcy Code) in any of the Cases or Successor Cases, equal

or superior to the Adequate Protection Superpriority Claims, other than the Carve Out; (b) without

the prior written consent of the Prepetition ABL Agent for any order allowing use of Cash

Collateral (other than as permitted during the Remedies Notice Period) resulting from Collateral

or Prepetition Collateral; or (c) without the prior written consent of the Prepetition Agents, any

lien on any of the Postpetition Collateral with priority equal or superior to the Prepetition Liens or

Adequate Protection Liens, other than the Carve Out. The Debtors irrevocably waive any right to

seek any amendment, modification, or extension of this Interim Order without the prior written




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consent, as provided in the foregoing, of the Prepetition Agents, and no such consent shall be

implied by any other action, inaction or acquiescence of the Prepetition ABL Agent or the

Prepetition Term Loan Agent.

               42.     Continuing Effect of Intercreditor Agreement. The Debtors and Prepetition

Secured Parties each shall be bound by, and be subject to all the terms, provisions and restrictions

of the Intercreditor Agreement.

               43.     Interim Order Controls. In the event of any inconsistency between the terms

and conditions of the Intercreditor Agreement and this Interim Order (solely as between the

Prepetition Secured Parties), the provisions of the Intercreditor Agreement shall govern and

control.

               44.     Discharge. The obligations of the Debtors with respect to the adequate

protection provided herein shall not be discharged by the entry of an order confirming any plan of

reorganization in any of the Cases, notwithstanding the provisions of section 1141(d) of the

Bankruptcy Code, unless such obligations have been Paid in Full, on or before the effective date

of such confirmed plan of reorganization, or each of the Prepetition ABL Agent and Prepetition

Term Loan Agent, as applicable, has otherwise agreed in writing. None of the Debtors shall

propose or support any plan of reorganization or sale of all or substantially all of the Debtors’

assets, or order confirming such plan or approving such sale, that does not require that all

Prepetition ABL Obligations be Paid in Full (in the case of the sale of Postpetition ABL Priority

Collateral) or that all Prepetition Term Loan Obligations be Paid in Full (in the case of the sale of

Postpetition Term Priority Collateral), and the payment of the Debtors’ obligations with respect to

the adequate protection provided for herein, in full in cash within a commercially reasonable period

of time (and in no event later than the effective date of such plan of reorganization or sale) (a




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“Prohibited Plan or Sale”) without the written consent of each of the Prepetition ABL Agent and

Prepetition Term Loan Agent, as applicable. For the avoidance of doubt, the Debtors’ proposal or

support of a Prohibited Plan or Sale, or the entry of an order with respect thereto, shall constitute

an Event of Default hereunder.

               45.     Survival. The provisions of this Interim Order and any actions taken

pursuant hereto shall survive entry of any order which may be entered: (a) confirming any plan of

reorganization in any of the Cases; (b) converting any of the Cases to a case under Chapter 7 of

the Bankruptcy Code; (c) dismissing any of the Cases or any Successor Cases; or (d) pursuant to

which this Court abstains from hearing any of the Cases or Successor Cases. The terms and

provisions of this Interim Order, including the claims, liens, security interests, and other

protections granted to the Prepetition Secured Parties granted pursuant to this Interim Order,

notwithstanding the entry of any such orders described in (a)-(d), above, shall continue in the

Cases, in any Successor Cases, or following dismissal of the Cases or any Successor Cases, and

shall maintain their priority as provided by this Interim Order until: (x) in respect of the Prepetition

ABL Facility, all of the Prepetition ABL Obligations pursuant to the Prepetition ABL Documents

and this Interim Order, have been Paid in Full; and (y) in respect of the Prepetition Term Loan

Agreement, all of the Prepetition Term Loan Obligations pursuant to the Prepetition Term Loan

Documents and this Interim Order have been Paid in Full. In addition, the terms and provisions

of this Interim Order shall continue in full force and effect for the benefit of the Prepetition Term

Loan Parties notwithstanding the repayment in full of the Prepetition ABL Obligations.

               46.     Final Hearing. The Final Hearing to consider entry of the Final Order is

scheduled for April 6, 2020 at 1:00 p.m. (EST) before the Honorable Christopher S. Sontchi,

United States Bankruptcy Judge at the United States Bankruptcy Court for the District of




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Delaware. On or before March 12, 2020, the Debtors, or an agent appointed for such purpose,

shall serve, by United States mail, first-class postage prepaid, notice of the entry of this Interim

Order and of the Final Hearing (the “Final Hearing Notice”), together with copies of this Interim

Order and the Motion, on: (a) the parties having been given notice of the Interim Hearing; (b) any

party which has filed prior to such date a request for notices with this Court; (c) counsel for a

Committee (if appointed); (d) the Securities and Exchange Commission; (e) the Internal Revenue

Service; (f) counsel for the Consultant; and (g) counsel for Levin Furniture, LLC, and Levin

Towing, LLC. The Final Hearing Notice shall state that any party in interest objecting to the entry

of the proposed Final Order shall file written objections with the Clerk of the Court no later than

on March 30, 2020, at 4:00 p.m. (EST), which objections shall be served so as to be received on

or before such date by: (i) counsel to the Debtors, Benesch, Friedlander, Coplan & Aronoff LLP,

222 Delaware Avenue, Suite 201, Wilmington, Delaware 19801-1611, Attn: Michael J. Barrie and

Gregory W. Werkheiser; (ii) counsel to the Prepetition ABL Agent, Morgan Lewis & Bockius

LLP, (a) 101 Park Avenue, New York, New York 10178-0060, Attn: Jennifer Feldsher, and (b)

One Federal Street, Boston, Massachusetts 02110, Attn: Marjorie Crider and Christopher L. Carter,

and Burr & Forman LLP, 1201 N. Market Street, Suite 1407, Wilmington, Delaware 19801, Attn:

J. Cory Falgowski; (iii) counsel to the Prepetition Term Loan Agent, Greenberg Traurig, LLP, One

International Place, Suite 2000, Boston, MA 02110, Attn: Jeffrey M. Wolf; and (iv) counsel to the

Committee (if appointed).

               47.     Nunc Pro Tunc Effect of this Interim Order. This Interim Order shall

constitute findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052 and shall take

effect and be enforceable nunc pro tunc to the Petition Date immediately upon execution thereof.




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               48.     Retention of Jurisdiction. The Court has and will retain jurisdiction to

enforce the terms of, any and all matters arising from or related to the this Interim Order.




   Dated: 3/11/2020                                    CHRISTOPHER S. SONTCHI
   Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE


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